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              League of Women Voters of Florida, Inc.

                                                     vs.

                                             Laurel Lee



                                         Deposition of:

                                           Craig Latimer



                                       October 11, 2021
                                                     Vol 01
    Legend for Designations:

    Yellow Highlighting = Plaintiffs' Designations
    Gray Highlighting = Defendants' Designations
    Green Highlighting = Mutual Designations

    Legend for Objections:

    "P="      = Plaintiffs' Objection
    "D="      = Defendants' Objection
    401/402   = Relevance
    602       = Foundation / Lack of Personal Knowledge
    701       = Calls for Speculation
    802       = Hearsay
    C         = Cumulative
    Form      = Assumes Facts Not in Evidence, Argumentative, or Vague




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October 11, 2021




  · · · · · IN THE UNITED STATES DISTRICT COURT
  · · · · · · ·NORTHERN DISTRICT OF FLORIDA
  · · · · · · · · ·TALLAHASSEE DIVISION

  · · · · · · · · CASE NO. 4:21 cv 186-MW/MAF

  LEAGUE OF WOMEN VOTERS
  FLORIDA, INC., et al.,

  · · · · ·    Plaintiffs,
  vs.
  LAUREL M.    LEE, Florida
  Secretary    of State, et al.,
  · · · · ·    Defendants.

  and

  NATIONAL REPUBLICAN
  SENATORIAL COMMITTEE, et al.,

  · · · · · Intervenors-Defendants.
  ______________________________


  · · ZOOM-VIDEO RECORDED DEPOSITION OF CRAIG LATIMER

  · · · · · · · ·Monday, October 11, 2021
  · · · · · · · · ·11:00 a.m. - 4:04 p.m.

  · · · · · · · · · · · ·VIA ZOOM


  · · · · · · ·STENOGRAPHICALLY REPORTED BY:

  · · · · · · · · · ·SANDRA L. NARGIZ
  · · · · · · RPR, CM, CRR, CRC, FPR, CCR-GA




  Job No.· 211210




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  ·1· ·APPEARANCES: (All appearing via Zoom.)

  ·2

  ·3· · ·ON BEHALF OF THE PLAINTIFF THE LEAGUE OF WOMEN
  · · · ·VOTERS FLORIDA, INC/LEAGUE OF WOMEN VOTERS OF
  ·4· · ·FLORIDA EDUCATION FUND, INC.:

  ·5
  · ·   ·   ·   ·ELIAS LAW GROUP, LLP
  ·6·   ·   ·   ·15500 New Barn Road, #104
  · ·   ·   ·   ·Miami Lakes, FL 33014
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  14
  · ·   ·   ·   COVINGTON & BURLING, LLP
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  · ·   ·   ·   Washington, DC 20001
  16·   ·   ·   202.662.6000
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  18· · ·ON BEHALF OF PLAINTIFFS FLORIDA RISING TOGETHER:

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  24

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  ·1· ·APPEARANCES:· (continued)

  ·2· · ·ON BEHALF OF THE DEFENDANT SECRETARY OF STATE LEE:

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  ·8

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  13·   · ·SUPERVISOR OF ELECTIONS:

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  19·   ·   ·HAMILTON, JACKSON, LAFAYETTE, LIBERTY, NASSAU,
  · ·   ·   ·PUTNAM, SANTA ROSA, ST. JOHNS, SUMTER, SUWANNEE,
  20·   ·   ·TAYLOR, UNION, WAKULLA, WALTON, WALTON COUNTIES
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  ·2
  · · · ·ON BEHALF OF THE DEFENDANTS BREVARD, DESOTO,
  ·3· · ·FLAGLER, GILCHRIST, GULF, HIGHLANDS, JEFFERSON,
  · · · ·MADISON COUNTIES SUPERVISORS OF ELECTIONS:
  ·4

  ·5·   ·   ·   ·ROPER, P.A.
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  11·   ·   ·   ·Tampa, FL· 36602
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  16·   ·   ·   ·315 Court Street
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  · ·   · ·SUPERVISOR OF ELECTIONS:
  ·3
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  ·6·   ·   ·   ·bsalzillo@me.com

  ·7· · ·ON BEHALF OF THE DEFENDANTS GLADES, HARDEE,
  · · · ·HENDRY, HOLMES, LEVY, OKEECHOBEE COUNTIES
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  ·9·   ·   ·   ·HENDERSON FRANKLIN STARNES & HOLTE
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  10·   ·   ·   ·Ft. Myers, FL· 33901
  · ·   ·   ·   ·239.344.1100
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  13·   · ELECTIONS:

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  15·   ·   ·   ·Tallahassee, FL· 32302
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  21·   ·   ·   ·Deland, FL 32720
  · ·   ·   ·   · 386.736.5950
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  23

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  ·2
  · · · ·ON BEHALF OF THE DEFENDANT PALM BEACH COUNTY
  ·3· · ·SUPERVISOR OF ELECTIONS:

  ·4
  · ·   ·   ·   ·PALM BEACH COUNTY SUPERVISOR OF ELECTIONS OFFICE
  ·5·   ·   ·   ·240 South Military Trail
  · ·   ·   ·   ·West Palm Beach, FL 33415
  ·6·   ·   ·   ·561.656.6200
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  ·9·   · ·COMMITTEE/NATIONAL REPUBLICAN SENATORIAL
  · ·   · ·COMMITTEE:
  10
  · ·   ·   ·   ·SHUTTS & BOWEN
  11·   ·   ·   ·200 S. Biscayne Blvd., #4100
  · ·   ·   ·   ·Miami, FL· 33131
  12·   ·   ·   ·305.358.6300
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  14· ·ALSO PRESENT:

  15·   ·   ·   Peg Reese, Hillsborough County
  · ·   ·   ·   Mary Helen, Farris, Hillsborough County
  16·   ·   ·   Kim Acres, Holtzman Vogel
  · ·   ·   ·   Gerald Ruiz, Miami
  17·   ·   ·   Dustin Chase

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  13·   ·(STENOGRAPHER'S NOTE:· All documents were sent to
  · ·   ·Stenographer electronically.· A digital exhibit
  14·   ·sticker was placed on the documents which were
  · ·   ·marked during the proceeding.)
  15

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  ·1· ·The following Zoom proceedings began at 11:00 a.m.
  ·2· · · · · · MR. TODD:· Stephen Todd, I represent
  ·3· · · ·Mr. Latimer.
  ·4· · · · · · I have a question for you.· By what means
  ·5· · · ·is a video of this deposition being taken?
  ·6· · · · · · THE STENOGRAPHER:· It's going to be
  ·7· · · ·recorded through Zoom.
  ·8· · · · · · MR. TODD:· I will make a note on the
  ·9· · · ·record, before we get started, I would object
  10· · · ·to any other means of taking video besides what
  11· · · ·you just described.
  12· · · · · · MR. ZACHERL:· I represent intervenor
  13· · · ·defendants.
  14· · · · · · Do counsel agree we can proceed by Zoom?
  15· · · ·We do agree?
  16· · · · · · MR. TODD:· On behalf of Mr. Latimer, I
  17· · · ·just agreed to taking the video of this
  18· · · ·deposition video via Zoom that's authorized by
  19· · · ·our court reporter, but I would object to
  20· · · ·taking any other recording of this deposition
  21· · · ·besides those means.
  22· · · · · · MR. ZACHERL:· I don't know if we have
  23· · · ·someone from plaintiffs' side to indicate
  24· · · ·consent.
  25· · · · · · MR. CAVATARO:· For the NAACP plaintiffs, I


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   ·1· ·consent.
   ·2· · · · MS. MADDURI:· For the League of Women
   ·3· ·Voters, plaintiffs also consent.
   ·4· · · · MR. BUDHU:· This is Ryan Budhu for Florida
   ·5· ·Rising Together plaintiffs, we consent as well.
   ·6· · · · MR. DAINES:· For the Secretary of State
   ·7· ·defendant, we consent.
   ·8· · · · MR. STAFFORD:· Florida Attorney General
   ·9· ·General consents as well.
   10· · · · MR. ZACHERL:· I am Frank Zacherl with
   11· ·Shutts & Bowen, I represent the intervenor
   12· ·defendants.· Good morning, everybody.
   13· · · · MR. DAINES:· I am Kenneth Daines with
   14· ·Holtzman Vogel representing the Secretary of
   15· ·State defendant.
   16· · · · MR. TODD:· I am Stephen Todd from the
   17· ·Hillsborough County Attorney's Office, I
   18· ·represent the deponent, Mr. Latimer.
   19· · · · MR. STAFFORD:· Bill Stafford from the
   20· ·Florida Attorney General's office, representing
   21· ·the Attorney General.
   22· · · · MS. MADDURI:· This is Lali Madduri
   23· ·representing League of Women Voters plaintiffs.
   24· · · · MR. CAVATARO:· This is Ben Cavataro, I
   25· ·represent the NAAC plaintiffs.· Good morning,


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   ·1· ·everyone.
   ·2· · · · MR. BUDHU:· This is Ryan Budhu, I
   ·3· ·represent the Florida Rising Together
   ·4· ·plaintiffs, along with my colleague Jillian
   ·5· ·Williams.
   ·6· · · · MS. LOTT:· London Ott is present on behalf
   ·7· ·of Volusia County.
   ·8· · · · MS. JOHNSON:· Good morning, this is Diana
   ·9· ·Johnson on behalf of Alachua County supervisor
   10· ·of elections.
   11· · · · MS. VICARI:· Kelly Vicari on behalf of
   12· ·Pinellas County supervisor of elections.
   13· · · · MR. JANOUSEK:· Good morning, everybody,
   14· ·Attorney John Janousek on behalf of several
   15· ·supervisors of elections.· For the counties
   16· ·Desoto, Gilchrist, Jefferson, Brevard, Flagler,
   17· ·Highlands, Gulf and Madison.
   18· · · · MR. GENDREAU:· Good morning, everyone,
   19· ·Steven Gendreau on behalf of the following
   20· ·supervisors of elections:· Glades, Hardee,
   21· ·Hendry, Okeechobee, and Levy.· Kia Johnson on
   22· ·behalf of Escambia County supervisor of
   23· ·elections.
   24· · · · MS. ELLIS:· Elizabeth Ellis on behalf of
   25· ·Okeechobee supervisor of elections.


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   ·1· · · · · · ·MR. TODD:· I'd also note that Peg Reese
   ·2· · · · and Mary Helen Farris are on the call on behalf
   ·3· · · · of Mr. Latimer:
   ·4· · · · · · ·MS. SIVALINGAM:· Danielle Sivalingam also
   ·5· · · · for plaintiffs.
   ·6· · · · · · ·MR. ZACHERL:· I think that might be
   ·7· · · · everybody, Sandi.
   ·8· · · · · · ·THE STENOGRAPHER:· Would you raise your
   ·9· · · · right hand, please?· Do you swear or affirm
   10· · · · that the testimony you are about to give will
   11· · · · be the truth, the whole truth, and nothing but
   12· · · · the truth?
   13· · · · · · ·THE WITNESS:· I do.
   14· · · · · · ·THE STENOGRAPHER:· Thank you.
   15· ·Thereupon,
   16· · · · · · · · · · · · CRAIG LATIMER
   17· ·having been first remotely duly sworn or affirmed,
   18· ·as hereinafter certified testified as follows:
   19· · · · · · · · · · DIRECT EXAMINATION
   20· ·BY MR. ZACHERL:
   21· · · · Q· · Good morning, Supervisor Latimer, just
   22· ·what you wanted to do, spend your day with a bunch
   23· ·of lawyers.
   24· · · · · · ·I represent the intervenor defendants, and
   25· ·this is our opportunity to take your deposition, so


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   ·1· ·we are going to try to plow through it as quickly as
   ·2· ·we can.· I am known for taking short depositions,
   ·3· ·and I am hoping we can live up to that here.
   ·4· · · · · · ·First, why don't you go ahead and tell us
   ·5· ·your name and spell it for the record, please.
   ·6· · · · A· · Sure.· It's Craig, C-R-A-I-G, Latimer,
   ·7· ·L-A-T-I-M-E-R, Hillsborough County supervisor of
   ·8· ·elections.
   ·9· · · · Q· · Have you ever been deposed, sir?
   10· · · · A· · Yes.
   11· · · · Q· · Under what circumstances and how many
   12· ·times?
   13· · · · A· · Several hundred times, I spent 35 years in
   14· ·law enforcement.
   15· · · · Q· · Okay.· All right.· So you know, I am not
   16· ·going to go over the rules.· Let's just try not to
   17· ·talk over each other so the court reporter can write
   18· ·everything down, and please tell me if you don't
   19· ·understand any of my questions.· Okay?
   20· · · · A· · Yes.
   21· · · · Q· · Do you understand that you are testifying
   22· ·under oath today?
   23· · · · A· · I do.
   24· · · · Q· · Okay.· Have you ever been a plaintiff in
   25· ·any lawsuit in your life other than like -- I don't


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   ·1· ·need to know about personal injury lawsuits or
   ·2· ·anything like that, but a plaintiff in any other
   ·3· ·kind of lawsuit?
   ·4· · · · A· · Not that I can think of.
   ·5· · · · Q· · And what about as a defendant, have you
   ·6· ·ever been sued before?
   ·7· · · · A· · Yes.
   ·8· · · · Q· · Can you describe those cases for us or
   ·9· ·that case?
   10· · · · A· · My capacity with the sheriff's office.
   11· · · · Q· · Okay.· Were those civil rights type cases?
   12· · · · A· · They ranged from unlawful arrest, so,
   13· ·yeah, and job loss.
   14· · · · Q· · Got it.· Employment type cases.· Okay.
   15· · · · · · ·So what did you do to prepare for today's
   16· ·deposition today?
   17· · · · A· · Met with my attorney several times, a
   18· ·couple hours maybe, read over the cases, I reviewed
   19· ·the interrogatories.
   20· · · · Q· · Did you look at any documents besides the
   21· ·answers to interrogatories?
   22· · · · A· · Yeah, I looked at the responses that we
   23· ·gave to the high committee on their survey and
   24· ·looked over some of the other data that we had
   25· ·compiled and e-mails.


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   ·1· · · · Q· · Other than speaking with your attorney,
   ·2· ·did you speak with anyone else to prepare for the
   ·3· ·deposition?
   ·4· · · · A· · No.
   ·5· · · · Q· · This morning are you taking any medication
   ·6· ·that might affect your ability to testify?
   ·7· · · · A· · No.
   ·8· · · · Q· · Okay.· Do you have any medical conditions
   ·9· ·or anything that would affect your testimony?
   10· · · · A· · No.
   11· · · · Q· · Tell me just briefly about your
   12· ·educational background.· Do you have a college
   13· ·degree?
   14· · · · A· · I do, University of South Florida.
   15· · · · Q· · When did you graduate?
   16· · · · A· · 1985.
   17· · · · Q· · What was your degree?
   18· · · · A· · Industrial technical education.
   19· · · · Q· · Okay.· And then besides that degree, do
   20· ·you have any other formal education?
   21· · · · A· · Other than professional affiliations, no.
   22· · · · Q· · Okay.· Do you hold any professional
   23· ·licenses of any kind?
   24· · · · A· · No.
   25· · · · Q· · Okay.· You said -- earlier, I think you


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   ·1· ·said you are retired law enforcement, is that right?
   ·2· · · · A· · That is correct.
   ·3· · · · Q· · Okay.· How long did you work in law
   ·4· ·enforcement and where did you work?
   ·5· · · · A· · I started at the Tampa Police Department
   ·6· ·as a crime scene investigator trainee, was there for
   ·7· ·about two and a half years, and then went to the
   ·8· ·Hillsborough County Sheriff's Office, where I spent
   ·9· ·the next 35.
   10· · · · Q· · How high did you rise up in the ranks
   11· ·there?
   12· · · · A· · I retired as a major.
   13· · · · Q· · Okay.· In your current position as
   14· ·supervisor of elections -- and I am sort of the
   15· ·mercenary trial lawyer in this case, okay, so I am
   16· ·not really an election lawyer so you have to bear
   17· ·with me on some of the terminology.· But tell me
   18· ·about your job as supervisor of elections.· How long
   19· ·have you been in that job?
   20· · · · A· · I first started in the office here as a
   21· ·chief of staff in 2009, and then I was elected to
   22· ·supervisor in 2012 and then reelected in '16 and
   23· ·'20.
   24· · · · Q· · Okay.· Have you had opposition in the
   25· ·elections that you've participated in since you


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   ·1· ·first took the job?
   ·2· · · · A· · In 2012, I had opposition.
   ·3· · · · Q· · And since then, no opposition?
   ·4· · · · A· · That is correct.
   ·5· · · · Q· · Okay.· Had you ever been elected to any
   ·6· ·office before you were elected to the supervisor of
   ·7· ·elections position?
   ·8· · · · A· · No.
   ·9· · · · Q· · Did you have any sort of experience with
   10· ·elections, other than voting obviously, but
   11· ·experience working with elections or education or
   12· ·anything prior to being elected as a supervisor of
   13· ·elections?
   14· · · · A· · I mentioned I was chief of staff when I
   15· ·came to the office here in 2009 through 2013 before
   16· ·I took office, so I had four years of on-the-job
   17· ·training.
   18· · · · Q· · And what about besides that, sir, anything
   19· ·else?
   20· · · · A· · No.
   21· · · · Q· · Okay.· Can you describe for us what your
   22· ·job is as the supervisor of elections in
   23· ·Hillsborough County?
   24· · · · A· · Yes, to conduct all of the federal, state,
   25· ·municipal elections within my jurisdiction and also


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   ·1· ·to maintain the voter rolls, also do voter
   ·2· ·education.
   ·3· · · · Q· · Okay.· In your job, is one of your
   ·4· ·responsibilities arranging for the sending out of
   ·5· ·vote-by-mail ballots?
   ·6· · · · A· · Yes.
   ·7· · · · Q· · Are you responsible for setting up early
   ·8· ·voting sites?
   ·9· · · · A· · Yes.
   10· · · · Q· · Are you responsible for monitoring the
   11· ·150-foot, I guess they call it a no-solicitation
   12· ·zone or something like that outside of a polling
   13· ·location?
   14· · · · A· · We have personnel that are assigned to
   15· ·that, yes.
   16· · · · Q· · Okay.· Are you responsible for setting up
   17· ·drop boxes?
   18· · · · A· · Yes.
   19· · · · Q· · Are you the one that makes the decision,
   20· ·or is your office the one who makes the decision
   21· ·regarding the location of drop boxes?
   22· · · · A· · And following the law, yes.
   23· · · · Q· · What do you mean by "and following the
   24· ·law;" how does that involve or relate to the
   25· ·locations of these drop boxes?


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   ·1· · · · A· · So the drop boxes can be at early vote
   ·2· ·sites or sites that would qualify to be early vote
   ·3· ·sites.
   ·4· · · · Q· · Okay.
   ·5· · · · A· · My four offices.
   ·6· · · · Q· · Got it.· And that was one of my questions,
   ·7· ·you may as well address it now.· So where are your
   ·8· ·offices in Hillsborough County?
   ·9· · · · A· · I have four offices, one in the downtown
   10· ·county center, one out on Falkenburg Road, which is
   11· ·our operations center, actually, and then I have
   12· ·southeast and northwest offices.
   13· · · · Q· · Okay.· Which one is the main office, the
   14· ·one downtown?
   15· · · · A· · Actually the elections service center I
   16· ·would say is our main office, that's where
   17· ·everything takes place out here.
   18· · · · Q· · Okay.· Is that in the Falkenburg location?
   19· · · · A· · Yes.
   20· · · · Q· · All right.· In terms of the other
   21· ·responsibilities, I just want to make sure I get an
   22· ·overview.· Is your office responsible for tabulating
   23· ·the ballots after they have been cast?
   24· · · · A· · Yes.
   25· · · · Q· · And are you responsible for reporting the


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   ·1· ·results of elections to the -- I guess it's the
   ·2· ·state division of elections?
   ·3· · · · A· · That is correct.
   ·4· · · · Q· · And then is -- does your office accept
   ·5· ·voter registration forms from third-party voter
   ·6· ·registration organizations?
   ·7· · · · A· · Yes.
   ·8· · · · Q· · I think you said this before, but I want
   ·9· ·to make sure I get it.· You have never been elected
   10· ·to any other office besides the Supervisor of
   11· ·Elections office, is that right?
   12· · · · A· · Correct.
   13· · · · Q· · Are you personally registered to vote in
   14· ·Hillsborough County?
   15· · · · A· · Yes.
   16· · · · Q· · Do you know how many registered voters
   17· ·voted by mail in the last election, which I guess
   18· ·would be 2020, in Hillsborough County?
   19· · · · A· · Yeah, we had I think about 337,800 people
   20· ·voted by mail.
   21· · · · Q· · Okay.· And then do you also know how many
   22· ·registered voters voted early in the 2020 election
   23· ·in Hillsborough County?
   24· · · · A· · 272,642.
   25· · · · Q· · That's amazing.· You got good recall


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   ·1· ·there, sir.
   ·2· · · · · · ·In 2020, how many days of early voting did
   ·3· ·Hillsborough County have, do you remember that?
   ·4· · · · A· · Yes.· I always offer the maximum number of
   ·5· ·days for all the elections.
   ·6· · · · Q· · Okay.· Okay.· And that would be true,
   ·7· ·that's your plan for 2022 as well?
   ·8· · · · A· · Absolutely.
   ·9· · · · Q· · Do you know how many voters voted on
   10· ·election day in Hillsborough County in 2020?
   11· · · · A· · Almost 107,000.
   12· · · · Q· · And then if you look at all the -- if you
   13· ·look at all the different ways people voted and all
   14· ·the people who did vote, what was the full -- total
   15· ·turnout, if you know?· And then I would also like to
   16· ·know that as a percentage of the total registered
   17· ·voters.
   18· · · · A· · That would be 77 percent turnout of all
   19· ·the registered voters is what we had.
   20· · · · Q· · Do you know what that number is?
   21· · · · A· · 717,000 plus.
   22· · · · Q· · Okay.· Okay.· Is it your view that in 2020
   23· ·your office provided Hillsborough County voters with
   24· ·adequate opportunities to vote in the 2020 election?
   25· · · · A· · Yes.


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   ·1· · · · Q· · Did you get -- specifically on the
   ·2· ·vote-by-mail, because that's one of the issues in
   ·3· ·the case, did you get feedback from your voters
   ·4· ·regarding the voting by mail in the 2020 election;
   ·5· ·and if so, what was that feedback?
   ·6· · · · A· · I just could give you anecdotal comments
   ·7· ·about the ease of it and being able to track your
   ·8· ·ballot back.
   ·9· · · · Q· · Did you get any complaints about voting by
   10· ·mail in the 2020 election?
   11· · · · A· · Anecdotally, yes.
   12· · · · Q· · What were those complaints?
   13· · · · A· · That people shouldn't vote by mail because
   14· ·it's not safe.
   15· · · · Q· · Were they any more specific as to why they
   16· ·didn't think it was safe?
   17· · · · A· · No.
   18· · · · Q· · Anything else in terms of complaints
   19· ·besides that in the 2020 election on voting by mail?
   20· · · · A· · Not that I recall.
   21· · · · Q· · You personally, when you voted, how do you
   22· ·typically cast your ballot?
   23· · · · A· · Usually I vote early; I have voted by
   24· ·mail.· I rarely vote on election day because I am
   25· ·pretty busy.


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   ·1· · · · Q· · Understood.· Is it your general -- let me
   ·2· ·ask you this:· Why is it that you voted by mail
   ·3· ·sometimes and voted in person other times?
   ·4· · · · A· · Just the ease of it, voted by mail, and
   ·5· ·then again, I have kind of rearranged my schedule
   ·6· ·that I can get around to the early vote sites during
   ·7· ·early voting, and so I will take advantage at one of
   ·8· ·the sites and vote early.
   ·9· · · · Q· · When you have voted by mail -- let's just
   10· ·go through the last few elections, did you vote by
   11· ·mail in 2020?
   12· · · · A· · No.
   13· · · · Q· · How about in 2018 or 2016?
   14· · · · A· · No.
   15· · · · Q· · So it would have been earlier than that?
   16· · · · A· · Yeah, I think in 2008 and maybe '10 or
   17· ·'12.
   18· · · · Q· · Okay.· Since then, you have always cast
   19· ·your ballot in person early?
   20· · · · A· · Yes.
   21· · · · Q· · All right.· I want to ask you a little bit
   22· ·about the lawsuit, I told you I like to get through
   23· ·things, so we are just going to try to move through
   24· ·it.
   25· · · · · · ·Are you able to tell me -- without


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   ·1· ·divulging the contents of communications with your
   ·2· ·lawyer; I don't want to hear what you talked about
   ·3· ·with your lawyer, but are you able to tell me what
   ·4· ·this lawsuit is about?
   ·5· · · · A· · Which one?
   ·6· · · · Q· · These four lawsuits that are pending.                     I
   ·7· ·say "this lawsuit," it's really the consolidated
   ·8· ·case.
   ·9· · · · A· · A variety of things, issues with vote by
   10· ·mail, issues with drop boxes, putting undue burden
   11· ·on people; it's in layman's terms.
   12· · · · Q· · Understood.· Understood.· Have you read
   13· ·the law that's at issue in this case which we have
   14· ·been referring to as Senate Bill 90?
   15· · · · A· · Yes.
   16· · · · Q· · What in your mind does Senate Bill 90
   17· ·address?
   18· · · · A· · Can you be more specific?
   19· · · · Q· · Yeah, I can.· That's a bad -- you are
   20· ·right, that's a bad question.· I guess what I am
   21· ·getting to is, how in your mind does Senate Bill 90
   22· ·or did Senate Bill 90 change Florida's election
   23· ·laws?
   24· · · · · · ·MR. TODD:· Object to the form.
   25


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   ·1· ·BY MR. ZACHERL:
   ·2· · · · Q· · You can answer, sir.
   ·3· · · · A· · Okay.· How did it change the election law,
   ·4· ·is that the question?
   ·5· · · · Q· · Yes, sir.
   ·6· · · · A· · Well, one thing is it now requires someone
   ·7· ·requesting a vote-by-mail ballot to include a
   ·8· ·driver's license number, a Florida identification
   ·9· ·number, last four of your Social.
   10· · · · Q· · Right.
   11· · · · A· · It also limits it now to one election
   12· ·cycle instead of two.· It also addresses drop boxes
   13· ·and the hours of operation and third-party voter
   14· ·registration organization rules.
   15· · · · Q· · Is there any provision of Senate Bill 90
   16· ·that you find troubling?
   17· · · · A· · Can you be more specific again?· I think I
   18· ·would just be speculating.
   19· · · · Q· · Well, is there any -- is there any
   20· ·provision in Senate Bill 90 that you object to?
   21· · · · A· · I think it's putting a little bit more
   22· ·burden on the voter who wants to vote by mail, also
   23· ·the part about not being able to possess more than
   24· ·two ballots, that will affect me directly.· It seems
   25· ·like I've got a bunch of neighbors that think I am a


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   ·1· ·drop box at my house.· So I won't be able to accept
   ·2· ·those anymore.
   ·3· · · · Q· · Right.· Anything else that you find --
   ·4· ·that you object to in the law?
   ·5· · · · A· · I was noting things that I thought were
   ·6· ·going to be troublesome, not that I totally objected
   ·7· ·to it.
   ·8· · · · Q· · Understood.· Understood.· And I am not
   ·9· ·trying to put -- I should have said that in the
   10· ·beginning, I am never trying to put words in your
   11· ·mouth; and just like you just did, I appreciate it
   12· ·when you point that out if I have done that.· So
   13· ·don't be shy about doing that.
   14· · · · · · ·Do you think that any of the provisions in
   15· ·Senate Bill 90, in your mind, are acceptable?
   16· · · · · · ·MR. TODD:· Object to the form.
   17· · · · A· · Yeah.· Again, I think that it puts an
   18· ·undue burden on a voter specifically who vote by
   19· ·mail, where we have got somebody that's registered
   20· ·to vote, had been verified by the State that they
   21· ·are who they say they are, they've made a request
   22· ·for vote by mail, and now they are going to have to
   23· ·turn around and rerequest that vote by mail,
   24· ·including additional information as far as a
   25· ·driver's license or last four.


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   ·1· · · · · · ·And I think the example I would use is
   ·2· ·that most people know the last four of their Social,
   ·3· ·they don't know their driver's license number.· And
   ·4· ·that probably we are going to have the driver's
   ·5· ·license number on file and not the last four.· So
   ·6· ·it's going to lead to confusion.
   ·7· ·BY MR. ZACHERL:
   ·8· · · · Q· · Okay.· I should know this, but I don't.
   ·9· ·Has Hillsborough County conducted any elections
   10· ·since Senate Bill 90 became law?
   11· · · · A· · No.
   12· · · · Q· · Okay.· Just a general question sort of in
   13· ·response to what you have been saying.· In your
   14· ·opinion, does the State of Florida have a
   15· ·responsibility to ensure that elections in Florida
   16· ·are free, fair and accurate?
   17· · · · A· · Absolutely.
   18· · · · Q· · How does your office play a role in
   19· ·ensuring that?
   20· · · · A· · We are the ones that conduct the election.
   21· · · · Q· · And is there anything that -- well, that's
   22· ·a bad question.
   23· · · · · · ·Let me ask a couple more questions about
   24· ·the State first.
   25· · · · · · ·So is there any way that the State can


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   ·1· ·ensure free, fair, accurate elections other than by
   ·2· ·passing statutes, to your knowledge?
   ·3· · · · A· · Rules, administrative rules.
   ·4· · · · Q· · Any other way?
   ·5· · · · A· · Not that I can think of.
   ·6· · · · Q· · Okay.· Is it fair to say that the role
   ·7· ·that your office plays is simply to enforce the laws
   ·8· ·or the administrative regulations that are enacted?
   ·9· · · · A· · We do follow the law and the rules that
   10· ·have been enacted.
   11· · · · Q· · Okay.· In the legislative process leading
   12· ·up to the enactment of Senate Bill 90, were you
   13· ·involved in that process, sir?
   14· · · · A· · Yes.
   15· · · · Q· · Can you describe for us your involvement?
   16· · · · A· · Yes.· I was the president of the state
   17· ·association during this last year, last election
   18· ·cycle, so I was involved in numerous phone calls and
   19· ·e-mails back and forth with our lobbyists and with
   20· ·Alan Hays, who was the chair of the legislative
   21· ·committee.
   22· · · · Q· · Did you ever go up to Tallahassee and
   23· ·testify?
   24· · · · A· · I did not.
   25· · · · Q· · How was it that you communicated your


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   ·1· ·views on the law, the proposed law, I guess at that
   ·2· ·time?
   ·3· · · · A· · A lot of it was phone calls, conference
   ·4· ·calls; there was some in writing, also, talking
   ·5· ·about different provisions.
   ·6· · · · · · ·I think you have to go back to, you know,
   ·7· ·when this bill was originally introduced, between
   ·8· ·the House bill and the Senate bill, it did
   ·9· ·everything from try to wipe out all standing
   10· ·requests for vote by mail that were on file, it had
   11· ·provisions in it that you were going to have to show
   12· ·identification and basically have an affidavit that
   13· ·you were in possession of your spouse's ballot.· So
   14· ·there was a lot of things that we were looking at to
   15· ·try and make sure that we could keep them within the
   16· ·lines.
   17· · · · Q· · Is it fair to say that as a result of your
   18· ·input, the bill was changed before it became law?
   19· · · · A· · It is a fair statement.
   20· · · · Q· · Okay.· Do you feel like you had adequate
   21· ·opportunity to participate in the legislative
   22· ·process?
   23· · · · A· · Adequate opportunity, I don't know that we
   24· ·were listened to.
   25· · · · Q· · Okay.· Okay.· I understand.· I guess the


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   ·1· ·Legislature was hearing from a lot of different
   ·2· ·people and groups during the legislative process, is
   ·3· ·that your understanding?
   ·4· · · · A· · I can't speak to that.
   ·5· · · · Q· · Fair enough.· Fair enough.· And then just
   ·6· ·one other question just generally on the law.
   ·7· · · · · · ·Is it always the case that you agree with
   ·8· ·every -- in your capacity as supervisor of
   ·9· ·elections, that you agree with every election law
   10· ·that's passed in Florida?
   11· · · · A· · Can you rephrase that?· I don't understand
   12· ·what you are saying.
   13· · · · Q· · Yeah.· I mean, it takes me back to when I
   14· ·was a prosecutor many, many years ago and, you know,
   15· ·there was a death penalty in Florida, right, and
   16· ·even if I didn't agree with the death penalty, it
   17· ·was my job to carry it out if it came up.· It never
   18· ·did, knock on wood.
   19· · · · · · ·But what I am asking is, as supervisor of
   20· ·elections, is it your practice to follow the laws
   21· ·even if you don't agree with them?
   22· · · · A· · Follow the laws and the administrative
   23· ·rules.
   24· · · · Q· · Okay.· All right.· And have you always
   25· ·agreed with every law and administrative rule that


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   ·1· ·has come out since you have been in this job?
   ·2· · · · A· · Probably not.· I can't think of a specific
   ·3· ·example right now.
   ·4· · · · Q· · Okay.· Okay.· Let me talk about some of
   ·5· ·the specific issues that have been raised in this
   ·6· ·litigation, and I am going to ask you for your views
   ·7· ·on these.
   ·8· · · · · · ·The first one is the drop boxes.
   ·9· ·Obviously you said you know what a drop box is.· Are
   10· ·you able to describe that for us?
   11· · · · A· · Yeah.· We utilize a large, probably two,
   12· ·two and a half foot by two and a half foot box with
   13· ·a lock on it and a seal, has a slit in the top to be
   14· ·able to put return vote-by-mail ballots in.
   15· · · · Q· · How does the process in Hillsborough
   16· ·County work for voting by mail, dropping off a
   17· ·vote-by-mail ballot in the drop box?
   18· · · · A· · So we had drop boxes at all the early
   19· ·voting sites during early voting hours.· And in
   20· ·2020, during the pandemic, I opted to move them from
   21· ·inside the building area to outside, where they
   22· ·could just be a drive up and drop off for
   23· ·contactless voting.
   24· · · · Q· · Right.
   25· · · · A· · And we would have tents set up, as long as


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   ·1· ·weather permitted, and had at least two people that
   ·2· ·would monitor that box.
   ·3· · · · Q· · What exactly did you have the monitors
   ·4· ·doing?
   ·5· · · · A· · Protecting the box, making sure that it
   ·6· ·wasn't getting overflowing with ballots, contacting
   ·7· ·the office if they needed to get a replacement.
   ·8· · · · Q· · You mean a replacement box?
   ·9· · · · A· · Yes.
   10· · · · Q· · Did the monitors and the elections that
   11· ·you've had so far with drop boxes, did they do
   12· ·anything with regard to looking at the ballot to
   13· ·make sure it was signed and sealed or anything else?
   14· · · · A· · We would encourage the people to make sure
   15· ·you signed and dated your ballot before you drop it.
   16· · · · Q· · Did the monitors do anything to keep track
   17· ·of each ballot as it went into the box, make a
   18· ·notation somewhere or keep a list or anything like
   19· ·that?
   20· · · · A· · No.
   21· · · · Q· · Okay.· And what about at the main site;
   22· ·you mentioned the early voting sites, did you have a
   23· ·drop box at the main site?
   24· · · · A· · What are you calling the main site?
   25· · · · Q· · The -- I guess you have early voting at


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   ·1· ·the main sites, that's a bad question, you are
   ·2· ·right, you are right.· I was thinking of the
   ·3· ·Falkenburg location.
   ·4· · · · · · ·So at all locations, you had early voting,
   ·5· ·I guess, right?
   ·6· · · · A· · All four of my offices had early voting.
   ·7· · · · Q· · Got it.· Got it.· Okay.· Like I said, I am
   ·8· ·really not an election guy, so bear with me, please.
   ·9· · · · · · ·Once the ballots were put into the drop
   10· ·box, who would collect them out of the drop box, and
   11· ·then how would they do that and where would they
   12· ·take them?
   13· · · · A· · Yeah, so a courier would then retrieve the
   14· ·box, bring it back to our office, the sealed numbers
   15· ·would be matched, they would be taken into the
   16· ·secure vote-by-mail area, they would then be put
   17· ·through our Relia-Vote machine to accept and cancel
   18· ·the ability to vote any further.
   19· · · · Q· · Okay.
   20· · · · A· · They are time stamped at that point, also.
   21· · · · Q· · And then where do the ballots go from
   22· ·there?
   23· · · · A· · Eventually they will go to an opening
   24· ·process, and then --
   25· · · · Q· · Go ahead.· I'm sorry.


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   ·1· · · · A· · And then after the opening, it would go
   ·2· ·to -- first you have signature verification, then it
   ·3· ·would go to an opening process, then ultimately the
   ·4· ·ballots would be removed from the envelope in the
   ·5· ·secrecy sleeve and go to tabulation.
   ·6· · · · Q· · The signature verification process, is
   ·7· ·that something that was done mechanically by a
   ·8· ·machine, was it done by humans, some combination of
   ·9· ·the two; how did that work?
   10· · · · A· · Humans.
   11· · · · Q· · Did each ballot go through signature
   12· ·verification?
   13· · · · A· · Yes.
   14· · · · Q· · Okay.· With regard to the courier that you
   15· ·mentioned earlier, does the courier -- is that a
   16· ·full-time employee of the Supervisor of Elections or
   17· ·is that an outside company?
   18· · · · A· · Sometimes it's a full-time employee,
   19· ·sometimes it's a full-time temporary employee.· We
   20· ·don't use any other services.
   21· · · · Q· · Okay.· Okay.· Did you have a schedule
   22· ·where the ballots would be picked up from the boxes
   23· ·at particular times, or did you just, as it filled
   24· ·up, you would empty it out and put it back out?
   25· · · · A· · I think that the interrogatories contain


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   ·1· ·all that information.· We actually gave the outline
   ·2· ·from our poll worker training manual on how to
   ·3· ·request a box if you needed one and when they would
   ·4· ·be picked up at the end of the early voting day.
   ·5· · · · Q· · And I have seen your answers to
   ·6· ·interrogatories, I am just curious as to what you
   ·7· ·recall.· Do you remember if there was scheduled
   ·8· ·collection times to pick up the ballots, or was it
   ·9· ·something that was done just on an as-needed basis?
   10· · · · A· · If they didn't need a replacement box
   11· ·because it was overflowing, then they would be
   12· ·picked up at the end of the day, at the end of the
   13· ·early voting hours.
   14· · · · Q· · Got it.· Okay.· Okay.· In Hillsborough
   15· ·County in 2020, did you have 24-hour drop box voting
   16· ·ability at any of your locations?
   17· · · · A· · I did at the main office, at the election
   18· ·service center.
   19· · · · Q· · Was the box monitored by someone 24 hours
   20· ·a day?
   21· · · · A· · It was ultimately, yes.
   22· · · · Q· · And who was it that would do that
   23· ·monitoring?· Was it people who worked for your
   24· ·office, full-time employees or temporary election
   25· ·employees, or who was it?


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   ·1· · · · A· · We had law enforcement and we had
   ·2· ·temporary employees that worked for the office.
   ·3· · · · Q· · Okay.· Why was it that you went to 24-hour
   ·4· ·staffing to make sure the drop box was monitored at
   ·5· ·all times?
   ·6· · · · A· · That was based on a memo that was put out
   ·7· ·by the Secretary of State's office, that they
   ·8· ·interpret the law that we needed to have it
   ·9· ·physically manned, not just video surveillance.
   10· · · · Q· · Did you feel comfortable, as a former law
   11· ·enforcement officer, having law enforcement officers
   12· ·do that monitoring?
   13· · · · A· · Absolutely.
   14· · · · Q· · Okay.· This is not exactly pertinent, but
   15· ·I am curious, it might be.· For how long has
   16· ·Hillsborough County been using drop boxes?
   17· · · · A· · I know since 2009.
   18· · · · Q· · Okay.· So it's been a while.· It's not a
   19· ·recent development.· Has the design of the boxes
   20· ·changed or the manufacturer, how solid they are or
   21· ·anything like that?
   22· · · · A· · No.
   23· · · · Q· · All right.· Are you able to tell -- I may
   24· ·know this already.· Was it -- did you have four drop
   25· ·boxes available for the 2020 election, one in each


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   ·1· ·of the early voting locations?
   ·2· · · · A· · I'm sorry, you said four boxes?
   ·3· · · · Q· · Yeah.· That's a terrible question.· How
   ·4· ·many boxes -- how many drop boxes did you have
   ·5· ·available for voters in the 2020 election?· Let me
   ·6· ·ask you that.
   ·7· · · · A· · I had 26 early voting sites.
   ·8· · · · Q· · Okay.
   ·9· · · · A· · That included the four offices.· So I
   10· ·would've had a box at every early voting site during
   11· ·early voting hours, and then outside of early voting
   12· ·hours, they would be at the four offices.
   13· · · · Q· · Okay.· At the four offices, you would have
   14· ·those boxes staffed by someone 24 hours a day after
   15· ·the Secretary of State issued that guidance?
   16· · · · A· · No, I only had one 24-hour box at the
   17· ·election service center.· The other ones were 8:00
   18· ·to 5:00 basically.
   19· · · · Q· · Got it.· Okay.· Okay.· Who was it that --
   20· ·well, I guess it would be your office, right; you
   21· ·guys are the ones who selected the locations for
   22· ·early voting, the 26 locations?
   23· · · · A· · Correct.
   24· · · · Q· · Okay.· The day before the election in 2020
   25· ·in Hillsborough County, did your office have any


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   ·1· ·drop boxes available?
   ·2· · · · A· · My four offices did.
   ·3· · · · Q· · Okay.· What about the other 22 locations,
   ·4· ·I guess, did you have --
   ·5· · · · A· · No.· Early voting was over, we had nothing
   ·6· ·there.
   ·7· · · · Q· · Okay.· Got it.· I am just trying to think
   ·8· ·what else I have on drop boxes.· Oh, one other
   ·9· ·thing.
   10· · · · · · ·In some of the other depositions of
   11· ·supervisors of elections around the state, they have
   12· ·had 24-hour monitoring with cameras.· In
   13· ·Hillsborough County, did you have monitoring with
   14· ·cameras of your drop boxes?
   15· · · · A· · I did at the 24-hour drop box at the
   16· ·election service center, I have video surveillance
   17· ·on that.
   18· · · · Q· · Is that still in place today?
   19· · · · A· · The video surveillance is in place.
   20· · · · Q· · Okay.· Is that something that was reviewed
   21· ·ever?· Did anybody ever look at the footage, or was
   22· ·it just there in case you needed it if there was
   23· ·some damage or something like that?
   24· · · · A· · It would have been reactive reviewed.
   25· · · · Q· · Got it.· Got it.· Do you save the footage,


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   ·1· ·or does it get taped over after an amount of time?
   ·2· · · · A· · We save it for quite a while.
   ·3· · · · Q· · All right.· The people that were staffing
   ·4· ·the drop boxes, were they able to -- in addition to
   ·5· ·making sure that the ballot was signed and that it
   ·6· ·was sealed, were they able to give any other
   ·7· ·assistance to voters like answer questions, provide
   ·8· ·information, et cetera?
   ·9· · · · A· · Sure, yes.
   10· · · · Q· · Okay.· And did you give training to them
   11· ·on how to do that, or is that just something they
   12· ·would have known as part of their job?
   13· · · · A· · It would be part of the poll worker
   14· ·training, questions might be -- if I decide I want
   15· ·to vote in person, what do I do with this ballot,
   16· ·things like that.
   17· · · · Q· · Okay.· If one of your -- and I know this
   18· ·is a hypothetical question and your attorney may
   19· ·object, but I just want to know how it worked.
   20· · · · · · ·If there was a situation where one of your
   21· ·poll workers who were monitoring the drop box saw
   22· ·that a ballot was not signed, would they tell the
   23· ·voter, hey, your ballot is not signed?
   24· · · · A· · It was their practice to just speak to the
   25· ·voter and to make sure, is your ballot signed and


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   ·1· ·dated?
   ·2· · · · Q· · Okay.· Would they tell them that it needed
   ·3· ·to be sealed as well?
   ·4· · · · A· · I don't recall that ever being a problem,
   ·5· ·to tell you the truth.
   ·6· · · · Q· · Okay.· Understood.· Understood.· I am just
   ·7· ·trying to get a sense of how it worked.
   ·8· · · · · · ·Did you ever have any feedback from voters
   ·9· ·on that process of dropping off at the drop box and
   10· ·interacting with the poll workers and whether that
   11· ·was valuable to them or a benefit to them?
   12· · · · A· · Again, anecdotally, as I mentioned before.
   13· ·Yeah, it was ease of operation, you know; I was able
   14· ·to drive right up, drop my ballot off.
   15· · · · Q· · I am curious about something, and this
   16· ·again betrays my lack of knowledge about elections,
   17· ·but do you keep track of the -- from election to
   18· ·election, do you keep track of the rejection rate
   19· ·for signatures?
   20· · · · A· · We do.
   21· · · · Q· · In 2020, are you able to tell me whether
   22· ·the -- by the way, I should've said this in the
   23· ·beginning, also.· If you don't know an answer, you
   24· ·can just tell me you don't know.· You don't have to
   25· ·know anything.


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   ·1· · · · · · ·Are you able to tell me, in 2020, whether
   ·2· ·the vote-by-mail rejection rate for signatures went
   ·3· ·up or down from the prior election?
   ·4· · · · · · ·MR. TODD:· Object to the form.
   ·5· · · · A· · It -- from my recollection, it went down.
   ·6· ·BY MR. ZACHERL:
   ·7· · · · Q· · Okay.· And does that mean that more
   ·8· ·signatures were accepted in 2020 than in the prior
   ·9· ·election?
   10· · · · · · ·MR. TODD:· Object to the form.
   11· · · · A· · That is correct.· And I would attribute
   12· ·that mainly to that there is a remedy in state law
   13· ·now if you fail to sign or your signature doesn't
   14· ·match, to give you an opportunity to correct it.
   15· ·BY MR. ZACHERL:
   16· · · · Q· · Okay.· Got it.· Okay.· Do you think that's
   17· ·a beneficial change to Florida law to have the --
   18· ·that process where the voter can fix that issue?
   19· · · · A· · Yes.
   20· · · · Q· · Is it your view that the people, the
   21· ·presence of the people at the vote-by-mail locations
   22· ·contributed at all to the reduction in signature
   23· ·rejection rates?
   24· · · · A· · I don't think that's a correlation at all.
   25· · · · Q· · Okay.· Fair enough.· Just trying to get my


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   ·1· ·mind around it.
   ·2· · · · · · ·Couple other scenarios that came in my
   ·3· ·mind.· One of them is, what would happen if somebody
   ·4· ·from Pinellas County dropped off a ballot in your
   ·5· ·county?
   ·6· · · · A· · We would make every effort to get it to
   ·7· ·Pinellas County, or any county for that fact.
   ·8· · · · Q· · Okay.· All right.· Would that be something
   ·9· ·where you would just reject the vote, or was there a
   10· ·formal process for how you would get it to the other
   11· ·county?
   12· · · · A· · Yeah, if there was time to mail it, we
   13· ·would mail it; and if there wasn't, we would try and
   14· ·arrange to meet halfway or whatever the case may be.
   15· · · · Q· · Understood.· In your experience, and let's
   16· ·just use 2020 as an example, was it a common
   17· ·occurrence for voters from other counties to drop
   18· ·off their ballots with your office in Hillsborough
   19· ·County?
   20· · · · A· · I wouldn't call it common, but we did have
   21· ·a handful; actually had some from different states,
   22· ·too.· So go figure.· But quite frankly, I think we
   23· ·received more through the U.S. Post Office that were
   24· ·for other counties delivered to us.
   25· · · · Q· · Got it.· Okay.· That's interesting.· Were


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   ·1· ·those deliveries by mail?
   ·2· · · · A· · Yes.
   ·3· · · · Q· · Okay.· This is a more general question,
   ·4· ·more related to Senate Bill 90, but is it your view
   ·5· ·that having poll workers there at the drop boxes and
   ·6· ·being available to answer questions and help the
   ·7· ·voters with their ballots, signing, sealing,
   ·8· ·et cetera, does that provide a benefit to voters in
   ·9· ·Hillsborough County?
   10· · · · A· · Absolutely.
   11· · · · Q· · Okay.· Other than what we have just talked
   12· ·about, are there any other benefits, in your view,
   13· ·to having the drop box staffed with one of your
   14· ·employees or your volunteers besides what we talked
   15· ·about?
   16· · · · A· · To be fair, we have no volunteers.· Poll
   17· ·workers have to be paid by law.
   18· · · · Q· · Okay.
   19· · · · A· · But, yes, I think it also lends to an
   20· ·appearance of security that the voter knew that
   21· ·their ballot was being protected and was going to
   22· ·get back to our office.
   23· · · · Q· · Got it.· Got it.· Okay.· I am trying to
   24· ·think of what else I have on drop boxes.
   25· · · · · · ·Oh, in 2020, are you aware of any


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   ·1· ·violations of election law that related to drop
   ·2· ·boxes in Hillsborough County?
   ·3· · · · A· · I am not.
   ·4· · · · Q· · In 2020, did you have any instances of
   ·5· ·vandalism at the drop boxes?
   ·6· · · · A· · No.
   ·7· · · · Q· · Did you have a concern about vandalism?
   ·8· · · · A· · I really didn't because I had people
   ·9· ·there, and also since they were outside of the
   10· ·polling site, I had the poll deputy that was also in
   11· ·the vicinity or able to observe.
   12· · · · Q· · Got it.· Okay.· And I may have asked you
   13· ·this earlier, but, you know, this is just a lot of
   14· ·information today, so forgive me.· What feedback did
   15· ·you get from Hillsborough County voters, if any, in
   16· ·2020 with regard to the drop boxes?
   17· · · · A· · I answered that previously.
   18· · · · Q· · Okay.· So I will find it.· You don't have
   19· ·to say it again.
   20· · · · · · ·How does -- how does -- let's talk about
   21· ·the impact of Senate Bill 90 on drop boxes and then
   22· ·we'll move on to the next topic.
   23· · · · · · ·How does Senate Bill 90 change the law
   24· ·with regard to drop boxes?
   25· · · · · · ·MR. TODD:· Object to the form.


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   ·1· · · · A· · Actually, it doesn't change it drastically
   ·2· ·because we already had in law that you had to have
   ·3· ·drop boxes at the early voting sites.· I think it
   ·4· ·did add that you can only have them during early
   ·5· ·voting hours, so that would negate having it on a
   ·6· ·Monday or Sunday if you didn't have early voting on
   ·7· ·Sunday; and then, of course, the additional
   ·8· ·information that if one of my people leaves that box
   ·9· ·unattended, I can get a 25,000-dollar civil fine.
   10· ·BY MR. ZACHERL:
   11· · · · Q· · Right.· Right.· Anything else, anything
   12· ·else besides what you just described, to your
   13· ·understanding?
   14· · · · A· · Not that I can think of at this time.
   15· · · · Q· · And in 2022, do you still plan on having
   16· ·the same 26 drop boxes that you had in 2020?
   17· · · · A· · I am losing two of my sites, I am trying
   18· ·to secure some more right now.· But Amalie Arena and
   19· ·Raymond James Stadium won't be available because
   20· ·they are back to having fans in place now.
   21· · · · Q· · Got it, got it.· That fact, the fact that
   22· ·you are losing two of your sites, that's just
   23· ·related to the economy opening up, it's not related
   24· ·to Senate Bill 90, right?
   25· · · · A· · That is correct.· And as I said, I am


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   ·1· ·looking for replacements, and who knows, I may have
   ·2· ·27 by the time we finish.
   ·3· · · · Q· · Got it.· Got it.· And other than those two
   ·4· ·locations, are you going to have the same locations
   ·5· ·in 2022 for drop boxes that you had in 2020?
   ·6· · · · A· · Right now, yes, that's barring any
   ·7· ·unforeseen catastrophes of a site burning down or
   ·8· ·damage or something that we wouldn't be able to use
   ·9· ·it, but yes.
   10· · · · Q· · Understood.· Understood.· Are you going to
   11· ·do anything different in 2022 with regard to
   12· ·staffing and securing the drop boxes than you did in
   13· ·2020?
   14· · · · A· · No.
   15· · · · Q· · Are you going to do anything different
   16· ·with regard to collecting the ballots out of the
   17· ·drop box and that process that you described earlier
   18· ·in 2022 than you did in 2020?
   19· · · · A· · Plan to use the same process.
   20· · · · Q· · Okay.· Okay.· You mentioned the
   21· ·25,000-dollar fine, and I had forgotten to ask you
   22· ·about that earlier.· As a result of that potential,
   23· ·are you going to do anything different in 2022 than
   24· ·you would have done in 2020 with regard to the drop
   25· ·boxes?


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   ·1· · · · A· · We're going to make sure that the people
   ·2· ·unequivocally know that that box can't be left for a
   ·3· ·single second.
   ·4· · · · Q· · Left alone you mean?
   ·5· · · · A· · Yes.
   ·6· · · · Q· · Okay.· Okay.· I think that's everything I
   ·7· ·have on drop boxes.· You may have answered this:
   ·8· ·Has the design of the drop boxes changed since you
   ·9· ·have been using them in Hillsborough County?
   10· · · · A· · No.
   11· · · · Q· · Okay.· All right.· So let's talk about --
   12· ·let's talk about the next topic under the law that's
   13· ·been challenged in this case, which is this issue of
   14· ·line warming.· Do you know what line warming refers
   15· ·to?
   16· · · · A· · I believe so.
   17· · · · Q· · What is that, sir?
   18· · · · A· · It's where people would walk the line and
   19· ·make sure that, you know, if somebody needed an
   20· ·umbrella if they were in the sun or if they needed
   21· ·something to drink, along those lines.
   22· · · · Q· · In the past, before Senate Bill 90, what
   23· ·has your office done to enforce the 150-foot
   24· ·nonsolicitation zone around your polling locations?
   25· · · · A· · We have a poll deputy at every site.· Some


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   ·1· ·of the early vote sites actually had two outside to
   ·2· ·monitor.
   ·3· · · · Q· · Anything else?
   ·4· · · · A· · I think the -- one beauty of Hillsborough
   ·5· ·County is in the past and hopefully will continue is
   ·6· ·that we don't have lines, so there is not a lot of
   ·7· ·line warming to be done.
   ·8· · · · Q· · Got it.· Is that because of all the
   ·9· ·different ways that people can vote, in your view?
   10· · · · A· · I believe so.
   11· · · · Q· · We have heard testimony from other
   12· ·supervisors of elections on this, so I've learned a
   13· ·little bit about it.· Does your office allow people
   14· ·who are not in line to have any interaction with
   15· ·people who are in line within 150 feet of a polling
   16· ·location?
   17· · · · A· · As I said, we don't generally have lines,
   18· ·number one; but, yes, 150-foot no solicitation would
   19· ·mean that you shouldn't be having any contact with
   20· ·somebody that's in that line, if there is one.
   21· · · · Q· · Would that be true even with regard to
   22· ·something like handing them water or food?
   23· · · · A· · Correct.
   24· · · · Q· · Okay.· Is it your -- I just don't know how
   25· ·it works in Hillsborough, which is a shame because I


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   ·1· ·actually grew up in Hillsborough; I should know
   ·2· ·this, but I don't.
   ·3· · · · · · ·When you have lines, does your staff ever
   ·4· ·distribute anything like food, water, umbrellas,
   ·5· ·anything to the people who are in line?
   ·6· · · · A· · No.· We do have a process that if somebody
   ·7· ·has some type of disability that would burden them
   ·8· ·to stand for a while, we'll put a chair up by the
   ·9· ·door and then ask the person that's right in front
   10· ·of them to let us know when they get up there, we'll
   11· ·give them a card usually, and then they can give the
   12· ·card and we know that person gets to go in at that
   13· ·point.
   14· · · · Q· · Okay.· Okay.· In the 2020 election -- I
   15· ·think you answered this -- but is it accurate to say
   16· ·that Hillsborough County did not have any long
   17· ·lines?
   18· · · · A· · That is 100 percent correct.
   19· · · · Q· · That's good.· Congratulations.
   20· · · · · · ·With regard to -- let me ask about Senate
   21· ·Bill 90 and how it impacts this now.· With regard to
   22· ·Senate Bill 90, do you understand the law to
   23· ·prohibit your staff from providing water to voters
   24· ·who are waiting in line?
   25· · · · A· · I do not.


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   ·1· · · · Q· · Okay.· Do you -- well, does Senate Bill 90
   ·2· ·impact your staff's ability to help someone who's
   ·3· ·having difficulty standing in line, as you described
   ·4· ·earlier?
   ·5· · · · A· · No.
   ·6· · · · Q· · Okay.· I am just trying to think of what
   ·7· ·else I have on the line warming issue.
   ·8· · · · · · ·Are you going to do anything -- are you
   ·9· ·going to do anything different in 2022 relating to
   10· ·the nonsolicitation zone than you did in 2020 as a
   11· ·result of the passage of Senate Bill 90?
   12· · · · A· · Senate Bill 90 also places a 150-foot
   13· ·no-solicitation zone around a drop box.· So as I
   14· ·described, I have got drop boxes that are outside of
   15· ·voting sites, so it will add to the 150-foot
   16· ·no-solicitation zone.
   17· · · · Q· · Okay.· I understand.· I understand.· So
   18· ·you are basically going to have to enforce that zone
   19· ·around all those drop boxes as well, is that what
   20· ·you are saying?
   21· · · · A· · Correct.
   22· · · · Q· · Understood.· Understood.· I am just trying
   23· ·to think if there is anything else I have on the
   24· ·line warming issue.· If I think of it, I'll come
   25· ·back to it.


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   ·1· · · · · · ·Let's talk about -- you mentioned earlier
   ·2· ·the third-party voter registration organizations,
   ·3· ·and I know that's one of the provisions that's being
   ·4· ·challenged in these lawsuits.· First of all, can you
   ·5· ·tell us what -- just generally what a third-party
   ·6· ·voting registration organization does?
   ·7· · · · A· · They register voters.
   ·8· · · · Q· · Do they do anything else besides register
   ·9· ·voters?
   10· · · · A· · No, not that I am aware of.
   11· · · · Q· · Are you able to describe how these groups
   12· ·go about registering voters?
   13· · · · A· · I personally have never been next to one
   14· ·of them when they were doing it, so I guess the
   15· ·answer would be no.
   16· · · · Q· · Okay.· In Hillsborough County, and let's
   17· ·just say in the 2020 election, to start off, do you
   18· ·recall having any issues with third-party voting
   19· ·registration organizations?
   20· · · · A· · Very minor issues.· I know we had some
   21· ·turned in late applications but not late that the
   22· ·person didn't get registered to be able to vote in
   23· ·the election.
   24· · · · Q· · Okay.
   25· · · · A· · That's all I can recall.


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   ·1· · · · Q· · Are you able to recall in the 2020
   ·2· ·election any allegations of fraud or wrongdoing
   ·3· ·levied against any third-party voting registration
   ·4· ·organizations?
   ·5· · · · A· · Not in Hillsborough County.
   ·6· · · · Q· · Okay.· And my questions are all about
   ·7· ·Hillsborough, so thank you for that.
   ·8· · · · · · ·With regard to the earlier elections,
   ·9· ·let's say 2018 and 2016, do you recall having any
   10· ·issues other than these occasional late votes that
   11· ·don't result in the vote not being cast?· Any other
   12· ·issues with regard to third-party voter registration
   13· ·organizations in those two elections?
   14· · · · A· · Yeah, we have in the past had where it
   15· ·appears that people may be fraudulently filling out
   16· ·the application and signing it for the voter, they
   17· ·are already registered, changing parties, things
   18· ·like that.
   19· · · · Q· · When you -- how does that come to your
   20· ·attention?
   21· · · · A· · Several ways.· I have had the actual
   22· ·third-party organization come to me and say, we
   23· ·think we had a problem here, here's the applications
   24· ·we are talking about.· And we've had voters that we
   25· ·send them a new voter information card with a change


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   ·1· ·of party, and they are like, I didn't do that.
   ·2· · · · Q· · When you get a report like that,
   ·3· ·regardless of where it comes from, what do you do
   ·4· ·with it?
   ·5· · · · A· · We would contact law enforcement if there
   ·6· ·was a need for that, and also we are going to notify
   ·7· ·the State.
   ·8· · · · Q· · Who do you -- do you contact the state
   ·9· ·attorney's office, do you contact the sheriff's
   10· ·office; who do you contact?
   11· · · · A· · Sheriff's office.
   12· · · · Q· · Okay.· And then at the State of Florida,
   13· ·who would you contact?
   14· · · · A· · Division of elections.
   15· · · · Q· · Okay.· And when you make those contacts,
   16· ·is there a document process where we would be able
   17· ·to see a document record of those contacts?
   18· · · · A· · I don't have anything available that I
   19· ·recall.
   20· · · · Q· · Okay.· Is there a particular form that
   21· ·your staff has to fill out, for example, when one of
   22· ·these reports comes in?
   23· · · · A· · No.
   24· · · · Q· · Is anybody in your office trained to spot
   25· ·fraudulent voter registration forms?


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   ·1· · · · A· · Can you be more specific?
   ·2· · · · Q· · Yeah.· You are right, that was an awkward
   ·3· ·question.
   ·4· · · · · · ·What I am getting to is, do you provide
   ·5· ·training to your employees with regard to these
   ·6· ·voter registration organizations, these third-party
   ·7· ·groups?
   ·8· · · · A· · No.
   ·9· · · · Q· · Okay.
   10· · · · A· · Let me back up.· Yes, we do provide
   11· ·training, in that they have to verify the number of
   12· ·applications, verify the number of the third-party
   13· ·organizations on the registration application.· So,
   14· ·yeah, there is some training.
   15· · · · Q· · That's what I was anticipating.· Obviously
   16· ·you have these groups bringing these forms in, and
   17· ·it sounds like -- is it fair to say that you track
   18· ·the number of ballots or -- I'm sorry, the number of
   19· ·registrations that you get from each organization?
   20· · · · A· · Yes.
   21· · · · Q· · Okay.· Is there a limit, to your
   22· ·understanding, in Senate Bill 90 on the number of
   23· ·registrations that a third-party voter registration
   24· ·organization can bring to your office?
   25· · · · A· · I don't recall seeing that cap on that.


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   ·1· · · · Q· · Do the third-party voter registration
   ·2· ·organizations typically bring the registration
   ·3· ·applications to your office physically, or do they
   ·4· ·mail them in, or how do they get to you?
   ·5· · · · A· · Generally, they are brought in physically.
   ·6· · · · Q· · Do they ever mail them?
   ·7· · · · A· · Yes.
   ·8· · · · Q· · Okay.· And other than keeping track of the
   ·9· ·number of registration applications that you would
   10· ·get from one of these groups, does your -- are your
   11· ·employees trained to do anything else with regard to
   12· ·the registration applications they receive?
   13· · · · A· · Input them into the Florida voter
   14· ·registration system.
   15· · · · Q· · And then just as a matter of process, what
   16· ·happens after that; once it's inputted into the
   17· ·system, what happens?
   18· · · · A· · The State will make a match, as I
   19· ·mentioned earlier, on whatever identification is
   20· ·furnished, and then they will send back through the
   21· ·portal to us things are good to go basically.
   22· · · · Q· · Is it your understanding that these
   23· ·third-party voter registration organizations have a
   24· ·fiduciary responsibility to the voters that they are
   25· ·registering?


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   ·1· · · · A· · In what regard?
   ·2· · · · Q· · Let me ask it differently.· Like I said
   ·3· ·earlier, if you don't know, it's fine to say you
   ·4· ·don't.
   ·5· · · · · · ·But is it your understanding that the law
   ·6· ·imposes on third-party voter registration
   ·7· ·organizations a fiduciary duty to the registrants
   ·8· ·from whom they are collecting these registration
   ·9· ·applications?
   10· · · · A· · SB 90 requires them to tell them how they
   11· ·can vote or how they can register on online and also
   12· ·some statement about that they've got 14 days to get
   13· ·them to my office, and they may be late and some
   14· ·other verbiage that was put into the bill.
   15· · · · Q· · Right, right.· I am going to ask you about
   16· ·that in a minute.
   17· · · · · · ·Let me ask you about that now, actually,
   18· ·now that I am thinking about it.· Do you believe
   19· ·that those provisions of Senate Bill 90 that require
   20· ·third-party voter registration organizations to
   21· ·communicate certain things to registrants, do you
   22· ·believe that those provisions are problematic or do
   23· ·you object to them in any way?
   24· · · · A· · I don't have an opinion on that.
   25· · · · Q· · Okay.· Have you heard anything from any of


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   ·1· ·your voters with regard to any provisions of Senate
   ·2· ·Bill 90 as it relates to third-party voting
   ·3· ·registration organizations?
   ·4· · · · A· · Not relating to third-party voter
   ·5· ·registration organizations.
   ·6· · · · Q· · Okay.· And then you mentioned earlier that
   ·7· ·you had the experience of a third-party voting
   ·8· ·registration organization turning in their
   ·9· ·application late.· And I think I heard you say that
   10· ·you are not aware of a situation where that ever
   11· ·resulted in a voter being unable to cast their
   12· ·ballot, is that fair?
   13· · · · A· · To my recollection, yes.
   14· · · · Q· · Would that be true for say the last three
   15· ·elections, 2020, 2018, 2016?
   16· · · · A· · Yes.
   17· · · · Q· · Okay.· And this is another hypothetical
   18· ·question that your lawyer might object to, but if it
   19· ·were to happen that a third-party voter registration
   20· ·organization turned in an application after the book
   21· ·closing deadline, what would the consequences be?
   22· · · · · · ·MR. TODD:· Object to that one.
   23· · · · A· · Again, I think that would call for a lot
   24· ·of speculation.
   25


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   ·1· ·BY MR. ZACHERL:
   ·2· · · · Q· · Well, in that situation, would the voter
   ·3· ·be able to vote in that election?
   ·4· · · · A· · No.
   ·5· · · · Q· · Okay.· To your understanding, would they
   ·6· ·be able to vote in the next election, based on that
   ·7· ·registration?
   ·8· · · · A· · They will be able to vote when that
   ·9· ·registration has been verified by the State and
   10· ·accepted.· And they could always vote a provisional
   11· ·ballot, too.
   12· · · · Q· · That was going to be my next question.· Is
   13· ·it your understanding that they would be able to
   14· ·vote a provisional ballot?
   15· · · · A· · Yes.
   16· · · · Q· · And would that count for the election?
   17· · · · A· · That would be up to the canvassing board,
   18· ·but generally if a person is not duly registered,
   19· ·then they are not going to be voting.
   20· · · · Q· · Okay.· Do you know what other criteria are
   21· ·used to determine whether a provisional ballot will
   22· ·count for that election?
   23· · · · A· · Again, that would be up to the canvassing
   24· ·board, whether they accept or reject that
   25· ·provisional ballot.


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   ·1· · · · Q· · Is the canvassing board under your
   ·2· ·supervision?
   ·3· · · · A· · No.
   ·4· · · · Q· · So do you have anybody on your staff
   ·5· ·who -- I am trying to figure out a way to ask the
   ·6· ·question that makes sense.· Do you have anybody on
   ·7· ·your staff that would be involved in the process of
   ·8· ·determining whether a provisional ballot would be
   ·9· ·counted?
   10· · · · A· · I am on the canvassing board as long as I
   11· ·am not on the ballot.
   12· · · · Q· · Okay.· So besides you, anybody else?
   13· · · · A· · No, other than the other members of the
   14· ·board.
   15· · · · Q· · Understood.· Understood.· Yeah.· Do you
   16· ·have other employees that are members of that board?
   17· · · · A· · No.
   18· · · · Q· · Okay.
   19· · · · A· · It's very specific in statute who can
   20· ·serve on the canvassing board.
   21· · · · Q· · Okay.· I am trying to think if I have
   22· ·anything else on voting registration.· I don't think
   23· ·I do.· If I do, I will come back to it.
   24· · · · · · ·So let's talk -- you mentioned earlier
   25· ·something else about the vote-by-mail registration


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   ·1· ·only being applicable to one election cycle, as
   ·2· ·opposed to two election cycles.· Do you remember
   ·3· ·that?
   ·4· · · · A· · Yes.
   ·5· · · · Q· · Okay.· And I think you said something
   ·6· ·about that being more burdensome because now the
   ·7· ·person has to register for vote-by-mail for every
   ·8· ·election cycle, is that right?
   ·9· · · · A· · And it's an administrative burden on us,
   10· ·too.
   11· · · · Q· · Well, that's what I was going to ask you
   12· ·about.· How has that provision of Senate Bill 90
   13· ·actually impacted you so far to date?
   14· · · · A· · It hasn't because right now all of the
   15· ·requests that are on file, all 346,000 of them, will
   16· ·be good through 2022.
   17· · · · Q· · Okay.· So what you are anticipating is
   18· ·that in 2022 and then going forward, when those
   19· ·expire, you are going to have more work for your
   20· ·people to process those applications every cycle?
   21· · · · A· · Both processing the application and voter
   22· ·education, mailings to get information out to
   23· ·people.
   24· · · · Q· · Got it.
   25· · · · A· · Additionally, we used to have a check box


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   ·1· ·on the back of the envelope that qualified as a
   ·2· ·written request because it was signed, dated, and
   ·3· ·they would check the box they wanted to continue to
   ·4· ·receive vote by mail, and now that would require the
   ·5· ·additional information we discussed.
   ·6· · · · Q· · With regard to voter education -- that was
   ·7· ·one of the things I meant to ask you earlier about
   ·8· ·your office -- when there is a change in either the
   ·9· ·Florida election law or the Florida election
   10· ·regulations, is it your office's practice to educate
   11· ·voters in Hillsborough County on those changes?
   12· · · · A· · If it's going to impact the voter,
   13· ·absolutely.
   14· · · · Q· · Okay.· That's a fair point.· What sort of
   15· ·voter education efforts does your office undertake
   16· ·to do that education?
   17· · · · A· · We specifically have a voter's guide that
   18· ·we publish with up-to-date information on the three
   19· ·ways to vote, how to register to vote, how to
   20· ·request a vote-by-mail ballot.
   21· · · · · · ·We also do a monthly newsletter that we
   22· ·get out, speak to different groups, use social media
   23· ·as best as we can, and also get word out to the
   24· ·media so that we can get whatever changes are taking
   25· ·place that they can reiterate.


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   ·1· · · · Q· · Anything else that you can think of?
   ·2· · · · A· · Not that I can think of right now.
   ·3· · · · Q· · And then this process -- my assumption is
   ·4· ·this process has been ongoing since you have been
   ·5· ·the supervisor of elections; in other words, there's
   ·6· ·always going to be a voter's guide, there's always
   ·7· ·going to be the monthly newsletter, there's always
   ·8· ·going to be the outreach to the media for all the
   ·9· ·elections from 2012 through the present?
   10· · · · A· · Correct.
   11· · · · Q· · Okay.· Does your office encourage in those
   12· ·election -- in those educational materials, excuse
   13· ·me, does your office encourage voters to vote by
   14· ·mail or request vote-by-mail ballots?
   15· · · · A· · Not specifically.· This past election we
   16· ·did due to the pandemic, we wanted to give the
   17· ·people the opportunity so that they didn't feel like
   18· ·they were going to get shut out because they didn't
   19· ·want to go inside a polling site or an early vote
   20· ·site.
   21· · · · Q· · How was it that you disseminated that
   22· ·information, or how was it that you notified voters
   23· ·of that or advised voters of that?
   24· · · · A· · For every voter that did not have a
   25· ·request for a vote-by-mail ballot on file, we mailed


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   ·1· ·a piece to them talking about how they could get
   ·2· ·vote-by-mail and, of course, how they could early
   ·3· ·vote and election day.· And that information is also
   ·4· ·included with every voter information card that's
   ·5· ·sent out.
   ·6· · · · Q· · Okay.· Okay.· This may have been because
   ·7· ·of the pandemic, but I am just curious about the
   ·8· ·statistics.· Did you find that more voters requested
   ·9· ·a vote-by-mail ballot in the 2020 election cycle
   10· ·than in prior cycles?
   11· · · · A· · Absolutely.
   12· · · · Q· · The way -- this is -- again, I am not an
   13· ·election guy, so bear with me.
   14· · · · A· · That's okay, I am not an attorney.
   15· · · · Q· · Say again?
   16· · · · A· · I am not an attorney.
   17· · · · Q· · We'll do it together, we'll get through
   18· ·this.· The reason I am saying that is I need to
   19· ·understand how the cycles work.
   20· · · · · · ·So before Senate Bill 90, if somebody had
   21· ·requested a vote-by-mail ballot in 2020, would that
   22· ·request still be good for the 2022 election?
   23· · · · A· · It depends.· When a person makes a
   24· ·request, they can request it for a specific election
   25· ·or they can request it through the next two general


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   ·1· ·elections.
   ·2· · · · Q· · Okay.· So if they had requested it through
   ·3· ·the next two general elections, then the request
   ·4· ·would still be good for the 2022?
   ·5· · · · A· · Correct.
   ·6· · · · Q· · If they had done that, would your office
   ·7· ·still send them a vote by mail -- let me ask it
   ·8· ·differently.
   ·9· · · · · · ·For the people who only requested it for
   10· ·one election cycle, would you send -- in 2020, would
   11· ·you send in 2022 a vote-by-mail ballot to them even
   12· ·if they had not requested it?
   13· · · · A· · Absolutely not.
   14· · · · Q· · Okay.· All right.· I am just trying to
   15· ·think of what else on the vote-by-mail I want to ask
   16· ·you.
   17· · · · · · ·How does the process -- I know that we
   18· ·have this in my class-action practice in trying to
   19· ·track people down who move.· How does the process of
   20· ·a voter changing addresses impact the vote-by-mail
   21· ·process in Hillsborough County, to your knowledge?
   22· · · · A· · We have a pretty transit area here and
   23· ·people are moving all the time, so I've always used
   24· ·the estimate that annually we'll probably deal with
   25· ·about 40,000 people that have moved.· Just off the


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   ·1· ·top of my head -- and this is -- I am not saying
   ·2· ·this is totally accurate -- I think we had about
   ·3· ·10,000 vote-by-mail ballots that were returned
   ·4· ·undeliverable because the people had a forwarding
   ·5· ·address and you can't forward that ballot, or some
   ·6· ·other national change of address that had taken
   ·7· ·place.· That was out of 447,000 ballots we sent, I
   ·8· ·think.
   ·9· · · · Q· · With those ballots, would you -- your
   10· ·office send them out to the new address on the
   11· ·change address form yourself?
   12· · · · A· · No, it cancels it at that point.· The
   13· ·person would have to rerequest.
   14· · · · Q· · Okay.· What about -- you know, what about
   15· ·people who move from one county to another county;
   16· ·when somebody moves say from Hillsborough County to
   17· ·Pinellas County, do they have to register to vote in
   18· ·Pinellas County?
   19· · · · A· · Yes.
   20· · · · Q· · Once they are in --
   21· · · · A· · Excuse me, they don't have to register,
   22· ·they just have to update their address if they are
   23· ·already registered.
   24· · · · Q· · Okay.· All right.· That's what I was
   25· ·wondering.· So if somebody in Hillsborough County


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   ·1· ·moved to Pinellas County and they didn't update
   ·2· ·their address, would they be -- and somehow they got
   ·3· ·the ballot, vote-by-mail, would they be eligible to
   ·4· ·vote in Hillsborough County?
   ·5· · · · A· · If someone moved to Pinellas County, that
   ·6· ·ballot would not have gotten to them because you
   ·7· ·can't forward vote-by-mail ballots.
   ·8· · · · Q· · Okay.· So that's pretty much impossible
   ·9· ·unless, I guess, the resident who got it hands it to
   10· ·them or something like that, right?
   11· · · · A· · Correct.
   12· · · · Q· · Okay.· I got it.· For the returned
   13· ·ballots, other than what you described, is there
   14· ·anything that your office does to ensure that the
   15· ·voter gets the vote-by-mail ballot?
   16· · · · A· · You said for the returned ballots, so you
   17· ·lost me.
   18· · · · Q· · Returned as undeliverable, I'm sorry, for
   19· ·the vote-by-mail ballots that were returned as
   20· ·undeliverable.
   21· · · · A· · No, not at that point.· When you are
   22· ·talking middle of an election, we are down to crunch
   23· ·time there, we don't even have time to go through
   24· ·those 10,000 ballots to see what the address change
   25· ·is on them at that point.


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   ·1· · · · Q· · Okay.· All right.
   ·2· · · · · · ·MR. ZACHERL:· So we have been going for
   ·3· · · · about an hour, and I actually don't have that
   ·4· · · · much more.· As I told you, I take pretty short
   ·5· · · · depositions.· I would like to take a bathroom
   ·6· · · · break if it's okay with everyone; but if it's
   ·7· · · · okay with everyone, I would like to just finish
   ·8· · · · my questioning before we break for lunch.· Is
   ·9· · · · that okay with you guys?
   10· · · · · · ·MR. TODD:· Sure.
   11· · · · · · ·MR. ZACHERL:· Okay.· So let's take just --
   12· · · · we'll come back at 12:20.· That's eight minutes
   13· · · · from now.· Then I will finish up and then we
   14· · · · can take a lunch break.· Is that okay?
   15· · · · · · ·MR. TODD:· That's fine.
   16· · · · · · ·MR. ZACHERL:· Okay.· Thank you.
   17· · · · · · ·(A recess took place from 12:12 p.m. to
   18· · · · 12:20 p.m.)
   19· ·BY MR. ZACHERL:
   20· · · · Q· · Supervisor Latimer, you are still under
   21· ·oath, sir.· We are just going to talk about the
   22· ·ballot harvesting provisions.
   23· · · · · · ·I had a look at my notes during the break,
   24· ·and I am not sure I have much more to go.· But I
   25· ·want to ask you about Senate Bill 90's changes to


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   ·1· ·that law.
   ·2· · · · · · ·So first of all, can you just tell us what
   ·3· ·ballot harvesting is, if you know?
   ·4· · · · A· · I am not certain I know.
   ·5· · · · Q· · Are you familiar with the process of one
   ·6· ·person returning signed ballots to your office for
   ·7· ·other people?
   ·8· · · · A· · I didn't understand that.
   ·9· · · · Q· · Well, you mentioned earlier -- you are
   10· ·right, these are terrible questions.
   11· · · · · · ·You mentioned earlier that in your case
   12· ·that a provision that a person could not take more
   13· ·than two ballots back was going to affect you
   14· ·personally because you are sort of a de facto drop
   15· ·box for people that you know.· So that's what I
   16· ·was -- that's what I am referring to by ballot
   17· ·harvesting.· That's a term of art within this world.
   18· · · · · · ·But are you familiar with the practice of
   19· ·one person returning the votes of other people in
   20· ·Hillsborough County?
   21· · · · A· · So if we can go back a minute, I have read
   22· ·some stuff about ballot harvesting, and my
   23· ·understanding is that that occurs when a person is
   24· ·giving an unmarked and not sealed ballot in an
   25· ·envelope to another individual.


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   ·1· · · · Q· · Okay.· Got it.· That may be accurate in
   ·2· ·terms of what the term actually means.· I was just
   ·3· ·curious what your understanding of it was and you've
   ·4· ·clarified that.
   ·5· · · · A· · I think there was a case out of North or
   ·6· ·South Carolina where that was occurring, they
   ·7· ·actually ended up reversing the election or undoing
   ·8· ·the election.
   ·9· · · · · · ·And back to your original question, I am
   10· ·not aware of anybody collecting unmarked open
   11· ·ballots in Hillsborough County.
   12· · · · Q· · That was one of my questions.· Are you
   13· ·familiar in Hillsborough County with -- or does it
   14· ·happen in Hillsborough County, let's ask it that
   15· ·way, that you have one person who returns the votes
   16· ·of other people to your office?
   17· · · · A· · Yes.· Anecdotally I've seen people that
   18· ·have brought their neighbors', they might live in an
   19· ·apartment complex and they bring five or six
   20· ·neighbors' ballots in and drop them off, too.                I
   21· ·have seen people anecdotally with more than two
   22· ·ballots.· I don't know if it's their immediate
   23· ·family member or who it is.
   24· · · · Q· · Is it your understanding that under Senate
   25· ·Bill 90, a person can only return nonfamily members'


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   ·1· ·ballots up to an amount of two, in addition to their
   ·2· ·own ballot?
   ·3· · · · A· · That's correct.· The way I understand it
   ·4· ·is you can bring as many immediate family and your
   ·5· ·own ballot, and then you can possess no more than
   ·6· ·two per election of nonfamily members.
   ·7· · · · Q· · Now, on this issue, prior to the enactment
   ·8· ·of Senate Bill 90, was there any limit on the number
   ·9· ·of completed ballots that a person could return for
   10· ·nonfamily members?
   11· · · · A· · Not that I am aware of.
   12· · · · Q· · Prior to the enactment of Senate Bill 90,
   13· ·did your office keep any statistics or keep track of
   14· ·circumstances where one person would return other
   15· ·people's ballots?
   16· · · · A· · No.
   17· · · · Q· · Okay.· Now let's talk about after Senate
   18· ·Bill 90.· Since the enactment of Senate Bill 90, is
   19· ·your office going to do anything to track people who
   20· ·return other people's ballots?· And by that --
   21· ·that's a bad question, I know, but what I mean is,
   22· ·if I bring in a ballot for myself and then I bring
   23· ·in a ballot for my buddy Joe and my buddy Steve,
   24· ·will you write down somewhere that Frank Zacherl
   25· ·brought in ballots for these other two people?


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   ·1· · · · A· · No.
   ·2· · · · Q· · Are you going to keep any records of me in
   ·3· ·that circumstance bringing ballots for other people?
   ·4· · · · A· · I don't believe that's required in the
   ·5· ·statute.
   ·6· · · · Q· · The reason I am asking is, in Hillsborough
   ·7· ·County, since the enactment of Senate Bill 90, would
   ·8· ·it be possible for someone to bring in other
   ·9· ·people's ballots two at a time, so they come in
   10· ·multiple times and they bring in -- they come in
   11· ·five times, two ballots each time, so they've
   12· ·returned 10 ballots of nonfamily members, would that
   13· ·be possible in Hillsborough County under your
   14· ·current plans for how to administer the elections
   15· ·going forward?
   16· · · · A· · That would call for speculation and a
   17· ·hypothetical situation that we haven't encountered
   18· ·in an election yet.
   19· · · · Q· · What I'm asking, though, is your office
   20· ·planning on doing anything to prevent that
   21· ·circumstance from occurring?
   22· · · · A· · I don't believe the statute requires that.
   23· · · · Q· · Okay.· Okay.· So that's -- you're not
   24· ·going to do anything to prevent that from happening?
   25· · · · A· · You know, I don't know whether you are


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   ·1· ·bringing a family member's, and I don't know who
   ·2· ·your immediate family members are by name.· There is
   ·3· ·no enforcement or checks and balances on that in the
   ·4· ·statute.
   ·5· · · · Q· · Okay.· Okay.· Prior to Senate Bill 90, you
   ·6· ·have mentioned a number of times anecdotal reports
   ·7· ·from voters, and that's what I am referring to now,
   ·8· ·Supervisor Latimer.· But did you ever hear any
   ·9· ·voters in your county comment or provide feedback
   10· ·that they were relying on other people to return
   11· ·their ballot for them?
   12· · · · A· · Anecdotally, yes, I have had people tell
   13· ·me that my neighbor is going to bring my ballot back
   14· ·for me or my neighbor brought my ballot back for me.
   15· · · · Q· · Has anybody from the Hillsborough County
   16· ·voting community, I guess, or voters in Hillsborough
   17· ·County, since Senate Bill 90 has been enacted, have
   18· ·you gotten any feedback from voters in Hillsborough
   19· ·County about this provision of Senate Bill 90?
   20· · · · A· · Not that I recall.
   21· · · · Q· · Okay.· Excuse me, let's talk about 2020
   22· ·just to start as an example.· I am trying to
   23· ·understand how it happened before and after Senate
   24· ·Bill 90.
   25· · · · · · ·Did you have volunteer groups or other


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   ·1· ·groups in Hillsborough County that would collect
   ·2· ·ballots and return them to your offices?
   ·3· · · · A· · I don't have any information on that.
   ·4· · · · Q· · Prior to 2020, did your office -- or prior
   ·5· ·to Senate Bill 90, so this would be applicable in
   ·6· ·the 2020 election, did your office have any
   ·7· ·requirement that a group that was going to do that,
   ·8· ·return other people's ballots, register their
   ·9· ·organization with your office?
   10· · · · A· · No.
   11· · · · Q· · Okay.· Since Senate Bill 90 was enacted,
   12· ·do you have any plans to require any registration
   13· ·like that going forward?
   14· · · · A· · I don't recall seeing anything like that
   15· ·in the statute.
   16· · · · Q· · Okay.· Okay.· I am just trying to think
   17· ·what else I have on this ballot harvesting issue.
   18· ·You are doing a good job of getting right to it, so
   19· ·we are going quickly.
   20· · · · A· · I am going to have to stop doing it.
   21· · · · Q· · Yeah, we booked a while, but I think I
   22· ·told your counsel back when I just don't take very
   23· ·long depositions.· I have a good sense of your
   24· ·testimony now.
   25· · · · · · ·Did you ever have a circumstance where --


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   ·1· ·and this is prior to the enactment of Senate
   ·2· ·Bill 90.· Did you ever have a circumstance where one
   ·3· ·of these groups that returns ballots returned them
   ·4· ·late so that they couldn't be counted?
   ·5· · · · A· · Not that I am aware of.
   ·6· · · · Q· · Okay.· Are you familiar -- let's just say
   ·7· ·in the last three elections -- well, let's go back
   ·8· ·to when you became supervisor in 2012.· Are you
   ·9· ·familiar with any fraud in Hillsborough County that
   10· ·is related to this ballot harvesting that we have
   11· ·been discussing?
   12· · · · A· · I am not.
   13· · · · Q· · Are you familiar or are you aware of any
   14· ·criminal prosecutions or criminal charges that were
   15· ·made or alleged in Hillsborough County regarding
   16· ·this ballot harvesting we have been talking about?
   17· · · · A· · No.
   18· · · · Q· · Okay.· All right.
   19· · · · · · ·MR. ZACHERL:· I think that is all the
   20· · · · questions I have for you, sir.· If you can just
   21· · · · give me a minute -- I did go over my notes
   22· · · · prior to getting back on the record.· Seems
   23· · · · like I made one note.· Just give me a minute.
   24· · · · · · ·No, I think I have asked you everything I
   25· · · · needed to ask you.· Let me ask just a couple


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   ·1· · · · general questions.
   ·2· ·BY MR. ZACHERL:
   ·3· · · · Q· · Is there anything that we haven't talked
   ·4· ·about that you take issue with in Senate Bill 90?
   ·5· · · · A· · Not that I can think of.
   ·6· · · · Q· · Okay.· And is it your contention -- let me
   ·7· ·ask you this:· You are not a plaintiff, but do you
   ·8· ·believe that any of the provisions of Senate Bill 90
   ·9· ·should be stricken as unconstitutional?
   10· · · · · · ·MR. TODD:· Object to the form.
   11· · · · A· · I wouldn't speculate on that.
   12· ·BY MR. ZACHERL:
   13· · · · Q· · All right.· And is it going to be an undue
   14· ·hardship on your office to implement the provisions
   15· ·of Senate Bill 90?
   16· · · · A· · As I stated before, it's going to cause a
   17· ·tremendous administrative burden on our office with
   18· ·just having to process these things every cycle, as
   19· ·opposed to every two cycles, and the additional
   20· ·information that's required that we have to verify,
   21· ·so it will cause an administrative burden.
   22· · · · Q· · Anything else besides that?
   23· · · · A· · Not that I can think of.
   24· · · · Q· · And then there was questioning of another
   25· ·supervisor of elections deposition about the law.


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   ·1· ·Is it your understanding that the law in Florida
   ·2· ·previously was that you had to renew vote by mail
   ·3· ·every election cycle, and then they changed it in
   ·4· ·Tallahassee to be every other election cycle, and
   ·5· ·now they've changed it back to where it originally
   ·6· ·was, are you aware of that?
   ·7· · · · A· · I am.· I believe that was in 2011 that
   ·8· ·they changed it back to one cycle, and then the next
   ·9· ·year they changed it right back to two cycles.
   10· · · · Q· · Okay.· Okay.· Based on that experience,
   11· ·did you see any additional administrative burden
   12· ·when you went to the one cycle?
   13· · · · A· · Absolutely.· Number one, it wiped out
   14· ·everything that we had on file at that point --
   15· · · · Q· · Right.
   16· · · · A· · -- the election which -- and ironically,
   17· ·we had a city of Tampa election right after that,
   18· ·and I think we started with like a hundred people
   19· ·that had requests on file from several hundred
   20· ·thousand.· So it took my communications team a lot
   21· ·of effort and work to build that back up.
   22· · · · Q· · Right.· Right.
   23· · · · · · ·MR. ZACHERL:· I don't have any other
   24· · · · questions for you right now.· I am pretty sure
   25· · · · that others on the Zoom might have questions,


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   ·1· ·Supervisor.· But thank you very much for your
   ·2· ·time this morning and I hope this wasn't too
   ·3· ·painful.
   ·4· · · · THE WITNESS:· Thank you.
   ·5· · · · MR. TODD:· Just kind of taking a survey,
   ·6· ·who else is going to be questioning this
   ·7· ·witness?
   ·8· · · · MR. DAINES:· I will be for the Secretary
   ·9· ·of State.
   10· · · · MR. TODD:· Dan, you got any questioning?
   11· · · · MS. MADDURI:· I will be questioning for
   12· ·the League of Women Voters plaintiff.
   13· · · · MR. TODD:· We have three attorneys for
   14· ·questioning.
   15· · · · MR. CAVATARO:· I will be questioning for
   16· ·NAACP plaintiffs.
   17· · · · MR. TODD:· So we have four.
   18· · · · MR. BUDHU:· Sorry, this is Ryan Budhu for
   19· ·the Florida Rising plaintiffs, I will also be
   20· ·questioning briefly.
   21· · · · MR. TODD:· Have y'all predecided who is
   22· ·going to be questioning first, second, third,
   23· ·fourth?
   24· · · · MS. MADDURI:· I will be going first for
   25· ·the plaintiffs.


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   ·1· · · · MR. TODD:· Okay.· Very good.· What is your
   ·2· ·consensus regarding a break for lunch, we need
   ·3· ·one?· We just dive right in?
   ·4· · · · What's the witness' pleasure?· Craig, you
   ·5· ·want a break?
   ·6· · · · THE WITNESS:· Yeah, I will take a break
   ·7· ·for lunch and we'll come back at it then.
   ·8· · · · MR. TODD:· How long do we need?
   ·9· · · · THE WITNESS:· Twenty minutes, thirty
   10· ·minutes.
   11· · · · MR. ZACHERL:· How about one o'clock?
   12· · · · MR. TODD:· One o'clock works.
   13· · · · MS. MADDURI:· One o'clock, will the
   14· ·representative from the Secretary of State
   15· ·begin, or did you want me to go then?
   16· · · · MR. DAINES:· That was my preference, if
   17· ·that's okay.· I just have a few follow-up
   18· ·questions to the questions that have already
   19· ·been asked.
   20· · · · MS. MADDURI:· That's fine with me.
   21· · · · MR. ZACHERL:· We'll see you guys at 1:00.
   22· ·Thank you.
   23· · · · (A recess took place from 12:36 p.m. to
   24· ·1:00 p.m.)
   25· · · · MR. DAINES:· I am also joined here by Kim


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   ·1· · · · Acres from Holtzman and Vogel, she is my
   ·2· · · · colleague who will be assisting with just one
   ·3· · · · or two quick exhibits.· I really don't have
   ·4· · · · that many -- I don't have too many follow-up
   ·5· · · · questions from what have already been asked so
   ·6· · · · far.
   ·7· · · · · · ·But thank you, Supervisor Latimer.
   ·8· · · · · · · · · · CROSS EXAMINATION
   ·9· ·BY MR. DAINES:
   10· · · · Q· · As a reminder, I represent defendant
   11· ·Secretary of State Lee.· And if you ever need to
   12· ·take a break or if you don't understand any of the
   13· ·questions I am asking, please don't hesitate to let
   14· ·me know.
   15· · · · · · ·You understand that you are still under
   16· ·oath at this time?
   17· · · · A· · I do.
   18· · · · Q· · Thank you, by the way, for your helpful --
   19· ·I thought that your testimony was very helpful in
   20· ·helping us understand how the process works in
   21· ·Hillsborough County.
   22· · · · · · ·So as I understand your testimony, you
   23· ·said that Hillsborough has -- well, let's talk
   24· ·specifically about 2020 elections.· Hillsborough had
   25· ·26 drop box locations, including 22 early voting


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   ·1· ·sites that you mentioned, correct?
   ·2· · · · A· · So all four of my offices are early voting
   ·3· ·sites, also.
   ·4· · · · Q· · Okay.
   ·5· · · · A· · So 26 total early voting sites and then
   ·6· ·four offices after early voting hours.
   ·7· · · · Q· · Gotcha.· And so that makes for a total of
   ·8· ·26 drop boxes that -- one for each of those sites,
   ·9· ·is that correct?
   10· · · · A· · Correct.
   11· · · · Q· · Okay.· And you mentioned that only the
   12· ·election service center location was a 24/7 drop
   13· ·box, meaning that that was the only one where
   14· ·ballots could be deposited 24 hours a day throughout
   15· ·the week, is that correct?
   16· · · · A· · That is correct.· We had a slot installed
   17· ·through our front facade so that it was a secure
   18· ·24-hour drop box.
   19· · · · Q· · And after normal voting hours at the
   20· ·election service center, you mentioned that law
   21· ·enforcement at that point continued monitoring that
   22· ·drop box, is that correct?
   23· · · · A· · I had a mix of law enforcement and
   24· ·employees.
   25· · · · Q· · Employees, okay.· Would you say that was


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   ·1· ·unduly burdensome for your office to have that drop
   ·2· ·box monitored in that way?
   ·3· · · · A· · I had video surveillance on it, so I
   ·4· ·wasn't really concerned with it.· But it cost us a
   ·5· ·lot of money.
   ·6· · · · Q· · Okay.· Would you say that it was feasible
   ·7· ·to offer that option to your voters?
   ·8· · · · A· · The 24-hour drop box?
   ·9· · · · Q· · Yes.
   10· · · · A· · Yes.· I wanted to give any available
   11· ·opportunity for a voter to return their ballot.
   12· · · · Q· · Okay.· Great.· As I recall -- and this is
   13· ·just making sure that I am clear on testimony that
   14· ·you have given, you said that SB 90 didn't change
   15· ·your county's procedures for drop boxes drastically,
   16· ·with the exception of the 25,000-dollar penalty that
   17· ·you said will require more careful monitoring, is
   18· ·that accurate?
   19· · · · A· · That is correct.
   20· · · · Q· · Okay.· And I recall that you said that
   21· ·drop boxes are currently only available at your
   22· ·22 -- so let me -- sorry, let me back up.· Strike
   23· ·that.
   24· · · · · · ·So during early voting hours, your drop
   25· ·boxes are available at all 26 locations, is that


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   ·1· ·correct?
   ·2· · · · A· · That is correct.
   ·3· · · · Q· · But I also recall you saying that for 22
   ·4· ·of the -- of the 26, which are the 22 -- or sorry,
   ·5· ·strike that.
   ·6· · · · · · ·So for 22 of the locations, I believe you
   ·7· ·said that they are not available during the day or
   ·8· ·two before an election for early voting.· Could you
   ·9· ·clarify?
   10· · · · A· · Yes.· I use the maximum number of days for
   11· ·early voting, 14 days, it takes me through that last
   12· ·Sunday before the election.· So on Monday and
   13· ·Tuesday, there is no drop boxes at early vote sites.
   14· ·The only drop boxes are at my four offices.
   15· · · · Q· · Okay.· And that was for the -- you said
   16· ·for the Monday and the Tuesday, Tuesday being the
   17· ·election day?
   18· · · · A· · Correct.
   19· · · · Q· · Okay.· Now, that was the way that you did
   20· ·it prior to the enactment of SB 90, correct?
   21· · · · A· · Correct.
   22· · · · Q· · So that was the way that you did it in the
   23· ·2020 elections.· How about the 2018 elections?
   24· · · · A· · Same way.
   25· · · · Q· · So it's safe to say that the practice of


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   ·1· ·not having those 22 sites open during the Monday and
   ·2· ·the Tuesday before an election was not something
   ·3· ·that -- was not something you did in response to
   ·4· ·SB 90?
   ·5· · · · A· · Can you try that again?· Restate that,
   ·6· ·please.
   ·7· · · · Q· · In other words, you were doing -- you were
   ·8· ·keeping those drop boxes closed on those two days
   ·9· ·prior to SB 90, correct?
   10· · · · A· · Correct.
   11· · · · Q· · So SB 90 had nothing to do with the
   12· ·decision to not have those drop boxes open on those
   13· ·two days?
   14· · · · A· · I have never had them open except during
   15· ·early voting.
   16· · · · Q· · You mentioned that you think the
   17· ·requirement to provide a driver's license number or
   18· ·the last four digits of a Social Security number is
   19· ·burdensome on voters requesting a vote-by-mail
   20· ·ballot.· Do you recall that testimony?
   21· · · · A· · I do.
   22· · · · Q· · And I was just wondering, is that based on
   23· ·something that voters have communicated to you
   24· ·personally or to your staff?
   25· · · · A· · We have talked about it internally, that


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   ·1· ·it's going to cause the interaction with the voter,
   ·2· ·they are going to have to come up with that driver's
   ·3· ·license number or the last four of their Social,
   ·4· ·whichever one we can verify.
   ·5· · · · · · ·In addition, I talked about that we had
   ·6· ·the check box on the back of the return envelope for
   ·7· ·vote by mail and we'll no longer do that because I
   ·8· ·am not going to have a spot there for somebody to
   ·9· ·post their driver's license number or last four of
   10· ·their Social with their signature.
   11· · · · Q· · Right.· But I guess what I am asking is,
   12· ·do you have any reason or evidence to believe that
   13· ·it will be burdensome to voters, or are you
   14· ·speculating?
   15· · · · A· · I am speculating at this point, we haven't
   16· ·had an election.· Everybody is still good until
   17· ·2022.
   18· · · · Q· · Gotcha.· And relatedly, have any of your
   19· ·constituents indicated to you that SB 90 will
   20· ·prevent them from being able to vote in future
   21· ·elections?
   22· · · · A· · I don't have any information of that.
   23· · · · Q· · You haven't heard anybody tell you that as
   24· ·a result of the provisions that we've discussed
   25· ·today, that they won't be able to access the ballot?


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   ·1· · · · A· · That is correct, I have not heard that at
   ·2· ·all.
   ·3· · · · Q· · Okay.
   ·4· · · · · · ·MR. DAINES:· Kim, if we could pull up what
   ·5· · · · I have called Exhibit B, which is three talking
   ·6· · · · points for the 2021 legislation.
   ·7· · · · · · ·And we will -- if we could have this
   ·8· · · · marked as Exhibit 1 for the record.
   ·9· · · · · · ·(Exhibit 1 was marked for identification.)
   10· ·BY MR. DAINES:
   11· · · · Q· · Kim is going to share that in the chat.
   12· ·Supervisor Latimer, do you have that exhibit in
   13· ·front of you by chance?
   14· · · · A· · I do.
   15· · · · Q· · Do you recognize -- well, let me first
   16· ·represent that this is a document your office
   17· ·produced in response to request for production in
   18· ·this litigation.
   19· · · · · · ·Do you recognize these talking points?
   20· · · · A· · I do.
   21· · · · Q· · Who prepared them?
   22· · · · A· · Along with my chief communication officer,
   23· ·Jerry Cramer, and myself.
   24· · · · Q· · Feel free to review them if you need to,
   25· ·but I am wondering if you -- as you sit here today,


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   ·1· ·if you agree with these talking points?
   ·2· · · · · · ·MR. TODD:· Object to the form.· Time
   ·3· · · · frame.
   ·4· · · · A· · I do agree with them.
   ·5· ·BY MR. DAINES:
   ·6· · · · Q· · Okay.· You mentioned in your earlier
   ·7· ·testimony that SB 90 changed as a result of the
   ·8· ·input of the state association, FSE.· Do you recall
   ·9· ·that testimony?
   10· · · · A· · I do.
   11· · · · Q· · I wonder if -- I wonder if we can look at
   12· ·this first talking point that says that,
   13· ·"Supervisors of elections worked throughout the
   14· ·legislative session to make sure legislators
   15· ·understood the impact their proposals would have on
   16· ·voters and were successful in preventing some of the
   17· ·most onerous proposals from making it into
   18· ·legislation, including canceling vote-by-mail
   19· ·requests that are currently on file and removing
   20· ·drop boxes altogether."
   21· · · · · · ·Is that an accurate description of what
   22· ·took place prior to the enactment of SB 90 into law?
   23· · · · A· · I think it is, yes.
   24· · · · Q· · How long did you personally spend talking
   25· ·to legislators about the impact of SB 90, if you can


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   ·1· ·recall?
   ·2· · · · A· · I spent very little time speaking to
   ·3· ·legislators.· All of our work was done through our
   ·4· ·lobbyist, Dave Ramba, and our legislative committee.
   ·5· · · · Q· · And is it fair to say that those
   ·6· ·individuals spent a good amount of time talking with
   ·7· ·legislators about the impact of SB 90?
   ·8· · · · A· · I would let them testify to that.
   ·9· · · · Q· · Okay.· Based on your knowledge as
   10· ·president of FSE and as a supervisor who is heavily
   11· ·involved with FSE, do you believe that the efforts
   12· ·of the Florida supervisors of elections played any
   13· ·role in shaping the final version of SB 90 that
   14· ·became law?
   15· · · · A· · As I stated there, we were able to prevent
   16· ·some of the most onerous proposals from making it
   17· ·into the legislation.
   18· · · · Q· · So isn't it true, then, that the
   19· ·Legislature responded to these particular concerns
   20· ·expressed by the supervisors and resulted in a bill
   21· ·that you were happier with?
   22· · · · A· · From my understanding, there was more than
   23· ·just the supervisors that were providing input on
   24· ·some of the onerous proposals.
   25· · · · Q· · Right.· So would you say, then, that the


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   ·1· ·input of the supervisors, though, resulted in a bill
   ·2· ·that you personally were happier with?
   ·3· · · · A· · I think it resulted in us getting a lot of
   ·4· ·things removed that were contemplated by the
   ·5· ·Legislature that would have been extremely difficult
   ·6· ·to deal with on our end.
   ·7· · · · Q· · That makes sense.· And you believe that
   ·8· ·the later version was more favorable to voters than
   ·9· ·the earlier iteration that you talked about before?
   10· · · · A· · Yes.
   11· · · · Q· · Okay.· Just one last question.· From your
   12· ·perspective, is even one fraudulent vote in your
   13· ·county too many for an election?
   14· · · · A· · Absolutely.
   15· · · · · · ·MR. DAINES:· If I could just have two
   16· · · · minutes to make sure -- to check my notes.· Can
   17· · · · we go off the record for two minutes?
   18· · · · · · ·(Short pause.)
   19· · · · · · ·MR. DAINES:· I don't have any further
   20· · · · questions, so thank you, Supervisor Latimer.
   21· · · · · · ·THE WITNESS:· Thank you.
   22· · · · · · ·MR. TODD:· Is it Ms. Madduri next?
   23· · · · · · ·MS. MADDURI:· Yes.
   24· · · · · · · · · · CROSS EXAMINATION
   25


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   ·1· ·BY MS. MADDURI:
   ·2· · · · Q· · Good afternoon, Supervisor Latimer, my
   ·3· ·name is Aldi Madduri and I represent some of the
   ·4· ·plaintiffs in one of the four cases that we are
   ·5· ·having this deposition in today.· That's the League
   ·6· ·of Women Voters plaintiffs.
   ·7· · · · · · ·I would start by just talking about the
   ·8· ·FSE.· What is the FSE?
   ·9· · · · A· · It's a statewide association of the
   10· ·supervisors of elections.
   11· · · · Q· · What is the FSE's mission or purpose?
   12· · · · A· · I will read it to you if you would like.
   13· · · · Q· · Or if you want to just summarize what you
   14· ·understand it to be, that works for me.
   15· · · · A· · The mission statement is, "The FSE exists
   16· ·to assist its members in conducting fair, honest and
   17· ·accurate elections by providing continuing education
   18· ·and certification programs that encourage the
   19· ·highest level of professionalism; to assist Florida
   20· ·citizens become better informed about voting and be
   21· ·prepared to participate in the electoral process;
   22· ·and to create a forum where the Supervisors can
   23· ·regularly express their joint opinions on important
   24· ·election issues."
   25· · · · Q· · You said it has members.· Are the members


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   ·1· ·the supervisors of elections in Florida?
   ·2· · · · A· · All 67 supervisors of elections belong to
   ·3· ·the association.
   ·4· · · · Q· · Do you have any current role or title in
   ·5· ·the FSE?
   ·6· · · · A· · I am the immediate past president.
   ·7· · · · Q· · Okay.· So then recently you were the
   ·8· ·president?
   ·9· · · · A· · That is correct.
   10· · · · Q· · Okay.· Approximately what dates were you
   11· ·in that role?
   12· · · · A· · From June of 19 -- or '20 to June of '21
   13· ·basically.
   14· · · · Q· · Okay.· So you were president during the
   15· ·2020 August primary election?
   16· · · · A· · Yes.
   17· · · · Q· · As well as the general election in 2020?
   18· · · · A· · Yes.
   19· · · · Q· · And you were also the president as SB 90
   20· ·and related bills were considered and passed by the
   21· ·Florida legislature, is that right?
   22· · · · A· · Correct.
   23· · · · Q· · Okay.· Was part of your role as president
   24· ·of FSE to work with other supervisors to understand
   25· ·challenges that folks were facing and to help


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   ·1· ·resolve those challenges?
   ·2· · · · A· · Can you be a little bit more specific?
   ·3· · · · Q· · Sure.· Did you work with other supervisors
   ·4· ·to proactively identify issues that you all faced in
   ·5· ·administration and then to look for coordinated
   ·6· ·solutions or look for ways to fix those things or
   ·7· ·improve elections?
   ·8· · · · A· · Yes, as I stated in the mission statement,
   ·9· ·that's what we are there for.
   10· · · · Q· · Was there a committee or a working group
   11· ·or something like that dedicated towards SB 90 and
   12· ·related legislation?· I will say when I say SB 90, I
   13· ·am also referring to the House bill, the
   14· ·counterpart, I believe it's 7041.
   15· · · · A· · Yes, 7041.· We have -- one of the standing
   16· ·committees for the association is the Legislative
   17· ·Affairs Committee.
   18· · · · Q· · So the Legislative Affairs Committee would
   19· ·have monitored SB 90 and formed, I guess, opinions
   20· ·on that or weighed in on that; I think you mentioned
   21· ·that in some of your previous testimony?
   22· · · · A· · Yes.
   23· · · · Q· · What were your duties as president?
   24· · · · A· · To facilitate the association, make sure
   25· ·that we had good communication, select different


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   ·1· ·committee members to head up committees.
   ·2· · · · Q· · Was there any process to solicit opinions
   ·3· ·from other SOEs about various issues?
   ·4· · · · A· · It's an open forum.· A lot of the issues
   ·5· ·actually get generated up from other supervisors
   ·6· ·that -- things that are happening in their
   ·7· ·jurisdiction or something that they might have seen
   ·8· ·in the law or something, some trend that's taking
   ·9· ·place.
   10· · · · Q· · And have you had any other roles in the
   11· ·FSE besides president and now former president?
   12· · · · A· · Secretary, treasurer, vice president.· So
   13· ·yes.
   14· · · · Q· · Okay.· Have you served on any committees?
   15· ·I know you mentioned the Legislative Affairs
   16· ·Committee.
   17· · · · A· · I have sat on several of the committees
   18· ·over the years, yes.
   19· · · · Q· · What's your opinion of the FSE?
   20· · · · A· · It's a great association.· It's a total
   21· ·bipartisan group that -- as I say all the time, that
   22· ·the biggest advocate for any voter is your
   23· ·supervisor of elections, and I would add regardless
   24· ·of their party affiliation.
   25· · · · Q· · Through the FSE or otherwise, would you


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   ·1· ·agree that you've had many interactions with other
   ·2· ·supervisors about election administration in
   ·3· ·Florida?
   ·4· · · · A· · Yes.
   ·5· · · · Q· · Would you say that you have had many
   ·6· ·interactions with other Florida supervisors about
   ·7· ·SB 90?
   ·8· · · · A· · Yes.
   ·9· · · · Q· · Would you agree that you have gained a
   10· ·general understanding of how elections are
   11· ·administered in other counties in Florida?
   12· · · · A· · We are all bound by the same state
   13· ·statutes and administrative rules.
   14· · · · Q· · Okay.· So elections generally function
   15· ·similarly across all the counties?
   16· · · · A· · Correct.
   17· · · · Q· · Through interactions about SB 90, would
   18· ·you say that you've gained an understanding of how
   19· ·other supervisors thought SB 90 would impact
   20· ·election administration in their counties?
   21· · · · A· · Can you be a little bit more specific?
   22· · · · Q· · Sure.· Just generally I am wondering if
   23· ·you, in your interactions with other supervisors or
   24· ·in the time that you have spent working on SB 90,
   25· ·considering SB 90, if you, beyond just your own


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   ·1· ·county in Hillsborough, did you also gain kind of an
   ·2· ·understanding of how the bill would impact elections
   ·3· ·in other counties?
   ·4· · · · A· · As I stated, we all follow the same state
   ·5· ·statute, so that would have the same impact in every
   ·6· ·county.
   ·7· · · · Q· · I think we already covered your
   ·8· ·background, but I just have two specific questions I
   ·9· ·don't think we covered.· Have you done any trainings
   10· ·in election administration?
   11· · · · A· · I am a graduate of the CERA program with
   12· ·the election center, which is a national
   13· ·Certification of Election Registration
   14· ·Administrators.
   15· · · · Q· · I think I noticed on some of the documents
   16· ·that your office produced that you received
   17· ·something called the Governor's Sterling Award?· Can
   18· ·you tell me what --
   19· · · · A· · That is correct.
   20· · · · Q· · Sorry, I didn't mean to cut you off.· Can
   21· ·you tell me what that is?
   22· · · · A· · Yes, it's similar to the Malcolm Baldrige
   23· ·Award except on a statewide level.· It's about
   24· ·performance management, data usage and doing what
   25· ·you say you are doing.


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   ·1· · · · Q· · How large is your staff in Hillsborough?
   ·2· · · · A· · I've got about 45 full-time employees.
   ·3· · · · Q· · And do you have a rough estimate of how
   ·4· ·many temporary employees you employ during -- during
   ·5· ·election seasons?
   ·6· · · · A· · Yes.· We'll bring on close to 40 to 50
   ·7· ·full-time temporary employees and, of course, as
   ·8· ·early voting and election day starts, upwards of
   ·9· ·2500 poll workers.
   10· · · · Q· · Do you use any volunteers in any capacity?
   11· · · · A· · I do not.
   12· · · · Q· · Do you know what your annual budget is off
   13· ·the top of your head?
   14· · · · A· · It ranges 14 to 16 million.
   15· · · · Q· · Hillsborough is one of the largest
   16· ·counties in Florida, right?
   17· · · · A· · We are the fourth largest county for
   18· ·voters.
   19· · · · Q· · Corresponding to how many voters you have,
   20· ·is your staff also among the larger staffs in
   21· ·Florida?
   22· · · · A· · I can't answer that.
   23· · · · Q· · I would like to talk about the 2020
   24· ·election now, the elections that occurred in 2020.
   25· ·So there were three statewide elections, right?


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   ·1· · · · A· · Correct.
   ·2· · · · Q· · Presidential primary and then a primary
   ·3· ·and then the general?
   ·4· · · · A· · Presidential preference primary and the
   ·5· ·primary and then the general.
   ·6· · · · Q· · And you oversaw those elections?
   ·7· · · · A· · I did.
   ·8· · · · Q· · Okay.· Do you believe that the 2020
   ·9· ·elections in Hillsborough were secure?
   10· · · · A· · I do.
   11· · · · Q· · Why do you say that?
   12· · · · A· · I would go to a tremendous amount of
   13· ·extent to make sure that, number one, we have got a
   14· ·secure physical premise here, we have got
   15· ·cybersecurity in place, and we also conduct the
   16· ·required logic and accuracy test and required
   17· ·post-election audit.
   18· · · · Q· · In your opinion, were the elections in
   19· ·2020 successful?
   20· · · · A· · Yes.
   21· · · · Q· · Is that true for both Hillsborough and for
   22· ·Florida?
   23· · · · A· · I believe so.· I think the president, the
   24· ·governor and the Secretary of State all said we had
   25· ·a successful election.


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   ·1· · · · · · ·MS. MADDURI:· I am going to pull up an
   ·2· · · · exhibit.· My colleague will share it in the
   ·3· · · · chat for everyone and it's -- we have
   ·4· · · · internally marked it as Exhibit A, and I think
   ·5· · · · we'll mark it as Exhibit 2 to the deposition.
   ·6· · · · · · ·(Exhibit 2 was marked for identification.)
   ·7· ·BY MS. MADDURI:
   ·8· · · · Q· · Did you receive that, Supervisor Latimer?
   ·9· · · · A· · Is that the three talking points?· Oh, no,
   10· ·there is --
   11· · · · Q· · There's another one now.
   12· · · · · · ·MR. TODD:· Is this the interrogatory
   13· · · · answers?
   14· · · · · · ·MS. MADDURI:· No.· It's, I believe, a
   15· · · · statement from Supervisor Latimer that's dated
   16· · · · April 30, 2021.
   17· · · · A· · I am having an issue getting it up here.
   18· ·Okay.· I got it now.· Right.· From 4-30-2021?
   19· ·BY MS. MADDURI:
   20· · · · Q· · That's right.
   21· · · · · · ·MS. MADDURI:· Mr. Todd, do you have it as
   22· · · · well?· Or if there's an issue accessing it, I
   23· · · · just want to make sure you --
   24· · · · · · ·MR. TODD:· Yes, ma'am, all set.· Thank
   25· · · · you.


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   ·1· ·BY MS. MADDURI:
   ·2· · · · Q· · Supervisor Latimer, do you recognize this
   ·3· ·document?
   ·4· · · · A· · I do.
   ·5· · · · Q· · What is it?
   ·6· · · · A· · It was a statement that my office put out
   ·7· ·right after the election SB 90 was passed.
   ·8· · · · Q· · Did you help prepare it?
   ·9· · · · A· · I did.
   10· · · · Q· · Okay.· And how was it -- how was it sent
   11· ·out?
   12· · · · A· · This was actually distributed mainly to
   13· ·the media to try and slow down personal appearances
   14· ·to get the statement out.
   15· · · · Q· · I am sure it was a very busy time.
   16· · · · · · ·So in the first full paragraph, you said,
   17· ·or your office, in the statement you said, "As
   18· ·supervisor of elections, we are unwavering in our
   19· ·commitment to keeping our elections both secure and
   20· ·accessible.· We did that in 2020 to universal
   21· ·acclaim.· Our elections ran smoothly, voters
   22· ·participated in record numbers, and election results
   23· ·were verified with audits in every county in
   24· ·Florida, as provided for in our current law."
   25· · · · · · ·You also said, "My colleagues and I will


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   ·1· ·continue to work every day to increase voter
   ·2· ·participation and maintain the integrity of our
   ·3· ·elections following any new requirements established
   ·4· ·by our lawmakers."
   ·5· · · · · · ·Do you still agree with that statement?
   ·6· · · · A· · As I said before, we follow the law.
   ·7· · · · Q· · Absolutely.· And do you also agree with
   ·8· ·the rest of that paragraph?
   ·9· · · · A· · I do.
   10· · · · Q· · And then if you would scroll down to the
   11· ·last paragraph, it says, "After days of debate, our
   12· ·hope is that the initial and unnecessary call for
   13· ·election reform will not detract from the confidence
   14· ·that was well earned in 2020."
   15· · · · · · ·Do you still agree with that statement?
   16· · · · A· · I do.
   17· · · · Q· · What did you mean by unnecessary call for
   18· ·election reform?
   19· · · · A· · Because we finished the election and the
   20· ·Governor and Secretary of State and others came out
   21· ·and said what a fantastic election we had run.· As a
   22· ·matter of fact, I think the Governor said we should
   23· ·be a model for the country, and then turned right
   24· ·around and all of a sudden we need election reform.
   25· · · · Q· · Is it fair to say that from your


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   ·1· ·perspective, that nothing occurred in 2020 during
   ·2· ·those elections that prompted a need for election
   ·3· ·reform?
   ·4· · · · A· · That's up to the Legislature, it's not up
   ·5· ·to me.
   ·6· · · · Q· · You also said -- I think in the
   ·7· ·second-to-the-last sentence, you said, [As read]:
   ·8· ·"Throughout the legislative process, legislators who
   ·9· ·supported and opposed the bill commented on our
   10· ·performance in 2020 over and over."
   11· · · · · · ·In any of those comments, did you hear
   12· ·from legislators that there had been problems in the
   13· ·2020 election?
   14· · · · A· · It actually says commended our
   15· ·performance, not commented on it.· And there were
   16· ·several of them during committee sessions that
   17· ·talked about what a great job we did, what a great
   18· ·election we had.
   19· · · · Q· · Did any of them -- did you hear any of
   20· ·them raise any concerns about problems that had
   21· ·arisen in 2020?
   22· · · · A· · No, I didn't.
   23· · · · Q· · What about from any other Florida-elected
   24· ·official?
   25· · · · A· · Not that I am aware of.


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   ·1· · · · Q· · Did you hear from any legislator that
   ·2· ·SB 90 was needed to address any issues with the 2020
   ·3· ·elections?
   ·4· · · · A· · I did not.
   ·5· · · · Q· · And same for any other Florida-elected
   ·6· ·officials?
   ·7· · · · A· · I can't answer for others.
   ·8· · · · Q· · I am sorry, did you hear from any other --
   ·9· · · · A· · I did not.
   10· · · · Q· · -- elected officials?
   11· · · · · · ·We might come back to this exhibit, but we
   12· ·can move on for now.· I will ask my colleague to put
   13· ·in the chat what we have labeled internally as
   14· ·Exhibit B, and we'll mark that as Exhibit 3 to the
   15· ·deposition.
   16· · · · · · ·(Exhibit 3 was marked for identification.)
   17· ·BY MS. MADDURI:
   18· · · · Q· · Supervisor, let me know when you have been
   19· ·able to pull that up.
   20· · · · A· · I am working on it.
   21· · · · Q· · Please take your time.· I appreciate you
   22· ·accommodating us with this electronic procedure.
   23· · · · A· · I believe I have.· Is that about opposing
   24· ·the controversial voting bill?
   25· · · · Q· · Correct.· It's a news article.· So this is


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   ·1· ·an article that's dated April 21st, 2021, and do you
   ·2· ·recall giving an interview or commenting for this
   ·3· ·article?
   ·4· · · · A· · I don't recall at this time.· I mean, my
   ·5· ·name is in there, so obviously I said something.
   ·6· · · · Q· · If you scroll to page 3, I believe you're
   ·7· ·quoted saying, "To me, this bill doesn't make any
   ·8· ·sense.· Why would you try to make it harder on the
   ·9· ·voter?"
   10· · · · A· · I don't have a page 3.
   11· · · · Q· · Okay.· It is -- it's page 3 of the PDF,
   12· ·and it's the page that starts -- the first full
   13· ·sentence on the page is, "The president of the
   14· ·Florida Supervisors of Elections ..."
   15· · · · A· · I got it.· I have it now.· Thanks.
   16· · · · Q· · Okay.· Apologies for the format.· So on
   17· ·that page it's quoting you saying, "To me, this bill
   18· ·doesn't make any sense, why would you try to make it
   19· ·harder on the voter?"
   20· · · · · · ·Do you still agree with that statement?
   21· · · · A· · I think I spoke to that talking about how
   22· ·the voter was going to have to provide additional
   23· ·information on a request for vote by mail, and plus,
   24· ·they are going to have to reup that request every
   25· ·election cycle.


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   ·1· · · · Q· · Okay.· It's in reference to that
   ·2· ·provision.· Do you still agree with this statement?
   ·3· · · · A· · I do.
   ·4· · · · Q· · So a little bit farther down on that same
   ·5· ·page, kind of a little -- about halfway, the article
   ·6· ·quotes you as saying, "I haven't seen any fraud, and
   ·7· ·I haven't heard one of the legislators cite a
   ·8· ·specific instance of fraud as they debated the
   ·9· ·bill."
   10· · · · · · ·Do you still agree that you haven't seen
   11· ·any fraud?
   12· · · · A· · I am trying to find the statement there.
   13· ·I don't see it.· Can you read it to me again?
   14· · · · Q· · Sure.· It's about halfway down that page,
   15· ·a little bit more than halfway down that page.
   16· · · · A· · I got it now.· I haven't seen any fraud, I
   17· ·haven't heard one of the legislators cite a specific
   18· ·incident of fraud as they debated the bill, correct?
   19· · · · Q· · Correct.
   20· · · · A· · Yes.
   21· · · · Q· · And then at the bottom of that page, it's
   22· ·the last few words on this page, it says, "To me,
   23· ·this bill in no way, shape or form can do anything
   24· ·to curb any voter fraud that may be occurring."
   25· · · · · · ·And that's on both pages 3 and the next


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   ·1· ·page.· Do you see that?
   ·2· · · · A· · I do.
   ·3· · · · Q· · Do you still agree with that statement?
   ·4· · · · A· · I think you need to read the whole
   ·5· ·statement.· If you are going to vote in person,
   ·6· ·there is somebody watching you give us that
   ·7· ·signature, so to me, this bill in no way, shape or
   ·8· ·form can do anything to curb voter fraud that may be
   ·9· ·occurring.
   10· · · · Q· · Do you agree with the full statement?
   11· · · · A· · I do.
   12· · · · Q· · I didn't mean to take it out of context at
   13· ·all.
   14· · · · A· · I do.
   15· · · · Q· · I would like to shift and talk about drop
   16· ·boxes now.· I think you confirmed this, but is it
   17· ·the case that more Hillsborough residents voted by
   18· ·mail in 2020 than in previous elections, is that
   19· ·right?
   20· · · · A· · That is correct.
   21· · · · Q· · Do you know if you received many first
   22· ·time vote-by-mail requests in 2020?
   23· · · · A· · If we received first time requests for
   24· ·vote by mail?
   25· · · · Q· · So for example, people who hadn't


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   ·1· ·previously voted by mail.
   ·2· · · · A· · I would say so, just by the number of
   ·3· ·requests that we had.
   ·4· · · · Q· · Has voting by mail generally increased in
   ·5· ·Hillsborough in recent years?· And I mean, I know
   ·6· ·COVID obviously played a specific role that you
   ·7· ·already discussed, but even aside from that, in your
   ·8· ·time as supervisor, have you seen vote by mail
   ·9· ·become used more increasingly often?
   10· · · · A· · Generally over the years, a third of our
   11· ·voters vote by mail, a third early vote and a third
   12· ·vote on election day.· Obviously with COVID in 2020,
   13· ·that changed the dynamics a little bit.· We usually
   14· ·averaged between 65 to 70 percent of our voters vote
   15· ·prior to election day, and in the 2020 election,
   16· ·85 percent of our voters voted prior to election
   17· ·day.
   18· · · · Q· · Did a significant portion of Hillsborough
   19· ·residents use drop boxes in the 2020 election?
   20· · · · A· · I am sorry, could you say that again.
   21· · · · Q· · Did a significant portion of Hillsborough
   22· ·residents use drop boxes to vote in 2020?
   23· · · · A· · Yes, we had a good amount that used the
   24· ·drop boxes.
   25· · · · Q· · Do you have a sense of roughly how many


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   ·1· ·voters that was?
   ·2· · · · A· · It was about 45 percent of the returned
   ·3· ·vote-by-mail ballots, so we had 337,800 returns, so
   ·4· ·45 percent of that.
   ·5· · · · Q· · How, if you have a view on this, did the
   ·6· ·use of voting by mail potentially affect wait times
   ·7· ·for voting in person?
   ·8· · · · A· · I don't have a sense of that.
   ·9· · · · Q· · Did the heavier use of voting by mail and
   10· ·using drop boxes cause any issues for you or your
   11· ·office?
   12· · · · A· · No, it did not.
   13· · · · Q· · You believe voting by mail is a secure
   14· ·method of voting in your county?
   15· · · · A· · I am sorry, is it a what method?
   16· · · · Q· · A secure method of voting.
   17· · · · A· · Absolutely.
   18· · · · Q· · Can you tell me a little bit about why you
   19· ·think it's a secure method of voting?
   20· · · · A· · As I stated previously, to get a vote by
   21· ·mail ballot, you first off have to be a registered
   22· ·voter.· When you register to vote, you are supplying
   23· ·identification and information that the State is
   24· ·able to make a match to verify you are who you say
   25· ·you are.· You then have to request that ballot.· We


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   ·1· ·don't just send ballots out.
   ·2· · · · · · ·When we get that ballot back, you had to
   ·3· ·have signed the oath on the outside of the envelope,
   ·4· ·and we physically compare that signature to the
   ·5· ·signatures that we have on file.
   ·6· · · · Q· · Do you believe that voting by mail is a
   ·7· ·secure method in Florida, more broadly outside of
   ·8· ·Hillsborough?
   ·9· · · · A· · We all follow the exact same laws and
   10· ·administrative rules, so I would say it would be
   11· ·safe and secure.
   12· · · · Q· · Are you aware of any widespread fraud in
   13· ·Hillsborough County related to elections?
   14· · · · A· · I'm not.
   15· · · · Q· · What about in Florida?
   16· · · · A· · Couldn't answer that.
   17· · · · Q· · Are you familiar with any confirmed
   18· ·incidents of voter fraud in Hillsborough?
   19· · · · A· · We have several cases that we have
   20· ·referred to law enforcement.· I don't have a
   21· ·follow-up status on those.
   22· · · · Q· · Okay.· I think you already said this, but
   23· ·I want to make sure we got it on the record clearly.
   24· ·Are you familiar with any incidents of fraud in
   25· ·Hillsborough related to drop boxes?


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   ·1· · · · A· · No, I am not.· No.
   ·2· · · · Q· · We'll come back to drop boxes.· I want to
   ·3· ·ask you about SB 90 now and the passage of it.· Did
   ·4· ·you generally follow the introduction of SB 90 and
   ·5· ·its counterpart as it was introduced and made its
   ·6· ·way through the Legislature?
   ·7· · · · A· · What was the question in there?· I am
   ·8· ·sorry.
   ·9· · · · Q· · Did you follow the process and the bill as
   10· ·it went through the Legislature?
   11· · · · A· · Yes.
   12· · · · Q· · Did you have any thoughts about SB 90 when
   13· ·it was released?
   14· · · · A· · We had several discussions.· I don't
   15· ·remember the -- I think the House bill was
   16· ·actually -- was the House bill first released or
   17· ·SB 90?
   18· · · · Q· · I think HB 7041 might have been released
   19· ·first.
   20· · · · A· · We had discussion with our legislative
   21· ·affairs committee and with our lobbyist, Dave Ramba,
   22· ·along with our executive director, Ron LaBasky.· So,
   23· ·yeah, we had a lot of discussion following it.
   24· · · · Q· · When it was first introduced, did you have
   25· ·any concerns -- I should say when I am saying SB 90,


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   ·1· ·I do intend -- I mean to refer to both of the bills
   ·2· ·HB 7041 and SB 90 and the various iterations as it
   ·3· ·went.
   ·4· · · · · · ·Did you have any concerns when it was
   ·5· ·first released?
   ·6· · · · A· · I don't remember the exact first release
   ·7· ·of the bill, what it called for.
   ·8· · · · Q· · Did you take any positions on -- any
   ·9· ·public positions on SB 90 while it was being
   10· ·considered in the Legislature?
   11· · · · A· · The association did, yes.
   12· · · · Q· · What was that position?
   13· · · · A· · At the time we put it out, this was
   14· ·obviously before it was finalized, we were opposed
   15· ·to both forms of the House bill and the Senate bill
   16· ·as they stood.
   17· · · · Q· · I think I know what you are referring to.
   18· ·I'll pull up an exhibit.· We've internally marked
   19· ·this as Exhibit E.· And we'll put it in the chat.
   20· · · · · · ·(Exhibit 4 was marked for identification.)
   21· · · · A· · Yes, I am looking at it.
   22· ·BY MS. MADDURI:
   23· · · · Q· · Is this the statement that you are
   24· ·referring to?
   25· · · · A· · Yes.· This was put out on the -- as the


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   ·1· ·Florida Supervisors of Elections, as the
   ·2· ·association.
   ·3· · · · Q· · Were you involved in preparing that?
   ·4· · · · A· · Yes.
   ·5· · · · Q· · Did the FSE put out any other statements
   ·6· ·after this one about the bill?
   ·7· · · · A· · I don't recall.
   ·8· · · · Q· · At this time -- I think it was about a
   ·9· ·week before the bill was actually passed -- why was
   10· ·this the position of the FSE?
   11· · · · A· · Because there is some onerous parts in
   12· ·this, as the legislation was leading up.· I think --
   13· ·as a matter of fact, correct me if I am wrong, but I
   14· ·think this went all the way to the last day.· On the
   15· ·last day, they filed a strike-all bill in the
   16· ·Senate, with a whole new set of circumstances in it.
   17· ·So the way it was, I don't recall at the time what
   18· ·some of the issues were.· We would have to go back
   19· ·and look at the bill.
   20· · · · Q· · Okay.· I would like to go back to look at
   21· ·I think what we marked as Exhibit 2.· In the chat it
   22· ·would be the one that says Exhibit A, which is your
   23· ·April 30th statement.
   24· · · · A· · Got it.
   25· · · · Q· · Okay.· I think one of the other attorneys


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   ·1· ·already asked you about there was a sentence that
   ·2· ·described -- in the second paragraph, the first
   ·3· ·sentence, "During this legislative session,
   ·4· ·supervisors of elections spent hours talking to
   ·5· ·legislators about how the proposed legislation would
   ·6· ·impact voters."
   ·7· · · · · · ·And I think you already said that you
   ·8· ·didn't personally speak with many legislators,
   ·9· ·correct?
   10· · · · A· · That is correct.
   11· · · · Q· · Do you know what exactly this is referring
   12· ·to when it says that the proposed legislation would
   13· ·impact voters and how it would impact voters?
   14· · · · A· · I think this goes back to what I continue
   15· ·to say, that the first iterations of this bill had
   16· ·some extremely onerous steps in it.· One of them was
   17· ·to if you want to bring your spouse's ballot, you
   18· ·are going to have to have an affidavit signed, an
   19· ·attestation that you have permission to have that
   20· ·ballot.· And in addition, it was going to wipe out
   21· ·all of the requests for vote by mail that were on
   22· ·file at the time.
   23· · · · · · ·So it was a compilation of numerous things
   24· ·throughout the session that we were continuing to
   25· ·try and impact.


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   ·1· · · · Q· · Do you have any understanding of why those
   ·2· ·changes were made?
   ·3· · · · A· · I do not.
   ·4· · · · Q· · The FSE never issued a statement in
   ·5· ·support of SB 90, did it?
   ·6· · · · A· · Did not.
   ·7· · · · Q· · And then if you scroll down to the third
   ·8· ·full paragraph, the last sentence there I believe
   ·9· ·referring to the enacted legislation, it says,
   10· ·"However, this legislation still makes requesting
   11· ·vote-by-mail ballots and returning those ballots
   12· ·harder."
   13· · · · A· · Yes.
   14· · · · Q· · Is that still your view?
   15· · · · A· · It is.
   16· · · · Q· · And in what ways does the legislation make
   17· ·it harder to request the vote-by-mail ballot and
   18· ·harder to return that ballot?
   19· · · · A· · The request for vote by mail obviously is
   20· ·by adding the driver's license for identification or
   21· ·last four of Social when you've already got somebody
   22· ·that's been verified by the State has furnished that
   23· ·information before; in addition, it makes it harder
   24· ·because it starts to limit the hours that you can
   25· ·have drop boxes available to just the early voting


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   ·1· ·hours instead of outside those hours, which some
   ·2· ·other counties were doing.· I didn't do it in
   ·3· ·Hillsborough County, but other counties did.
   ·4· · · · Q· · So you understand the SB 90 might be
   ·5· ·limiting the hours the drop boxes are available in
   ·6· ·other counties, is that right?
   ·7· · · · A· · It would make returning ballots harder in
   ·8· ·some cases.
   ·9· · · · Q· · Okay.· I think we are done with this
   10· ·exhibit, and I want to direct you back to the
   11· ·exhibit that one of the other attorneys showed you,
   12· ·which is the three talking points document.· It's
   13· ·Exhibit 1, and it's the first document that's in the
   14· ·chat there.
   15· · · · A· · Hang on.· It's not letting me pull it up,
   16· ·but I have it here.· The three talking points, 2021
   17· ·legislation?
   18· · · · Q· · Yes, that's right.
   19· · · · A· · Okay.
   20· · · · Q· · So the second -- I guess the second
   21· ·talking point or the second full paragraph there, it
   22· ·says, "Let's not lose sight of the fact that we
   23· ·already have strong laws and that enabled us to run
   24· ·our 2020 election with accessibility and integrity."
   25· ·Do you see that?


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   ·1· · · · A· · I do.
   ·2· · · · Q· · Do you agree with that statement?
   ·3· · · · A· · I do.
   ·4· · · · Q· · And then I think the final talking point
   ·5· ·there, it says, "The legislation that passed makes
   ·6· ·it harder to request and return vote-by-mail
   ·7· ·ballots," and then it appears to list a few ways in
   ·8· ·which -- in which -- a few ways in which the
   ·9· ·legislation makes it harder to request.
   10· · · · · · ·Do you agree that the legislation makes it
   11· ·harder to request and return a vote-by-mail ballot
   12· ·by prohibiting the use of secure 24-hour drop boxes
   13· ·with camera surveillance?
   14· · · · A· · It puts an undue burden on the supervisor
   15· ·of elections that has to fund that if they are going
   16· ·to have to have somebody there in person.
   17· · · · · · ·MR. DAINES:· I object to the form of the
   18· · · · previous question.
   19· ·BY MS. MADDURI:
   20· · · · Q· · I got distracted.· Would you mind saying
   21· ·your answer again.· I can repeat the question.
   22· · · · A· · Go ahead and repeat the question.
   23· · · · Q· · Do you agree that the legislation makes it
   24· ·harder to request and return vote-by-mail ballots by
   25· ·prohibiting the use of the secure 24-hour drop boxes


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   ·1· ·with camera surveillance?
   ·2· · · · · · ·MR. DAINES:· Same objection.
   ·3· · · · · · ·MR. TODD:· Could you have the witness
   ·4· · · · (sic) read back the answer instead of having
   ·5· · · · him give a different answer to the same
   ·6· · · · question, please, addressed to Ms. Madduri.
   ·7· · · · · · ·MS. MADDURI:· Ms. Nargiz, would you mind
   ·8· · · · reading that back?
   ·9· · · · · · ·THE STENOGRAPHER:· Sure.
   10· · · · · · ·(Requested portion was read.)
   11· · · · · · ·MR. TODD:· I request to read back the
   12· · · · initial answer given to the question in lieu of
   13· · · · having him answer the same question again.
   14· · · · · · ·THE STENOGRAPHER:· I'm sorry, I thought
   15· · · · that was the last answer that I read back.
   16· · · · · · ·MS. MADDURI:· Yeah, I am good with
   17· · · · understanding that.· We can move on.· Can you
   18· · · · pull up -- I think we are done with this
   19· · · · exhibit, we can move on.· The next one, we've
   20· · · · labeled it internally as Exhibit G.
   21· · · · · · ·THE WITNESS:· Okay.
   22· · · · · · ·(Exhibit 5 was marked for identification.)
   23· ·BY MS. MADDURI:
   24· · · · Q· · Have you seen this document before?
   25· · · · A· · I have.


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   ·1· · · · Q· · Did you help prepare it?
   ·2· · · · A· · I did.
   ·3· · · · Q· · What is it?
   ·4· · · · A· · It was more talking points.
   ·5· · · · Q· · Okay.· In paragraph 2 it says, "Do we look
   ·6· ·for ways to improve?· Of course.· But sweeping
   ·7· ·election reform was not needed or requested by the
   ·8· ·Supervisors of Elections."
   ·9· · · · · · ·Do you agree with that statement that
   10· ·sweeping election reform was not needed in Florida
   11· ·this year?
   12· · · · A· · I do.
   13· · · · Q· · And do you agree that the supervisors did
   14· ·not request any sweeping election reform?
   15· · · · A· · I do.
   16· · · · Q· · The next sentence in that same paragraph
   17· ·says, "And making a lot of changes all at once has
   18· ·the potential to create voter confusion, more
   19· ·cumbersome administration and bureaucracy and worst
   20· ·of all an erosion in the voters' confidence we've
   21· ·worked so hard to earn."
   22· · · · · · ·Do you agree that making a lot of changes
   23· ·at once can create voter confusion?
   24· · · · A· · Yes.
   25· · · · Q· · Do you agree that it can also result in


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   ·1· ·more cumbersome administration and bureaucracy?
   ·2· · · · A· · Yes.
   ·3· · · · · · ·MR. TODD:· Object to the form.
   ·4· ·BY MS. MADDURI:
   ·5· · · · Q· · Do you also agree that making a lot of
   ·6· ·changes all at once can result in erosion of the
   ·7· ·confidence you've worked so hard to earn?
   ·8· · · · · · ·MR. DAINES:· Object to the form.
   ·9· · · · A· · Especially right after we were commended
   10· ·for running a great safe and secure election, yes.
   11· ·BY MS. MADDURI:
   12· · · · Q· · Did you hear from any voters or other
   13· ·organizations about Senate Bill 90?
   14· · · · A· · Yes.· As I mentioned before, anecdotally,
   15· ·we've had calls from voters wanting to know do I
   16· ·have to sign up for vote-by-mail again, confusion.
   17· ·Same way with some of the third-party registration
   18· ·organizations, you know, what do we have to do now,
   19· ·what's next?· And we would refer them to the state
   20· ·website.
   21· · · · Q· · Prior to the introduction of SB 90 or
   22· ·HB 7041, had you been consulted about the bills
   23· ·before they were released?
   24· · · · A· · I don't understand your question.
   25· · · · Q· · Prior to the bills actually being


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   ·1· ·introduced in the Legislature, had anyone consulted
   ·2· ·you about the bills or the proposed changes?
   ·3· · · · A· · No.
   ·4· · · · Q· · Okay.· This is about the drop boxes now
   ·5· ·and I think we covered a lot of ground here, so I
   ·6· ·don't think this will be too many questions.
   ·7· · · · · · ·So I understand you offered a 24-hour box
   ·8· ·in 2020 that was located at I think what you
   ·9· ·described as sort of your main office, is that
   10· ·right?
   11· · · · A· · Yes, at the election service center on
   12· ·Falkenburg Road.
   13· · · · Q· · And I think you also described that it was
   14· ·a slot in front of the door, is that right?
   15· · · · A· · Yes, it was built into the side of our
   16· ·door.
   17· · · · Q· · How large was the opening where you could
   18· ·put a ballot in?
   19· · · · A· · Large enough to slide a ballot in.
   20· · · · Q· · Okay.· Not much larger than how much space
   21· ·you would need for a ballot?
   22· · · · A· · Correct.· Ballot envelope, actually not
   23· ·the ballot.
   24· · · · Q· · Right.· Was that drop box available before
   25· ·early voting?


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   ·1· · · · A· · Yes.
   ·2· · · · Q· · How long before early voting was it
   ·3· ·available?
   ·4· · · · A· · We opened the boxes in the offices the day
   ·5· ·we sent out the domestics, which is 40 days before
   ·6· ·the elections.
   ·7· · · · Q· · Okay.· I think you mentioned that the box
   ·8· ·had been secured both through video surveillance and
   ·9· ·also by in-person monitoring, is that right?
   10· · · · A· · That's correct.
   11· · · · Q· · Was there any period of time where the box
   12· ·was monitored only by video surveillance?
   13· · · · A· · Not to my knowledge.
   14· · · · Q· · So for the entire 40 days, you had someone
   15· ·in person there 24 hours a day?
   16· · · · A· · I had staff there and we only -- I am
   17· ·sorry, let me clarify.· We only had the 24-hour drop
   18· ·box during early voting.
   19· · · · Q· · Okay.· And I think you said this, but is
   20· ·it right that you added the in-person monitoring
   21· ·because of a directive that you got from the
   22· ·Secretary of State?
   23· · · · A· · There was an e-mail with an opinion on it,
   24· ·yes.
   25· · · · Q· · Okay.· And you said that both law


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   ·1· ·enforcement and some of your employees monitored the
   ·2· ·box, right?
   ·3· · · · A· · Yes.
   ·4· · · · Q· · I wanted to make sure, I think I was a
   ·5· ·little confused earlier when some of the other
   ·6· ·questions were being asked.· I think in your
   ·7· ·discovery responses you had said that you -- you
   ·8· ·said you would be discontinuing that 24-hour box.
   ·9· ·Is that still your plan?
   10· · · · A· · I am sorry, I couldn't understand you.
   11· · · · Q· · I can ask you without that.· Do you plan
   12· ·to offer a 24-hour box in 2022?
   13· · · · A· · Probably not at this point.· I don't think
   14· ·that the rate of return for the number of ballots we
   15· ·got really weighs out for the money we had to spend.
   16· ·We'll revisit it again.
   17· · · · Q· · When you said the money you had to spend,
   18· ·do you mean to monitor it in person?
   19· · · · A· · Yes, to have somebody physically monitor
   20· ·it.
   21· · · · Q· · Do you have any understanding of if other
   22· ·counties plan to remove drop boxes because of the
   23· ·in-person monitoring requirement?
   24· · · · A· · I can't answer that.
   25· · · · Q· · Then you had three other boxes that were


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   ·1· ·at other office branches, correct?
   ·2· · · · A· · Correct.
   ·3· · · · Q· · Okay.· What were those physical structures
   ·4· ·like?
   ·5· · · · A· · One office is at the county center
   ·6· ·downtown on the 16th floor, the other two offices
   ·7· ·are in strip mall type structures.
   ·8· · · · Q· · So are those boxes indoors or outdoors?
   ·9· · · · A· · Indoors, except during early voting.
   10· · · · Q· · I think you mentioned that you moved them
   11· ·outside so people can drive through and drop off
   12· ·their ballots?
   13· · · · A· · Correct.
   14· · · · Q· · And what is the structure of the drop box
   15· ·when you had it outside?
   16· · · · A· · It was on a table under a pop-up tent with
   17· ·at least two people monitoring it.
   18· · · · Q· · And then you also offered, I think,
   19· ·another 22 drop boxes at your early voting sites
   20· ·that were available during early voting hours,
   21· ·right?
   22· · · · A· · Correct.
   23· · · · Q· · Were those boxes similarly structured?
   24· · · · A· · Yes.
   25· · · · Q· · And they were sealed or locked in some


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   ·1· ·way?
   ·2· · · · A· · They have a padlock on them and a seal
   ·3· ·with a recorded seal number on it.
   ·4· · · · Q· · And am I right that the slots or whatever
   ·5· ·thing you would place the ballot in is also
   ·6· ·similarly small, in that it can take a ballot in an
   ·7· ·envelope that's not much bigger than that?
   ·8· · · · A· · Yes.
   ·9· · · · Q· · Other than law enforcement that you had
   10· ·help monitor the 24-hour box, were any of the drop
   11· ·boxes monitored by someone who was not one of your
   12· ·permanent employees?
   13· · · · A· · They would have been poll workers at the
   14· ·early vote sites that we hire specifically for early
   15· ·voting time.
   16· · · · Q· · Did the boxes have any -- I understand
   17· ·from some of your discovery responses that they had
   18· ·sort of like a laminated notice on the box that
   19· ·would remind voters to sign their envelopes, is that
   20· ·right?
   21· · · · A· · That is correct.· And it would sit over
   22· ·the slot so that you would physically have to pull
   23· ·it up to put your ballot in.· But again, we had
   24· ·workers there that were verbally talking to the
   25· ·voters and making sure that they signed and dated


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   ·1· ·them and that they weren't trying to give up a
   ·2· ·ballot to go vote in person either.
   ·3· · · · Q· · I am going to pull up another exhibit
   ·4· ·here.· We've internally marked it as Exhibit K.
   ·5· · · · A· · Okay.
   ·6· · · · · · ·(Exhibit 6 was marked for identification.)
   ·7· ·BY MS. MADDURI:
   ·8· · · · Q· · Do you recognize this e-mail?
   ·9· · · · A· · I do.
   10· · · · Q· · Okay.· And it looks like it was sent to
   11· ·you on April 22nd, 2021?
   12· · · · A· · Yes.
   13· · · · Q· · I think you already said this, but Gerri
   14· ·Kramer is your chief communications officer, is that
   15· ·right?
   16· · · · A· · That is correct.
   17· · · · Q· · Okay.· So the e-mail is points of concern,
   18· ·and then the first paragraph there it says, [As
   19· ·read]:· "Limits vote-by-mail drop box early voting
   20· ·days/hours, that's a great disservice to voters,
   21· ·especially those who like to drop off on Monday or
   22· ·Tuesday, when it's too late to mail it.· They
   23· ·wouldn't be able to do -- they wouldn't be able to
   24· ·do that the way this legislation is currently
   25· ·written."


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   ·1· · · · · · ·Do you agree with that statement?
   ·2· · · · A· · I agreed with it at the time because it
   ·3· ·had just drop boxes during early voting, it didn't
   ·4· ·have any other time, I believe.
   ·5· · · · Q· · Okay.· Is it your understanding now that
   ·6· ·you can offer a drop box at other times if it's
   ·7· ·located at one of your offices?
   ·8· · · · A· · Correct.
   ·9· · · · Q· · Okay.· Is it your understanding that you
   10· ·can't offer a drop box outside of early voting hours
   11· ·at any location that is not one of your offices?
   12· · · · A· · Yes.· You can't -- you can't have it at an
   13· ·early vote site that's not open, how's that?
   14· · · · Q· · On the cost of drop boxes, do you
   15· ·anticipate any changes in your costs from what you
   16· ·had in 2020 for future elections?
   17· · · · A· · I am sorry, could you ask that again, I
   18· ·didn't quite follow it.
   19· · · · Q· · Sure.· I am going to try to be clearer.                 I
   20· ·am curious if you anticipate any increases in the
   21· ·costs of monitoring drop boxes in future elections
   22· ·as compared to 2020?
   23· · · · A· · Depending on how many early vote sites I
   24· ·have, yes, it could increase if I increase early
   25· ·vote sites.


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   ·1· · · · Q· · Sure.· And the reason I am asking is
   ·2· ·because in one of your discovery responses -- and I
   ·3· ·can pull it up if that will be easier, but your
   ·4· ·office says that you estimate the cost of operating
   ·5· ·drop boxes may change due to SB 90, as we may staff
   ·6· ·the drop boxes with three poll workers for all
   ·7· ·elections.
   ·8· · · · A· · Right, we are talking about that.
   ·9· · · · Q· · And in 2020, I think you said that you
   10· ·staffed drop boxes with two poll workers, is that
   11· ·right?
   12· · · · A· · Correct.
   13· · · · Q· · Why are you considering increasing that to
   14· ·three poll workers?
   15· · · · A· · Because of the 25,000-dollar fine, I don't
   16· ·want to put us in a position where somebody has
   17· ·moved away from the box and left it unattended.
   18· · · · Q· · Okay.· So if you decided to staff with
   19· ·three people instead of two people, naturally that
   20· ·would increase your costs of monitoring those drop
   21· ·boxes, right?
   22· · · · A· · Yes.
   23· · · · Q· · I think you already testified that your
   24· ·voters really appreciated having drop boxes as an
   25· ·option to vote, is that right?


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   ·1· · · · A· · Yes.
   ·2· · · · Q· · Do you believe that drop boxes allowed
   ·3· ·more people to vote by mail?
   ·4· · · · A· · I think it allowed people to know their
   ·5· ·ballot was going to reach our office on time.
   ·6· · · · Q· · In your view, was the requirement to have
   ·7· ·drop boxes monitored in person necessary to prevent
   ·8· ·any misconduct with drop boxes?
   ·9· · · · · · ·MR. DAINES:· Object to the form.
   10· · · · A· · I am sorry, could you restate that?
   11· ·BY MS. MADDURI:
   12· · · · Q· · Sure.· In your view, was the change to
   13· ·require in-person monitoring of drop boxes, was that
   14· ·necessary to prevent some sort of tampering with the
   15· ·drop boxes?
   16· · · · A· · I can't answer that.· You would have to
   17· ·ask the Legislature what they did that for.
   18· · · · Q· · But in your view as an administrator, did
   19· ·you believe that you -- that that change was needed?
   20· · · · · · ·MR. TODD:· Object to the form.
   21· · · · · · ·MR. DAINES:· Object to the form.
   22· · · · A· · I don't have an opinion on that, quite
   23· ·frankly.
   24· ·BY MS. MADDURI:
   25· · · · Q· · Did you -- do you think that video


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   ·1· ·surveillance of drop boxes is a sufficient way to
   ·2· ·secure drop boxes?
   ·3· · · · A· · Depending on what the drop box is.
   ·4· · · · Q· · Do you mean in terms of what the physical
   ·5· ·structure of the drop box is?
   ·6· · · · A· · Right.· For instance, a 24-hour drop box,
   ·7· ·yes, I think that video surveillance, because you've
   ·8· ·got a building and structure there that's going to
   ·9· ·keep somebody from doing any tampering.
   10· · · · · · ·Obviously when we are standing out in the
   11· ·tent, I want at least two people standing there all
   12· ·the time.· And as I mentioned earlier, the poll
   13· ·deputy is out there, also, to be able to observe.
   14· · · · Q· · And the box that you had at those sites,
   15· ·that's -- I am assuming that's not some sort of
   16· ·physical structure that's built into the ground or
   17· ·otherwise secured physically, right?
   18· · · · A· · It is not.· It's a portable box with
   19· ·handles on it.
   20· · · · Q· · Okay.· Got it.· When a voter returns their
   21· ·vote-by-mail ballot by mail, is there a number of
   22· ·days or amount of time that your office advises the
   23· ·voter to allot for that to reach you?
   24· · · · A· · Yes.· As a matter of fact, we start
   25· ·talking when it gets within the week before the


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   ·1· ·election that you are at that limit, you need to
   ·2· ·start considering just bringing it to the office.
   ·3· · · · Q· · And this is probably obvious, but when a
   ·4· ·ballot is placed in the drop box, you receive that
   ·5· ·that same day, correct?
   ·6· · · · A· · Correct.
   ·7· · · · Q· · Do you have any sense of how long it does
   ·8· ·actually take for a ballot to reach you after it's
   ·9· ·mailed or the range of days that that takes?
   10· · · · A· · You know, I looked at a lot of ballots
   11· ·that were coming in, especially the late ones; I
   12· ·wanted to see how long it was taking.· And it was
   13· ·literally taking a day in the mail if it was mailed
   14· ·locally here.· If it was out of state, it could take
   15· ·two days.
   16· · · · Q· · In your experience, are there voters who
   17· ·prefer to use drop boxes over the mail?· Have you
   18· ·encountered any voters like that?
   19· · · · A· · Anecdotally I've heard voters say that
   20· ·they enjoy dropping it at the box because they know
   21· ·it's going to get to our office that day.
   22· · · · Q· · Have you heard any other reasons that
   23· ·voters like using the drop boxes?
   24· · · · A· · I have not.
   25· · · · Q· · Are you familiar with the U.S. Postal


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   ·1· ·Service's recent announcement regarding planned
   ·2· ·delays and slowdowns in their delivery of mail?
   ·3· · · · A· · I read something in the paper about it,
   ·4· ·yes.
   ·5· · · · Q· · Do you have a sense of how much longer
   ·6· ·that might cause mail ballots -- how much longer
   ·7· ·that might increase how long it takes a mailed
   ·8· ·ballot to get to you?
   ·9· · · · A· · I couldn't answer that.
   10· · · · Q· · I would like to pull up another exhibit,
   11· ·we have it labeled as Exhibit M, M as in Mary.
   12· · · · A· · Yes.
   13· · · · · · ·(Exhibit 7 was marked for identification.)
   14· ·BY MS. MADDURI:
   15· · · · Q· · Do you recognize this document?
   16· · · · A· · I do.
   17· · · · Q· · What is it?
   18· · · · A· · This was a draft recommendation from a
   19· ·work group that I had put together to come up with
   20· ·suggestions, recommendations to the Legislature on
   21· ·drop boxes.
   22· · · · Q· · You said you were involved in preparing
   23· ·it, right?
   24· · · · A· · I was not.
   25· · · · Q· · Oh, you were not.· But you were familiar


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   ·1· ·with it?
   ·2· · · · A· · Yes.
   ·3· · · · Q· · Okay.· On page 2 of the document, there is
   ·4· ·a proposed revision in section A on that page.· And
   ·5· ·it says, "Secure drop boxes at the Supervisor's
   ·6· ·office may be available at any time for voters to
   ·7· ·place a voted vote-by-mail ballot if the secure drop
   ·8· ·box is monitored physically or electronically."
   ·9· · · · · · ·Do you see that?
   10· · · · A· · I do.
   11· · · · Q· · Is this a revision that the FSE proposed
   12· ·to the Legislature?
   13· · · · A· · This was a document that was prepared by
   14· ·the work group that I had appointed, and it was
   15· ·transmitted to our lobbyist.· I don't know if he
   16· ·presented it to the Legislature in whole or in bits
   17· ·or pieces or what.· So I couldn't answer that.
   18· · · · Q· · Okay.· Do you know if he ever proposed
   19· ·including the option to electronically monitor drop
   20· ·boxes?
   21· · · · A· · Again, this legislation changed so many
   22· ·times.· Originally, they wanted to do away with drop
   23· ·boxes, and then one of the first changes, they put
   24· ·them back, but it had to be monitored by law
   25· ·enforcement at every site.· Then it changed again.


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   ·1· ·So this was an ongoing process.
   ·2· · · · Q· · I think I am understanding that you are
   ·3· ·not sure if that specific change to allow for video
   ·4· ·surveillance was proposed?
   ·5· · · · A· · I do not know.
   ·6· · · · Q· · But is it fair to say that the FSE -- it
   ·7· ·was the position of the FSE that video surveillance
   ·8· ·was a good option for those 24-hour boxes?
   ·9· · · · A· · This was a proposal by the work group that
   10· ·went forward.
   11· · · · Q· · What do you mean when you say went
   12· ·forward?
   13· · · · A· · To the lobbyist and the legislative
   14· ·committee to work with.
   15· · · · Q· · So the working group, the FSE working
   16· ·group proposed this?
   17· · · · A· · It was an FSE work group, but it never
   18· ·went back to the association; it went straight to
   19· ·the legislative committee --
   20· · · · Q· · Okay.· And -- I am sorry, go ahead.
   21· · · · A· · And the lobbyist.
   22· · · · Q· · Okay.· And who was in the work group, the
   23· ·FSE work group?
   24· · · · A· · Supervisor Marcus from Pinellas County, I
   25· ·think Supervisor Link from Palm Beach County, and I


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   ·1· ·don't remember the other -- I can get it for you,
   ·2· ·but I just don't remember off the top of my head
   ·3· ·right now.
   ·4· · · · Q· · Sure.· Just roughly, is it like five
   ·5· ·supervisors, ten supervisors?
   ·6· · · · A· · Yeah, it was like a handful, five or six
   ·7· ·maybe.
   ·8· · · · Q· · Okay.· I am going to pull up another
   ·9· ·exhibit, we have it labeled as Exhibit N.
   10· · · · · · ·(Exhibit 8 was marked for identification.)
   11· · · · A· · Okay.
   12· ·BY MS. MADDURI:
   13· · · · Q· · So this is an e-mail.· Do you recognize
   14· ·it?
   15· · · · A· · Yes.
   16· · · · Q· · Okay.· Did you send this e-mail?
   17· · · · A· · I did.
   18· · · · Q· · The top one at least?
   19· · · · A· · Yes.
   20· · · · Q· · I want to ask you about the statement you
   21· ·made that says, "I think it is good to put in
   22· ·electronic monitoring, we can negotiate that."
   23· · · · A· · Yes.
   24· · · · Q· · What do you mean by "We can negotiate
   25· ·that"?


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   ·1· · · · A· · This is in March 11th actually, early on
   ·2· ·in the process, and I don't remember the exact
   ·3· ·context of why I said that.· I mean, there was some
   ·4· ·talk about that one of the legislators was calling a
   ·5· ·drop box actually a voting site.· So there was just
   ·6· ·conversation around that, but I don't remember the
   ·7· ·exact context of that.
   ·8· · · · Q· · So you don't remember if any related
   ·9· ·negotiations took place with this?
   10· · · · A· · I do not.
   11· · · · Q· · I think you said there might have been a
   12· ·specific legislator that wanted to define drop boxes
   13· ·as voting sites.· Do you remember who that was?
   14· · · · A· · I don't.
   15· · · · Q· · You've already testified that you didn't
   16· ·have any problems with any of your drop boxes.· To
   17· ·your knowledge, did anyone who was monitoring a drop
   18· ·box ever have to intervene or prevent any sort of
   19· ·tampering with the drop box?
   20· · · · A· · Not that I am aware of.
   21· · · · Q· · Are you aware of any problems with drop
   22· ·box tampering or drop box security in any other
   23· ·election besides 2020, besides in 2020?
   24· · · · A· · Are you talking about in Hillsborough
   25· ·County?


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   ·1· · · · Q· · In Hillsborough County.
   ·2· · · · A· · I am not aware of any.
   ·3· · · · Q· · I think you said that drop boxes have been
   ·4· ·used in Hillsborough since at least 2009, right?
   ·5· · · · A· · Correct.
   ·6· · · · Q· · Your reference to 2009, is that based on
   ·7· ·when you became involved in elections there?
   ·8· · · · A· · Yes.· And they could have been involved
   ·9· ·before, I just don't have any knowledge of it.
   10· · · · Q· · Understood.· You've discussed the
   11· ·25,000-dollar fine a few times now.· I'm just
   12· ·curious if you have any opinions on that, whether
   13· ·you think that fine is necessary and what you think
   14· ·about it.
   15· · · · A· · I don't think it was necessary.
   16· · · · Q· · I think you've already testified that you
   17· ·are planning to be very, I think, be quite strict in
   18· ·how you monitor drop boxes to make sure that you
   19· ·don't incur that fine.
   20· · · · A· · Right.
   21· · · · Q· · And I think so far you said that you might
   22· ·staff it with three people because of the fine.· Is
   23· ·there any other -- are there any other changes that
   24· ·you might make to your drop box administration
   25· ·because of the fine?


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   ·1· · · · A· · Not that I can think of at this time.
   ·2· · · · · · ·MS. MADDURI:· I am ready to move on from
   ·3· · · · drop boxes.· We have been going, I think,
   ·4· · · · almost an hour and a half.· Do you need to take
   ·5· · · · a quick break?
   ·6· · · · · · ·THE WITNESS:· I am good.
   ·7· · · · · · ·MS. MADDURI:· Everybody good?· Is the
   ·8· · · · court reporter good?· I want to make sure she
   ·9· · · · is good; she is the one doing the hardest work.
   10· · · · · · ·THE STENOGRAPHER:· I'm fine, thank you.
   11· ·BY MS. MADDURI:
   12· · · · Q· · Going to the vote-by-mail ballot request
   13· ·that we talked about today.
   14· · · · · · ·So before SB 90, is it your understanding
   15· ·that a voter could make a request for the
   16· ·vote-by-mail ballot and that would be valid for two
   17· ·general election cycles?
   18· · · · A· · Correct.
   19· · · · Q· · Did you have any problems with that
   20· ·standing request that lasted for two general
   21· ·elections?
   22· · · · A· · I did not because the voter has the option
   23· ·if they don't care to vote the vote-by-mail ballot,
   24· ·they can come vote in person.
   25· · · · Q· · Did you receive any complaints from voters


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   ·1· ·about the duration of the requests that could be for
   ·2· ·two general elections?
   ·3· · · · A· · I would go on record to tell you that
   ·4· ·probably 95 percent of the voters have no idea how
   ·5· ·many cycles it's good for.· They think once they
   ·6· ·sign up, it's good to go.
   ·7· · · · Q· · So they may even think it's lots longer
   ·8· ·than the two general election cycles?
   ·9· · · · A· · And that's one of the reasons we used to
   10· ·have the check box on the return envelope, so they
   11· ·could just check that and continue to stay updated.
   12· · · · Q· · And if you know, did a lot of your
   13· ·residents use that check box?
   14· · · · A· · Very, very much.
   15· · · · · · ·MS. MADDURI:· Let's pull up another
   16· · · · exhibit, it's Exhibit Q by our numbering.
   17· · · · · · ·(Exhibit 9 was marked for identification.)
   18· · · · · · ·MS. MADDURI:· I am sorry, Sandi, would you
   19· · · · mind telling me which exhibit we are on?
   20· · · · · · ·MR. DAINES:· By on my count, we are on
   21· · · · Exhibit 9.
   22· ·BY MS. MADDURI:
   23· · · · Q· · Supervisor Latimer, do you have that
   24· ·document up?
   25· · · · A· · I do.


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   ·1· · · · Q· · Do you recognize that document?
   ·2· · · · A· · I remember seeing this, yes.
   ·3· · · · Q· · What is it?
   ·4· · · · A· · This is some more recommendations -- and I
   ·5· ·don't remember who this came from; it was another
   ·6· ·supervisor -- and changing some of the language.· So
   ·7· ·this would have been, again, sent to the Legislative
   ·8· ·Affairs Committee and the lobbyist.
   ·9· · · · Q· · And in the second sort of paragraph there
   10· ·that says to replace line 811, the first full
   11· ·sentence says, "Vote-by-mail voters may also check a
   12· ·box on a vote-by-mail return envelope certificate to
   13· ·renew their vote-by-mail request, and if their
   14· ·ballot is accepted, no further information is
   15· ·required for the request."
   16· · · · · · ·Do you see that?
   17· · · · A· · I do.
   18· · · · Q· · So would that basically -- that proposed
   19· ·change, would that basically keep in place the
   20· ·process that you had in Hillsborough County?
   21· · · · A· · In numerous counties.
   22· · · · Q· · In numerous counties, including
   23· ·Hillsborough, I take it?
   24· · · · A· · Correct.
   25· · · · Q· · And sort of like the other proposed


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   ·1· ·changes, would this have been sent to your lobbyist,
   ·2· ·I think Mr. Ramba was his name?
   ·3· · · · A· · Correct.
   ·4· · · · Q· · Okay.· Do you know if he or anyone else
   ·5· ·presented this to the Legislature?
   ·6· · · · A· · I can't answer that.
   ·7· · · · Q· · Did you think that the check box that you
   ·8· ·had on the vote-by-mail envelope and that many other
   ·9· ·counties had as well, did you think that was a
   10· ·secure way of having voters request their
   11· ·vote-by-mail ballots?
   12· · · · A· · Yes.
   13· · · · Q· · Do you think having the ability -- let me
   14· ·try again.
   15· · · · · · ·Do you think having the vote-by-mail
   16· ·request be valid for two general election cycle has
   17· ·increased the number of voters who vote by mail?
   18· · · · · · ·MR. DAINES:· Object to the form.
   19· · · · A· · As I stated previously, most of the voters
   20· ·have no idea that they have to reup their request
   21· ·for vote by mail.
   22· ·BY MS. MADDURI:
   23· · · · Q· · So do you think this change that makes the
   24· ·vote-by-mail request ballots for only one general
   25· ·election cycle will cause confusion in voters?


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   ·1· · · · A· · I think it will, yes.
   ·2· · · · · · ·MR. TODD:· Object to the form.
   ·3· ·BY MS. MADDURI:
   ·4· · · · Q· · Is it possible that some voters won't
   ·5· ·realize that their requests are not on file until
   ·6· ·it's too late?
   ·7· · · · · · ·MR. TODD:· Object to the form.
   ·8· · · · A· · As I stated previously, one of the things
   ·9· ·we'll be doing is trying to communicate with the
   10· ·voters to let them know that they need to
   11· ·reestablish that vote-by-mail request.· So it's
   12· ·going to increase the administrative burden on our
   13· ·offices.
   14· ·BY MS. MADDURI:
   15· · · · Q· · Do you see any benefits to this change
   16· ·that limits the duration of a vote-by-mail request?
   17· · · · A· · Which change?
   18· · · · Q· · That limits the duration of a vote-by-mail
   19· ·request to one general election cycle.
   20· · · · A· · I am sorry, can you go ahead restate that?
   21· · · · Q· · Sure.· Do you see any benefits to changing
   22· ·the duration of the vote-by-mail request from two
   23· ·general elections to one general election?
   24· · · · A· · I do not.
   25· · · · Q· · When you receive a vote-by-mail request,


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   ·1· ·how does your office process it?
   ·2· · · · A· · It depends on how it's received, if it's
   ·3· ·by telephone, or in person, or online.· The request
   ·4· ·is entered into our system to show that they've got
   ·5· ·a request on file, and it integrates with our voter
   ·6· ·registration system so that we know that person is
   ·7· ·going to receive a vote-by-mail ballot.
   ·8· · · · Q· · So when you get the request, does someone
   ·9· ·in your office take that request and input the
   10· ·information into your system?
   11· · · · A· · Yes.
   12· · · · Q· · I would like to pull up what we've marked
   13· ·as Exhibit H.
   14· · · · · · ·MS. MADDURI:· And this will be Exhibit 10.
   15· · · · · · ·(Exhibit 10 was marked for
   16· · · · identification.)
   17· · · · A· · Okay.
   18· ·BY MS. MADDURI:
   19· · · · Q· · We can scroll to page 6.· I guess, do you
   20· ·recognize this document?
   21· · · · A· · Yes.
   22· · · · Q· · Were you involved in preparing the
   23· ·document?
   24· · · · A· · I was not.
   25· · · · Q· · Did you review it?


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   ·1· · · · A· · I did.· I am on it.
   ·2· · · · Q· · I would like to go to page 6.· And I think
   ·3· ·here there is a table of estimated costs around
   ·4· ·processing vote-by-mail requests.· Do you see that?
   ·5· · · · A· · I do.
   ·6· · · · Q· · Okay.· In 2016, you estimated that the --
   ·7· ·your office estimated the cost to be about $150,000
   ·8· ·to process all the requests that you received that
   ·9· ·year?
   10· · · · A· · Yes.
   11· · · · Q· · Okay.· For 2018, that was about $160,000?
   12· · · · A· · Yes.
   13· · · · Q· · And for the 2020 election, it was 313,000
   14· ·or so?
   15· · · · A· · Yes.
   16· · · · Q· · So under SB 90 -- had SB 90 been in place,
   17· ·is it fair to say that anyone who had made a request
   18· ·for a vote-by-mail ballot in 2016, who had asked for
   19· ·that request to be in place for more than just one
   20· ·election, if SB 90 had been in place, that request
   21· ·actually would have expired at the end of 2016?
   22· · · · A· · I don't agree with that.
   23· · · · Q· · If someone makes a request for
   24· ·vote-by-mail ballot prior to a general election, so
   25· ·say in October 2022, is it your understanding that


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   ·1· ·that request for a vote-by-mail ballot would then
   ·2· ·expire at the end of that year?
   ·3· · · · A· · If they requested it in 2022?
   ·4· · · · Q· · Right.
   ·5· · · · A· · So the way the law currently is, is it's
   ·6· ·good for one election cycle.· So no matter when you
   ·7· ·would request it in that year, that election cycle,
   ·8· ·it would expire after that election.
   ·9· · · · Q· · Okay.· So if I requested a ballot in
   10· ·September of 2022, it would expire following the
   11· ·general election in 2022?
   12· · · · A· · Correct.
   13· · · · Q· · Okay.· What I am trying to get at here is
   14· ·that all of these voters who requested ballots in
   15· ·2016, and that cost about $150,000 for your office
   16· ·to process, had SB 90 been in place, any requests
   17· ·that were standing requests for more than one
   18· ·election, those would have expired after the 2016
   19· ·general election, correct?
   20· · · · A· · Correct.
   21· · · · Q· · And so all of those individuals, if they
   22· ·chose to vote by mail again, would have to rerequest
   23· ·their ballot, correct?
   24· · · · · · ·MR. DAINES:· Object to the form.
   25· · · · A· · Correct.


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   ·1· ·BY MS. MADDURI:
   ·2· · · · Q· · So that would significantly increase the
   ·3· ·cost on your office to process these ballots,
   ·4· ·correct?
   ·5· · · · A· · I mentioned before that this was going to
   ·6· ·cause an administrative burden on us, cost being one
   ·7· ·of them.
   ·8· · · · Q· · Do you think that the shorter validity
   ·9· ·period affects your office's ability to plan for
   10· ·elections at all?
   11· · · · A· · No.
   12· · · · Q· · When you receive a vote-by-mail ballot
   13· ·request, how long does it typically take your office
   14· ·to process that request and send out a ballot?
   15· · · · A· · The request is processed that day.· If
   16· ·it's requested during the period when we are mailing
   17· ·out ballots, we've got two days to get the ballot
   18· ·out by law.
   19· · · · Q· · Is there a deadline by which voters have
   20· ·to request vote-by-mail ballots for an election?
   21· · · · A· · Yes.
   22· · · · Q· · What is that?
   23· · · · A· · I don't remember off the top of my head
   24· ·now; seven days, nine days.· I don't remember
   25· ·exactly.


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   ·1· · · · Q· · Some number of days shortly before the
   ·2· ·election?
   ·3· · · · A· · Right, so we've got time to get the ballot
   ·4· ·out and they've got time to mail it back basically.
   ·5· · · · Q· · In your view, is it possible that your
   ·6· ·office will receive more vote-by-mail requests
   ·7· ·closer to an election than you have in past
   ·8· ·elections?
   ·9· · · · · · ·MR. TODD:· Object to the form.
   10· · · · A· · I don't know.· You are asking two
   11· ·questions here.· Can you try that again, comparing
   12· ·to past elections or something?
   13· ·BY MS. MADDURI:
   14· · · · Q· · Sure.· I am wondering -- since you can't
   15· ·have a standing request for more than one general
   16· ·election going forward and you don't have this check
   17· ·box method that a lot of voters used in the past, I
   18· ·am wondering if you are expecting any increase in
   19· ·the volume of vote-by-mail requests that you would
   20· ·get closer to an election?
   21· · · · A· · I have no idea.
   22· · · · Q· · I know you also testified that you plan to
   23· ·expend some resources to notify voters of this
   24· ·change.· Have you made any determinations of how
   25· ·much -- how much of your budget you are going to


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   ·1· ·devote to that?
   ·2· · · · A· · Not yet.
   ·3· · · · Q· · Do you have any sense of what it might
   ·4· ·cost?
   ·5· · · · A· · Not yet.
   ·6· · · · Q· · I would like to chat with you briefly
   ·7· ·about the provision that limits how many ballots an
   ·8· ·individual can return on behalf of other voters.
   ·9· · · · · · ·I think you already testified that voters
   10· ·in Hillsborough County or individuals in
   11· ·Hillsborough County have been returning ballots
   12· ·upwards of two ballots prior to SB 90's enactment?
   13· · · · A· · Like I said, anecdotally, I have seen
   14· ·people come in with several ballots.
   15· · · · Q· · Do you have any sense of what types of
   16· ·voters were having other people return their ballots
   17· ·for them?
   18· · · · A· · I have no idea, other than myself that I
   19· ·stated about my neighbors all want to drop them off
   20· ·at my house.
   21· · · · Q· · Understood.· Does your office dispatch any
   22· ·employees to collect ballots from voters?
   23· · · · A· · Under supervised voting legislation, yes,
   24· ·where we go into the assisted living facility.
   25· · · · Q· · Other than the assisted living facilities,


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   ·1· ·does your office dispatch anyone to collect ballots
   ·2· ·from a voter who otherwise says they need help
   ·3· ·returning it?
   ·4· · · · A· · Not to my knowledge, we never have.
   ·5· · · · Q· · Is that something you are planning to do
   ·6· ·in future elections?
   ·7· · · · A· · Not at this time.
   ·8· · · · Q· · I would like to go back to what we've
   ·9· ·marked as Exhibit 6, and it's marked as Exhibit K in
   10· ·the chat.
   11· · · · A· · Okay.
   12· · · · Q· · I think right at the end of the e-mail,
   13· ·the last paragraph there, it says, "Limiting the
   14· ·possession of ballots.· That has not been an issue
   15· ·in our county.· It's a solution looking for a
   16· ·problem.· What we heard today is" -- I am sorry,
   17· ·that's actually the only part that I am asking you
   18· ·about.
   19· · · · · · ·Let me say that again.· It says, "Limiting
   20· ·the possession of ballots, that has not been an
   21· ·issue in our county.· It's a solution looking for a
   22· ·problem."
   23· · · · · · ·Do you see that?
   24· · · · A· · I do.
   25· · · · Q· · What do you understand, if you have an


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   ·1· ·understanding, of it's a solution looking for a
   ·2· ·problem to mean?
   ·3· · · · A· · Well, somebody can take 20 ballots and
   ·4· ·drop them in a blue U.S. post office mailbox and
   ·5· ·there is nobody there to monitor it and know what
   ·6· ·relation anybody is to anybody else.
   ·7· · · · Q· · Is it your view that SB 90 wouldn't do
   ·8· ·anything to address that?
   ·9· · · · A· · It would not.
   10· · · · Q· · In that same sentence it also says, "That
   11· ·has not been an issue in our county."· Do you have
   12· ·an understanding of what that means?
   13· · · · A· · We haven't had an issue with people
   14· ·bringing ballots into the office.
   15· · · · Q· · So you are not aware of any improper
   16· ·ballot collection return in Hillsborough?
   17· · · · A· · No, I am not.
   18· · · · Q· · I would like to move on and talk to you
   19· ·about the third-party voter registration
   20· ·organization.
   21· · · · · · ·Do you receive voter registrations from
   22· ·third-party organizations in your county?
   23· · · · A· · As I stated previously, yes.
   24· · · · Q· · Do you have any reference of how many you
   25· ·get every year?


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   ·1· · · · A· · I don't have that number off the top of my
   ·2· ·head.
   ·3· · · · Q· · Okay.· You have a lot of them right off
   ·4· ·the top of your head?
   ·5· · · · A· · I believe we may have answered that in
   ·6· ·interrogatories, I don't know though.
   ·7· · · · Q· · I can check that.· Do you think that the
   ·8· ·activities of third-party voter registration
   ·9· ·organizations to register voters is important for
   10· ·voters?
   11· · · · A· · I think it's certainly another avenue to
   12· ·give people an opportunity to register, yes.
   13· · · · Q· · Do you think that third-party registration
   14· ·organizations might reach voters who would otherwise
   15· ·not register to vote?
   16· · · · A· · I couldn't answer that.
   17· · · · Q· · Do you have any sense of what types of
   18· ·voters use the services of third-party voter
   19· ·registration organizations?
   20· · · · A· · I don't know.
   21· · · · Q· · I believe you testified that you receive
   22· ·some third-party voter registration organization
   23· ·forms late on occasion, is that right?
   24· · · · A· · Correct.
   25· · · · Q· · If you know, would you say that that's a


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   ·1· ·small percentage overall of the forms that you do
   ·2· ·receive from third-party voter registration
   ·3· ·organizations?
   ·4· · · · A· · I can tell you off the top of my head that
   ·5· ·since 2016 we've had 411 registrations turned in
   ·6· ·late.· As I previously stated, none of those
   ·7· ·contributed to somebody not being registered to vote
   ·8· ·and not being able to vote.· We get thousands and
   ·9· ·thousands of third-party voter registration
   10· ·organization applications.
   11· · · · Q· · I think you mentioned that you have
   12· ·received some questions or comments about the --
   13· ·about SB 90 restrictions on third-party voter
   14· ·registration organizations, is that right?
   15· · · · A· · Yes.
   16· · · · Q· · What were the substance of some of those
   17· ·comments or questions, to the best of your
   18· ·recollection?
   19· · · · A· · What are the changes, what do we have to
   20· ·do now?
   21· · · · Q· · Okay.· They are asking about how to
   22· ·comply?
   23· · · · A· · Yes.
   24· · · · Q· · I think you said that you directed them to
   25· ·the state department?


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   ·1· · · · A· · Division of Elections website, they have
   ·2· ·got an entire section on there.
   ·3· · · · Q· · Okay.· I am quite near the end of this.                 I
   ·4· ·appreciate your bearing with me and plowing through
   ·5· ·this segment.
   ·6· · · · · · ·I think you mentioned that Hillsborough
   ·7· ·County hasn't had a significant problem with lines
   ·8· ·recently, is that right?
   ·9· · · · A· · That is correct.
   10· · · · Q· · Is that -- is that the case for 2020?
   11· · · · A· · I think it's several things.· I stated
   12· ·earlier that usually upwards of 65 to 70 percent of
   13· ·our voters go prior to election day, so then I am
   14· ·distributing the election day voters cross 290
   15· ·polling sites throughout the county.· So it tends to
   16· ·move quickly, and we don't mount up lines.
   17· · · · · · ·And early vote sites, I continue to build
   18· ·every year.· I think the first year I was elected we
   19· ·had 15 early vote sites, we are up to 26 now and
   20· ·having conversation about possibly two more in areas
   21· ·that are experiencing rapid growth.· So we have got
   22· ·plenty of opportunities for people to vote.
   23· · · · Q· · Has the -- has this been the case the
   24· ·entire time you have been supervisor, you generally
   25· ·haven't experienced many lines during elections,


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   ·1· ·either during early voting or on election day?
   ·2· · · · A· · Yeah, we've had some lines on the last day
   ·3· ·of early voting, but the lines moved rapidly.· And I
   ·4· ·am not talking about a hundred people in line, I am
   ·5· ·talking about maybe 20 or 30 in line and it's moving
   ·6· ·rapidly.
   ·7· · · · Q· · Off the top of your head, can you estimate
   ·8· ·what the longest amount of time a voter in
   ·9· ·Hillsborough has waited that you've heard of to
   10· ·vote?
   11· · · · A· · I would say well under 30 minutes.
   12· · · · · · ·MS. MADDURI:· Do you mind if we take a
   13· · · · five-minute break for me to just look back over
   14· · · · my notes and see if I'm done?
   15· · · · · · ·MR. TODD:· That's fine.· Thank you.
   16· · · · · · ·Mr. Cavataro, are you next?
   17· · · · · · ·MR. CAVATARO:· Yes, I am up.
   18· · · · · · ·MR. TODD:· How much do you think you have
   19· · · · in terms of time, roughly?
   20· · · · · · ·MR. CAVATARO:· I will aim to wrap up under
   21· · · · an hour, perhaps well under, but I will give
   22· · · · myself some room and say an hour.
   23· · · · · · ·MR. TODD:· Mr. Budhu, I think you had some
   24· · · · questions?
   25· · · · · · ·MR. BUDHU:· Yeah, I will be well under an


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   ·1· · · · hour as well.
   ·2· · · · · · ·MR. TODD:· There was somebody else, but I
   ·3· · · · can't recall who it was that wanted to question
   ·4· · · · the witness.· Maybe I am incorrect.· So I guess
   ·5· · · · that's it.
   ·6· · · · · · ·(A recess took place from 2:50 p.m. to
   ·7· · · · 3:00 p.m.)
   ·8· · · · · · ·MS. MADDURI:· I am done.· I just want to
   ·9· · · · say thank you, Supervisor Latimer, for your
   10· · · · time.
   11· · · · · · ·THE WITNESS:· Thank you very much, ma'am.
   12· · · · · · · · · · CROSS EXAMINATION
   13· ·BY MR. CAVATARO:
   14· · · · Q· · Good afternoon, Supervisor Latimer.
   15· · · · A· · Good afternoon.
   16· · · · Q· · Thank you for being with us today.· My
   17· ·name is Ben Cavataro, and I represent the Florida
   18· ·conference of NAACP, Common Cause, and Disability
   19· ·Rights Florida in this case.
   20· · · · · · ·You understand, of course, you are still
   21· ·under oath?
   22· · · · A· · I do.
   23· · · · Q· · All the ground rules that Mr. Zacherl and
   24· ·Mr. Daines and Ms. Madduri went over, they still
   25· ·apply here.


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   ·1· · · · · · ·And if I say SB 90, of course, you
   ·2· ·understand it to mean Senate Bill 90 and then any of
   ·3· ·the companion bills, including House Bill 7041?
   ·4· · · · A· · I do.
   ·5· · · · Q· · We already discussed Hillsborough County
   ·6· ·and your role in the Supervisor's Office and your
   ·7· ·history of public service.· I just wanted to go over
   ·8· ·one more thing.· Hillsborough County is the fourth
   ·9· ·largest county in Florida, is that right?
   10· · · · A· · By voters.· Actually, we have a higher
   11· ·population than Palm Beach County, but Palm Beach
   12· ·County has more voters than we do.
   13· · · · Q· · So it's the third largest by population
   14· ·and the fourth largest by registered voter
   15· ·population?
   16· · · · A· · Yes, by registered voters.
   17· · · · Q· · Is it fair to say that Hillsborough is a
   18· ·diverse county in terms of ethnicity and race?
   19· · · · A· · Absolutely.
   20· · · · Q· · And is it fair to say that the number of
   21· ·registered voters in the county is also diverse by
   22· ·ethnicity and race?
   23· · · · A· · Yes.
   24· · · · Q· · And is it fair to say that the
   25· ·Hillsborough County voter base, the voter group is


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   ·1· ·diverse in terms of people with disabilities?
   ·2· · · · A· · Yes.
   ·3· · · · Q· · Great.· And only because I don't think we
   ·4· ·covered it earlier, how long is each term as a
   ·5· ·county supervisor of elections?
   ·6· · · · A· · Four years.
   ·7· · · · Q· · And because you were elected in 2020,
   ·8· ·would that make your current term extend out to
   ·9· ·January of 2025?
   10· · · · A· · That is correct.
   11· · · · Q· · You testified earlier about the role of
   12· ·your office in voter education.· Do you consider
   13· ·increasing voter turnout to be a goal of your
   14· ·office?
   15· · · · A· · We certainly -- my goal is that we have
   16· ·everyone that's eligible to be registered to vote
   17· ·is, in fact, registered and all the registered
   18· ·voters have an opportunity to cast that ballot.
   19· · · · Q· · I want to talk a little bit about FSE, the
   20· ·Florida Supervisors of Election Association.· You
   21· ·testified earlier that it was a bipartisan group.
   22· ·Would it also be fair to call it nonpartisan?
   23· · · · A· · Yes.
   24· · · · Q· · If I pause, it's because I am trying to
   25· ·spare you repeated questions.


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   ·1· · · · A· · That's fine.
   ·2· · · · Q· · As a general matter, do you think it's
   ·3· ·important that voters have multiple options in terms
   ·4· ·of the method to cast their ballot?
   ·5· · · · A· · Absolutely.
   ·6· · · · Q· · Why is that?
   ·7· · · · A· · Well, I think the simple explanation is
   ·8· ·that some people might not have transportation, so
   ·9· ·they can vote by mail; some people have
   10· ·transportation but have different work hours and
   11· ·they have the opportunity to early vote; and then,
   12· ·of course, election day, which I always say is the
   13· ·last day to vote, not the first day, for people that
   14· ·want to vote on election day.
   15· · · · · · ·And I want all three methods of voting and
   16· ·people across those three methods of voting because
   17· ·I don't want lines.
   18· · · · Q· · Thank you.· We discussed earlier about
   19· ·vote-by-mail security and the different measures
   20· ·that have been taken.· Would you agree -- strike
   21· ·that.
   22· · · · · · ·Is it fair to say that there is layered
   23· ·security for vote by mail and that security doesn't
   24· ·rely on any one thing?
   25· · · · A· · You have to be a little bit more specific


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   ·1· ·on that one.
   ·2· · · · Q· · Would you agree that for vote-by-mail
   ·3· ·ballots, there is many different security methods,
   ·4· ·not just one?
   ·5· · · · A· · I think what I stated previously was that
   ·6· ·to even get a vote-by-mail ballot, you first have to
   ·7· ·be a registered voter.· To be a registered voter,
   ·8· ·you have to supply a driver's license number,
   ·9· ·Florida ID, last four Social so the state can make a
   10· ·match on your information.· Then you can become a
   11· ·voter, then you can request a vote-by-mail ballot.
   12· · · · · · ·You have to request that ballot, we send
   13· ·it to you.· When you send it back, you also have to
   14· ·sign the oath on the back of the envelope, and then
   15· ·that signature is physically compared with the
   16· ·signatures we have on file.
   17· · · · Q· · So the signature match and the voter
   18· ·registration match are both security measures that
   19· ·pertain to vote by mail?
   20· · · · A· · Yes.
   21· · · · Q· · Is the secrecy envelope considered a
   22· ·security measure as well?
   23· · · · A· · I don't think so.· I think it's -- I know
   24· ·it's helpful to us when we are going through the
   25· ·ballot process so we are able to maintain the


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   ·1· ·sanctity of the ballot; we don't know who you voted
   ·2· ·for.· So yeah, I don't know that I would call it a
   ·3· ·total security feature.
   ·4· · · · Q· · Is it right that you testified earlier
   ·5· ·that vote-by-mail ballots can't be forwarded?
   ·6· · · · A· · That is correct.
   ·7· · · · Q· · Do you consider that to be a safety
   ·8· ·feature, or a security feature, rather?
   ·9· · · · A· · Yes.
   10· · · · Q· · Thank you.· I want to turn a bit to the
   11· ·legislative process leading up to the enactment of
   12· ·Senate Bill 90.
   13· · · · · · ·Am I correct that earlier you testified
   14· ·that there were others involved in speaking to the
   15· ·state legislature about SB 90 other than the
   16· ·supervisors?
   17· · · · A· · Yes.
   18· · · · Q· · And who were those people, if you can
   19· ·recall?
   20· · · · A· · I can't give you a name right off the bat.
   21· ·I remember I watched several of the committee
   22· ·meetings and there were people there from various
   23· ·organizations that spoke to the legislators, too.
   24· · · · Q· · Do you know if a group called the Heritage
   25· ·Foundation or Heritage Action for America was


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   ·1· ·involved?
   ·2· · · · · · ·MR. DAINES:· Object to the form.
   ·3· · · · A· · I have no direct knowledge of that.
   ·4· ·BY MR. CAVATARO:
   ·5· · · · Q· · Thank you.· Prior to SB 90, prior to 2021,
   ·6· ·in fact, did you monitor any election-related
   ·7· ·legislation that was pending in the state
   ·8· ·legislature?
   ·9· · · · A· · Prior to 2021?
   10· · · · Q· · Prior to 2021.
   11· · · · A· · No.
   12· · · · Q· · You testified earlier that Senate Bill 90
   13· ·was changed many times throughout the legislative
   14· ·process, is that correct?
   15· · · · A· · Yes.
   16· · · · Q· · Is it correct that there was a strike-all
   17· ·amendment or multiple strike-all amendments during
   18· ·the consideration of the bill?
   19· · · · A· · As I remember it, yes.
   20· · · · Q· · Would you consider Senate Bill 90 to have
   21· ·been rushed through the legislative process?
   22· · · · A· · I couldn't answer that.
   23· · · · Q· · Is it fair to say that most of the
   24· ·provisions of Senate Bill 90 were not in response to
   25· ·requests from supervisors of elections?


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   ·1· · · · · · ·MR. DAINES:· Object to the form.
   ·2· · · · A· · That is fair to say.
   ·3· ·BY MR. CAVATARO:
   ·4· · · · Q· · Could you repeat the answer?
   ·5· · · · A· · That is fair to say.
   ·6· · · · Q· · Thank you.· I would like to call up an
   ·7· ·exhibit, if you will bear with me.
   ·8· · · · · · ·MR. CAVATARO:· My internet is not quite
   ·9· · · · cooperating.· We'll just speak to it.
   10· ·BY MR. CAVATARO:
   11· · · · Q· · You testified earlier that you didn't
   12· ·speak directly to the members of the legislature
   13· ·regarding Senate Bill 90, is that right?
   14· · · · A· · I had conversation with several
   15· ·legislators.· I didn't go to Tallahassee.· There was
   16· ·some phone calls.
   17· · · · Q· · Who were the members of the FSE who were
   18· ·most directly involved in talking to the members of
   19· ·the legislature?
   20· · · · A· · Alan Hays, Lake County supervisor, he
   21· ·actually testified before a committee.· Mark Earley,
   22· ·I believe did, too.· And I don't remember who else
   23· ·at this point.· I know several of the FSE members
   24· ·talked to their local delegations over a period.
   25· · · · Q· · Would you say that the legislative process


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   ·1· ·leading up to the final bill took place over a very
   ·2· ·compressed time period?
   ·3· · · · A· · I wouldn't know how to compare that.
   ·4· · · · Q· · I would like to talk very briefly about
   ·5· ·drop boxes, trying to avoid redundancy to what you
   ·6· ·discussed with Ms. Madurri, but you will forgive me
   ·7· ·if there is some overlap.
   ·8· · · · · · ·Do outdoor drop boxes, in your opinion,
   ·9· ·offer any advantages over indoor drop boxes?
   10· · · · A· · As I stated, we actually moved them
   11· ·outdoors as a safety precaution during COVID.· So
   12· ·that was the motivation.· I know in our Falkenburg
   13· ·Road office, we would literally have hundreds and
   14· ·hundreds of people a day that would come in here to
   15· ·drop off their ballots, so we moved all that
   16· ·outside.
   17· · · · Q· · So is it the case that public health would
   18· ·be one advantage of outdoor versus indoor drop
   19· ·boxes?
   20· · · · A· · That was exactly why we did this.· But
   21· ·then the feedback from the voters was great about I
   22· ·just drove right up there and was able to drop it
   23· ·off.
   24· · · · Q· · Are drop boxes more important to some
   25· ·voters than others?


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   ·1· · · · A· · I think so.
   ·2· · · · Q· · And for which voters would drop boxes be
   ·3· ·most valuable or useful?
   ·4· · · · A· · As I said before, people would remark to
   ·5· ·me, I know it's getting to your office today, I am
   ·6· ·going to put it in the drop box.
   ·7· · · · Q· · And based on your discussions with the
   ·8· ·other supervisors, are drop boxes more important to
   ·9· ·some counties than to other counties?
   10· · · · A· · I can't answer that.
   11· · · · Q· · Is Hillsborough County, as a large county,
   12· ·differently situated from some smaller counties in
   13· ·terms of election administration?
   14· · · · A· · You have to be more specific.
   15· · · · Q· · Is it more challenging to administer an
   16· ·election in a large county than to a small county?
   17· · · · A· · I don't think so.· Every county has to do
   18· ·the same thing, and it doesn't matter how big you
   19· ·are, you got to do vote by mail, you got to do early
   20· ·vote, you got to do election day.· And we are all
   21· ·bound by the same statutes.· The difference is in
   22· ·the economy of scale, how many employees you have
   23· ·doing it.
   24· · · · Q· · Turning to the -- on drilling down a
   25· ·little deeper on the drop boxes, you testified


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   ·1· ·earlier, I think, there were 26 drop boxes at the
   ·2· ·early voting sites and then four office drop boxes
   ·3· ·after early voting hours, is that correct?
   ·4· · · · A· · Correct.
   ·5· · · · Q· · And then of the drop boxes at the early
   ·6· ·voting sites, were those drive-up drop boxes?
   ·7· · · · A· · Yes, we had them outside in drive-up areas
   ·8· ·as long as weather was permitting, obviously
   ·9· ·watching lightening.· And we have storms and in
   10· ·August and even into November.
   11· · · · Q· · So those drop boxes were contact free?
   12· · · · A· · Yes.
   13· · · · Q· · And again, was that for public health
   14· ·reasons?
   15· · · · A· · Yes.
   16· · · · Q· · Did voters -- did any voter remark to you
   17· ·on contact-free voting and whether they favored or
   18· ·disfavored it?
   19· · · · A· · Not in those terms; the anecdotal examples
   20· ·I gave where people just talked about how easy it
   21· ·was to drive up and didn't even have to get out of
   22· ·their car.
   23· · · · Q· · Got it.· Bear with me one second.· I want
   24· ·to talk about 24-hour drop boxes which have been
   25· ·touched on before.· Are there advantages to 24-hour


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   ·1· ·drop boxes versus drop boxes with more limited
   ·2· ·hours?
   ·3· · · · A· · I think for certain voters that may
   ·4· ·have -- they work 12-hour shifts, which would be the
   ·5· ·same as early voting and office hours, so they would
   ·6· ·have the opportunity to drop them outside of regular
   ·7· ·business hours.
   ·8· · · · Q· · Are there any other groups of voters for
   ·9· ·whom 24-hour drop boxes would be especially
   10· ·important?
   11· · · · A· · Insomniacs.· I don't know.
   12· · · · Q· · Would you say voters with childcare
   13· ·responsibilities might find 24-hour drop boxes more
   14· ·useful than voters without such responsibilities?
   15· · · · A· · I would say anybody that --
   16· · · · · · ·MR. DAINES:· Object to form.· Sorry, sir,
   17· · · · go ahead.
   18· · · · A· · I would say that anybody who's not able to
   19· ·hit a drop box during the early voting hours outside
   20· ·of that it would be beneficial to them.
   21· ·BY MR. CAVATARO:
   22· · · · Q· · Is it important, in your opinion, to
   23· ·provide voters with a drop box to accept
   24· ·vote-by-mail ballots prior to the beginning of the
   25· ·early voting period?


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   ·1· · · · A· · Yes, and we do.
   ·2· · · · Q· · Why is that important?
   ·3· · · · A· · Well, we send the ballots out 40 days
   ·4· ·before the election, and people are literally
   ·5· ·bringing them back the next day or two.
   ·6· · · · Q· · Does SB 90, in your understanding, allow
   ·7· ·supervisors to accept grant monies to fund
   ·8· ·election-related activities?
   ·9· · · · A· · It does not anymore.
   10· · · · Q· · Does SB 90, in your understanding, bar
   11· ·supervisors from accepting grants of any kind?
   12· · · · A· · I am sorry, accepting what?
   13· · · · Q· · Accepting grants of any kind.
   14· · · · A· · Directly related to conducting the
   15· ·election.
   16· · · · Q· · And that would include drop boxes,
   17· ·correct?
   18· · · · A· · Speculation, I don't know.
   19· · · · Q· · You testified earlier that the
   20· ·Hillsborough County Supervisor's Office doesn't use
   21· ·volunteers or unpaid volunteers, is that correct?
   22· · · · A· · Correct.
   23· · · · Q· · Do you understand SB 90 to allow you to
   24· ·use unpaid volunteers if you wanted to?
   25· · · · A· · I don't know.


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   ·1· · · · Q· · If the use of drop boxes is limited, would
   ·2· ·that particularly affect voters who don't own cars?
   ·3· · · · · · ·MR. DAINES:· Object to the form.
   ·4· · · · A· · Limited in what way, sir?
   ·5· ·BY MR. CAVATARO:
   ·6· · · · Q· · If drop boxes become less available in
   ·7· ·terms of number or location or hours.
   ·8· · · · A· · I don't understand the correlation of just
   ·9· ·because they don't have a car.
   10· · · · Q· · Does the use of -- does the availability
   11· ·of drop boxes advantage voters who may have
   12· ·transportation difficulties?
   13· · · · · · ·MR. TODD:· Object to the form.
   14· · · · A· · I always tell people if for some reason
   15· ·you can't get it to the drop box, drop it in the
   16· ·mail, I pay the return postage.
   17· ·BY MR. CAVATARO:
   18· · · · Q· · I want to talk a little bit about the U.S.
   19· ·Postal Service mailboxes versus the drop boxes,
   20· ·which was discussed a little bit before, so I will
   21· ·try not to repeat prior questioning.
   22· · · · · · ·Do you ever have a concern that the U.S.
   23· ·Postal Service might lose vote-by-mail ballots that
   24· ·are mailed by voters?
   25· · · · A· · I am sure that's always a possibility.


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   ·1· · · · Q· · Do you ever have a concern that the U.S.
   ·2· ·Postal Service might deliver a ballot from a voter
   ·3· ·after the deadline?
   ·4· · · · A· · That does occur.· I think I stated
   ·5· ·previously that that's what I was really looking at,
   ·6· ·the dates of when these ballots were postmarked and
   ·7· ·actually looking at the date they were signed by the
   ·8· ·voter, the date they were postmarked and then when
   ·9· ·we received them.· And it was amazing -- I remember
   10· ·one particular one we received two days after the
   11· ·election, and it had been signed and dated the day
   12· ·after the election.· So it only took one day, but it
   13· ·was two days late.
   14· · · · Q· · Is your understanding that U.S. Postal
   15· ·Service mailboxes are usually monitored?
   16· · · · A· · I don't have any knowledge of that.
   17· · · · Q· · Are drop boxes established by your office
   18· ·within your control more than U.S. Postal Service
   19· ·mailboxes?
   20· · · · A· · Are they more what?
   21· · · · Q· · Pardon me.· Are drop boxes more within
   22· ·your control than USPS mailboxes?
   23· · · · A· · Absolutely.· I don't staff USPS mailboxes.
   24· · · · Q· · I would like to talk briefly about the
   25· ·vote-by-mail repeat request limitation that was


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   ·1· ·discussed before.
   ·2· · · · · · ·Is it your experience that voters with
   ·3· ·disabilities take advantage of vote by mail?
   ·4· · · · A· · Again, anecdotally, that's kind of
   ·5· ·interesting, because we offer disability marking
   ·6· ·devices at all of our in-person voting, both early
   ·7· ·vote and vote by mail, and many of the people with
   ·8· ·disabilities like to use that.
   ·9· · · · Q· · Have you noticed, in the course of your
   10· ·work as supervisor, any voting groups that were
   11· ·particularly apt to use vote by mail, standing
   12· ·vote-by-mail requests?
   13· · · · A· · Can you restate that?
   14· · · · Q· · In your experience as supervisor of
   15· ·elections, do you think that there are certain
   16· ·voting groups that are more likely to request to get
   17· ·a vote-by-mail ballot in each election?
   18· · · · A· · I don't have any information on that.
   19· · · · Q· · Do you know why the Legislature included
   20· ·in Senate Bill 90 the vote-by-mail repeat request
   21· ·provision?
   22· · · · · · ·MR. DAINES:· Object to the form.
   23· · · · A· · What is the repeat request provision?
   24· ·BY MR. CAVATARO:
   25· · · · Q· · The limitation on the duration of a


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   ·1· ·standing vote-by-mail ballot request.
   ·2· · · · A· · I do not.
   ·3· · · · Q· · You testified earlier that the
   ·4· ·vote-by-mail provision regarding the duration of
   ·5· ·requests for vote-by-mail ballots poses an
   ·6· ·administrative burden for your office, is that
   ·7· ·correct?
   ·8· · · · A· · Yes.
   ·9· · · · Q· · And is it correct that you testified that
   10· ·cost is an aspect of the administrative burden?
   11· · · · A· · Yes.
   12· · · · Q· · Do you have any sense of how to quantify
   13· ·that cost even roughly?
   14· · · · A· · I think we answered that in the
   15· ·interrogatories.· We had some projections in there.
   16· · · · Q· · Are there other forms of administrative
   17· ·burden other than a financial burden?
   18· · · · A· · Having to hire additional people to keep
   19· ·up with the workload, additional temporary
   20· ·employees, that's going to increase our mailing, so
   21· ·both ends.
   22· · · · Q· · Is an increase in training an aspect of
   23· ·the administrative burden that this provision
   24· ·incurs?
   25· · · · A· · Sure.· We provide training to all our


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   ·1· ·employees, whatever duties and responsibilities they
   ·2· ·have.
   ·3· · · · Q· · With respect to the financial burden of
   ·4· ·this provision, are there other programs or
   ·5· ·activities that you would prefer to spend the money
   ·6· ·on?
   ·7· · · · A· · Well, I prefer not to spend taxpayer money
   ·8· ·on additional anything.
   ·9· · · · Q· · During the debate in the legislature
   10· ·regarding the bill, did the supervisors of elections
   11· ·express concern over this provision regarding
   12· ·vote-by-mail requests?
   13· · · · A· · Let me remind you, and I think we still
   14· ·can do this, too, the original part of the bill was
   15· ·going to wipe out all requests on file, which was
   16· ·huge.· And we really didn't want it to go to one, we
   17· ·wanted it to stay at two.· And there was no logic to
   18· ·do that, to take it to one.
   19· · · · Q· · Are you aware of any instance of voter
   20· ·fraud that would have been prevented by this
   21· ·provision that we've just been discussing?
   22· · · · · · ·MR. TODD:· Object to the form.
   23· · · · A· · No, I am not aware.
   24· ·BY MR. CAVATARO:
   25· · · · Q· · In your view, prior to the enactment of


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   ·1· ·Senate Bill 90, were there sufficient safeguards in
   ·2· ·place to protect against vote-by-mail voter fraud?
   ·3· · · · A· · I think I've stated already what the
   ·4· ·process is.
   ·5· · · · Q· · I would like to touch on very briefly the
   ·6· ·nonsolicitation provision of Senate Bill 90 related
   ·7· ·to the 150 feet.· Do you understand the provision
   ·8· ·that I am referring to?
   ·9· · · · A· · I do.
   10· · · · Q· · Have you and your office interpreted the
   11· ·nonsolicitation provision of Florida law to bar any
   12· ·contact between -- any contact with a voter within
   13· ·the 150-foot zone?
   14· · · · A· · I believe the statute refers to exactly
   15· ·what it is, solicitation, that there is a
   16· ·prohibition to solicit a voter within the 150-foot.
   17· · · · Q· · How do you define solicitation?
   18· · · · A· · Trying to encourage somebody to vote for a
   19· ·person or for or against a referendum.
   20· · · · Q· · So is it fair to say that not every
   21· ·contact with a voter within the 150-foot zone would
   22· ·constitute solicitation?
   23· · · · A· · It would depend on the situation.
   24· · · · Q· · If all other things are equal, if it
   25· ·becomes more difficult to vote by mail, does that


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   ·1· ·increase the likelihood that people vote in person?
   ·2· · · · · · ·MR. TODD:· Object to the form.
   ·3· · · · A· · I think that's an individual decision.· We
   ·4· ·saw a huge jump in vote by mail during COVID, and we
   ·5· ·are having internal discussions now is that going to
   ·6· ·hold up, or are people going to go back to voting in
   ·7· ·person.
   ·8· ·BY MR. CAVATARO:
   ·9· · · · Q· · And returning a bit to the nonsolicitation
   10· ·provision, if a nonpartisan volunteer provides a
   11· ·bottle of water to a voter on his or her way into
   12· ·the polling place, is that prohibited solicitation?
   13· · · · A· · I would not put up with that because I
   14· ·don't have any idea what that person is talking to
   15· ·the voter about.· And what I have told groups
   16· ·already is I don't care if you set up a tent and a
   17· ·water station at 160 feet, they can get the bottle
   18· ·on their way by.
   19· · · · Q· · So is it fair to say there is an aspect of
   20· ·judgment involved in enforcing the nonsolicitation
   21· ·provision?
   22· · · · A· · Absolutely.
   23· · · · Q· · I want to turn briefly to third-party
   24· ·ballot collection.
   25· · · · · · ·You testified earlier that you are aware


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   ·1· ·anecdotally of voters asking neighbors to turn in
   ·2· ·their vote-by-mail ballots for them, is that
   ·3· ·correct?
   ·4· · · · A· · Yep, very much aware.
   ·5· · · · Q· · And with apologies if this is redundant,
   ·6· ·why did voters ask their neighbor to return the
   ·7· ·ballot for them?
   ·8· · · · A· · Various reasons:· Sick, didn't have
   ·9· ·transportation, they were going, it made it easy,
   10· ·whatever.
   11· · · · Q· · Of the voters that had others return
   12· ·ballots on their behalf, were some of those voters
   13· ·individuals with disabilities?
   14· · · · A· · I can't answer that specifically.
   15· · · · Q· · Other than neighbors, did caretakers for
   16· ·those with an illness or injury sometimes return
   17· ·vote-by-mail ballots on behalf of the person for
   18· ·whom they were taking care of?
   19· · · · A· · I have no direct knowledge of that.
   20· · · · Q· · You mentioned briefly earlier the
   21· ·supervised facilities or the supervised voting
   22· ·provision of Florida law.· Do you understand the
   23· ·provision to which I am referring?
   24· · · · A· · Yes.
   25· · · · Q· · My understanding is that people who are


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   ·1· ·eligible voters, who are registered to vote who live
   ·2· ·in certain supervised facilities, are able to vote
   ·3· ·at those facilities.· Is that -- does that reflect
   ·4· ·your understanding as well?
   ·5· · · · A· · A vote-by-mail ballot, yes.
   ·6· · · · Q· · And do you know which facilities qualify
   ·7· ·for the supervised voting provision of Florida law?
   ·8· · · · A· · It's in statute.· I don't know it right
   ·9· ·off the top of my head.
   10· · · · Q· · Would assisted living facilities be
   11· ·eligible?
   12· · · · A· · I believe so.
   13· · · · Q· · And would nursing facilities be eligible?
   14· · · · A· · I believe so.
   15· · · · Q· · But other forms of communal housing would
   16· ·not be eligible, is that correct?
   17· · · · A· · I would have to refer back to the statute,
   18· ·so I can't really answer that.
   19· · · · Q· · Do you know off the top of your head --
   20· ·and I realize you may not -- whether hospitals are
   21· ·sites where the supervised voting provision could
   22· ·apply?
   23· · · · A· · I don't believe so.
   24· · · · Q· · And what about group homes, would they be
   25· ·eligible for supervised voting?


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   ·1· · · · A· · Again, I would have to refer to the
   ·2· ·statute.
   ·3· · · · Q· · For people living in facilities that are
   ·4· ·not eligible for supervised voting, would the
   ·5· ·third-party ballot collection restrictions of Senate
   ·6· ·Bill 90 make it more difficult for those residents
   ·7· ·to return their ballots?
   ·8· · · · · · ·MR. DAINES:· Object to the form.
   ·9· · · · A· · Again, there is nothing to prohibit them
   10· ·from dropping it in the mailbox, where we are paying
   11· ·the return postage, so there is no penalty on them.
   12· · · · · · ·MR. CAVATARO:· Can we go off the record
   13· · · · for about five minutes while I look over my
   14· · · · notes?· Mr. Todd, are you okay with that?
   15· · · · · · ·MR. TODD:· Fine.
   16· · · · · · ·(A recess took place from 3:32 p.m. to
   17· · · · 3:35 p.m.)
   18· ·BY MR. CAVATARO:
   19· · · · Q· · I just placed in the Zoom chat function an
   20· ·exhibit that is marked NAACP Latimer Deposition
   21· ·Exhibit G.
   22· · · · · · ·MR. CAVATARO:· Sandi, I confess, I don't
   23· · · · know what number we're up on.
   24· · · · · · ·MS. MADDURI:· I believe it's going to be
   25· · · · Exhibit 11.


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   ·1· · · · · · ·(Exhibit 11 was marked for
   ·2· · · · identification.)
   ·3· ·BY MR. CAVATARO:
   ·4· · · · Q· · Supervisor Latimer, are you able to open
   ·5· ·that exhibit?
   ·6· · · · A· · Yes.· I am looking at it.
   ·7· · · · Q· · Do you recognize this document?
   ·8· · · · A· · Just refreshing my memory here, it looks
   ·9· ·like a chat between me, Dave Ramba and Alan Hays.
   10· · · · Q· · Great.· Could you remind us who Mr. Ramba
   11· ·is?
   12· · · · A· · He is our lobbyist, Dave Ramba.
   13· · · · Q· · By our lobbyist, you mean the Florida
   14· ·Supervisors of Elections Association?
   15· · · · A· · Yes, I am sorry, FSE's lobbyist.
   16· · · · Q· · No problem.· And then Mr. Hays is the Lake
   17· ·County supervisor of elections, is that correct?
   18· · · · A· · He is former senator, current Lake County
   19· ·supervisor of elections, and he's head of the
   20· ·Legislative Affairs Committee.
   21· · · · Q· · Do you recall what time this text message
   22· ·conversation occurred?
   23· · · · A· · I do not.
   24· · · · Q· · Is it fair to say it occurred during the
   25· ·legislative consideration of Senate Bill 90?


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   ·1· · · · A· · Yes.
   ·2· · · · Q· · Did you write "Ingolia just said our check
   ·3· ·box is no good"?
   ·4· · · · A· · I don't remember writing that.· And I
   ·5· ·wouldn't have had any direct knowledge of that, to
   ·6· ·be truthful with you, so I would assume that was
   ·7· ·either Alan or Ramba.· I know it says Hillsborough
   ·8· ·County SOE.· But I don't recall saying that.
   ·9· · · · Q· · Do you see the part at the -- toward the
   10· ·end where Supervisor Hays writes another way to make
   11· ·the VBM difficult?
   12· · · · A· · Yes.
   13· · · · Q· · Do you understand VBM to be vote by mail?
   14· · · · A· · Yes.
   15· · · · Q· · And what's your understanding, if you have
   16· ·an understanding, what Supervisor Hays was trying to
   17· ·convey?
   18· · · · A· · I think it goes back to the check box that
   19· ·we have been talking about, that this is a method
   20· ·used by numerous supervisors of elections and that
   21· ·it's an easy way to keep the people on the rolls, to
   22· ·get a requester -- to keep them active for
   23· ·requesting a vote-by-mail ballot.
   24· · · · Q· · And do you believe that at least part of
   25· ·the intent behind this provision of Senate Bill 90


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   ·1· ·was to make vote by mail more difficult?
   ·2· · · · A· · I can't answer that.
   ·3· · · · Q· · Bear with me about 30 seconds, I just want
   ·4· ·to check to make sure I covered what I need to
   ·5· ·cover.
   ·6· · · · A· · Yes, sir.
   ·7· · · · · · ·(Short pause.)
   ·8· · · · · · ·MR. CAVATARO:· All good here.· Thank you,
   ·9· · · · Supervisor Latimer, for your time.
   10· · · · · · ·MR. TODD:· Mr. Budhu.
   11· · · · · · ·MR. BUDHU:· Yep, yep, I'm on deck.· Are we
   12· · · · on the record still?
   13· · · · · · ·THE STENOGRAPHER:· Yes.
   14· · · · · · · · · · CROSS EXAMINATION
   15· ·BY MR. BUDHU:
   16· · · · Q· · Good afternoon, Mr. Latimer, my name is
   17· ·Ryan Budhu, I am an attorney, I represent plaintiffs
   18· ·Florida Rising Together in this action.               I
   19· ·understand that you have been questioned under oath
   20· ·here today.· A few of my colleagues have given you
   21· ·ground rules, you understand that those ground rules
   22· ·are still in effect?
   23· · · · A· · I do.
   24· · · · Q· · Okay.· I think in terms of questioning, I
   25· ·won't be long.· I do have a few areas I would like


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   ·1· ·to give -- to ask you a few questions.
   ·2· · · · · · ·So turning straight to vote by mail, and I
   ·3· ·wanted to ask you, prior to enactment of SB 90, in
   ·4· ·your experience, were there sufficient election
   ·5· ·protection procedures in place regarding vote by
   ·6· ·mail?
   ·7· · · · A· · I believe so.
   ·8· · · · Q· · And based on your understanding, I believe
   ·9· ·that you testified earlier today that you weren't
   10· ·aware of any widespread voter fraud in Hillsborough
   11· ·County during the 2020 election, correct?
   12· · · · A· · That is correct.
   13· · · · Q· · And you are not aware of any widespread
   14· ·fraud in Hillsborough County in any prior election,
   15· ·correct?
   16· · · · A· · Since 2012, I can tell you that, no, I am
   17· ·not aware, 2010, actually.
   18· · · · Q· · Got it.· And I also believe you gave a
   19· ·little bit of testimony here earlier today about the
   20· ·procedure for requesting a vote-by-mail ballot,
   21· ·correct?
   22· · · · A· · Yes.
   23· · · · Q· · And you kind of walked us through a little
   24· ·bit about the documentation that was necessary, is
   25· ·that right?


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   ·1· · · · A· · Yes.
   ·2· · · · Q· · Just if you could just generally explain
   ·3· ·how your office checks to make sure requests for a
   ·4· ·vote-by-mail ballot is legitimate.
   ·5· · · · A· · Well, as I stated previously, first off,
   ·6· ·you have to be a registered voter.· To be a
   ·7· ·registered voter, you have to supply a Florida
   ·8· ·driver's license, Florida ID card, last four of your
   ·9· ·Social, and the State makes a match on that
   10· ·information.· The voter then has to request that
   11· ·vote-by-mail ballot, so they've got to be a
   12· ·registered voter, then they've got to request it.
   13· · · · · · ·When we get that ballot envelope back,
   14· ·they've had to sign the oath on the outside of the
   15· ·envelope and date it.· And then we physically
   16· ·compare the signature to the signature we have on
   17· ·file to verify that it is, in fact, that voter.
   18· · · · Q· · Okay.· Could you explain to me how exactly
   19· ·SB 90 changed the process for requesting a
   20· ·vote-by-mail ballot?
   21· · · · A· · It's added an additional provision now
   22· ·that to request a vote-by-mail ballot, you must
   23· ·include your Florida driver's license number, your
   24· ·Florida ID card number or the last four of your
   25· ·Social.


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   ·1· · · · Q· · And you are aware that there are some
   ·2· ·registered voters who don't have access to a
   ·3· ·driver's license?
   ·4· · · · A· · Yes.
   ·5· · · · Q· · And there are Florida voters who don't
   ·6· ·have access to an ID card, correct?
   ·7· · · · A· · Yes.
   ·8· · · · Q· · And there are even some Florida voters who
   ·9· ·don't have access to a Social Security number,
   10· ·correct?
   11· · · · A· · I am not aware of that.
   12· · · · Q· · Well, I am not asking if that -- they do
   13· ·or do not have a Social Security number but that
   14· ·they may not have access to their Social Security
   15· ·number, is that right?
   16· · · · A· · I don't have any knowledge of that.
   17· · · · Q· · Okay.· Under SB 90, what's your
   18· ·understanding of what happens if a voter who wants a
   19· ·vote-by-mail ballot doesn't have access to their
   20· ·driver's license number, state identification number
   21· ·or Social Security number?
   22· · · · A· · The way the law is written, it says we
   23· ·have to be able to verify for those.
   24· · · · Q· · In that scenario above, can your office
   25· ·send them a vote-by-mail ballot?


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   ·1· · · · A· · Not without verifying it.
   ·2· · · · Q· · And has your office kind of implemented
   ·3· ·any type of follow-up procedures for voters who
   ·4· ·don't have access to their driver's license, their
   ·5· ·identification, their state identification, or a
   ·6· ·Social Security number?
   ·7· · · · A· · We haven't had that occur yet.· We are not
   ·8· ·getting a lot of requests right now either.· There
   ·9· ·is also we are looking at different things, and
   10· ·we've also been talking to the Division of
   11· ·Elections; I know that was a topic at our summer
   12· ·conference.
   13· · · · · · ·I apologize for the sunlight that's now
   14· ·coming right through the middle of me here.
   15· · · · · · ·And we had a lot of discussion around
   16· ·that, and there was some direction on how to
   17· ·possibly use the DAVID driver's license database to
   18· ·verify information.
   19· · · · Q· · But as you sit here right now, there's no
   20· ·finalized procedure for those category of folks,
   21· ·correct?
   22· · · · A· · I do not have a finalized procedure in my
   23· ·office.
   24· · · · Q· · In your experience, do voters know or
   25· ·recall what identification number they provided when


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   ·1· ·they registered to vote?
   ·2· · · · A· · I think I mentioned that earlier that just
   ·3· ·about everybody knows the last four of their Social.
   ·4· ·But I would challenge probably 90 percent of the
   ·5· ·people on this call right now can't recite their
   ·6· ·driver's license number without looking at it.
   ·7· · · · Q· · Has your office or have you estimated the
   ·8· ·cost of complying with that identification number
   ·9· ·match provision of SB 90?
   10· · · · A· · We have not.
   11· · · · Q· · As a result, is it currently funded in
   12· ·your budget?
   13· · · · A· · I am sorry, is what funded?
   14· · · · Q· · The cost of complying with SB 90's
   15· ·identification number requirement.· I assume because
   16· ·there is no finalized procedure, it wouldn't be
   17· ·funded, or at least it wouldn't be reflected in your
   18· ·budget, is that correct?
   19· · · · A· · It's not reflected in my budget at this
   20· ·point.
   21· · · · Q· · Based on your experience, what impact do
   22· ·you think the SB 90 identification number
   23· ·requirement will have on voters in your county?
   24· · · · A· · I don't know.· We are going to have to
   25· ·wait and see.


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   ·1· · · · Q· · Well, based on your experience, do you
   ·2· ·have an anticipated impact, do you have any type of
   ·3· ·thoughts about what the impact will be?
   ·4· · · · A· · I don't.· I think I kind of addressed this
   ·5· ·earlier, that if somebody contacts us and they give
   ·6· ·us the last four of their Social and we don't have
   ·7· ·that, we are going to talk them back to their
   ·8· ·driver's license and they will have to furnish us
   ·9· ·with that so we can do the verification.
   10· · · · Q· · I am going to move to third-party voter
   11· ·registration organizations, I am just going to call
   12· ·them 3PVROs.· You understand if I am referring to
   13· ·3PVROs, I am referring to third-party voter
   14· ·registration organizations?
   15· · · · A· · I do.
   16· · · · Q· · Prior to the enactment of SB 90, did your
   17· ·office receive registrations for 3PVROs for voters
   18· ·outside your county?
   19· · · · A· · Yes.
   20· · · · Q· · How did your office handle these types of
   21· ·registration?
   22· · · · A· · We would have to input them and then they
   23· ·would end up going to the county the person lived
   24· ·in.
   25· · · · Q· · How did that differ from registrations of


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   ·1· ·voters inside of your county, that are located
   ·2· ·inside your county?
   ·3· · · · A· · So I can just tell you that this really
   ·4· ·impacts large counties and metropolitan areas
   ·5· ·because a lot of these 3PVROs, they operate in
   ·6· ·surrounding counties around me, but they bring all
   ·7· ·of them to my county, so I get strapped with having
   ·8· ·to do all the input on them.· So I can tell you that
   ·9· ·the supervisors are not opposed to this portion of
   10· ·this bill at all.
   11· · · · Q· · Do you have a sense of how many
   12· ·out-of-county registrations your office handled in
   13· ·the 2020 general election?
   14· · · · A· · Thousands.
   15· · · · Q· · And what type of resources were needed to
   16· ·process those registrations?
   17· · · · A· · We have to bring on temporary employees,
   18· ·train them, go through the process.
   19· · · · Q· · Do you have a general sense of the number
   20· ·of temporary employees that you have to bring on to
   21· ·handle these registrations?
   22· · · · A· · I don't have that information off the top
   23· ·of my head.
   24· · · · Q· · Do you have a sense of maybe the funding
   25· ·or some of the numbers in terms of hiring those


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   ·1· ·employees to handle these registrations?
   ·2· · · · A· · I don't.
   ·3· · · · Q· · Prior to SB 90, did your office find that
   ·4· ·3PVROs had submitted any type of fraudulent
   ·5· ·applications or that there was any type of fraud
   ·6· ·associated with 3PVROs?
   ·7· · · · A· · Yes.
   ·8· · · · Q· · And how many instances?
   ·9· · · · A· · I can't tell you exactly.· I think, again,
   10· ·I spoke to this earlier that we -- specifically, I
   11· ·had one of the 3PVROs come in and told me that they
   12· ·felt that one of their employees was falsifying
   13· ·applications and that they had since fired them.
   14· ·So, yeah, we've had several instances like that.
   15· · · · Q· · But to the best of your knowledge, there
   16· ·are no ballots that were cast that were a result of
   17· ·any fraud allegedly perpetuated by any 3PVROs,
   18· ·correct?
   19· · · · A· · That is correct.
   20· · · · Q· · And -- actually withdrawn.
   21· · · · · · ·MR. BUDHU:· If I could just have one
   22· · · · minute off the record, I am just going to see
   23· · · · if I have anything else.
   24· · · · · · ·(Short pause.)
   25


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   ·1· · · · · · ·MR. BUDHU:· Mr. Latimer, I have no further
   ·2· · · · questions for you.· Thank you for your time.
   ·3· · · · · · ·THE WITNESS:· Thank you, sir.
   ·4· · · · · · ·MR. ZACHERL:· Stephen, this is Frank.· Is
   ·5· · · · there anybody else that said they wanted to ask
   ·6· · · · questions before I do follow up?
   ·7· · · · · · ·MR. TODD:· I don't hear any.· I do have a
   ·8· · · · few follow up, but I will let you go first.
   ·9· · · · · · · · · REDIRECT EXAMINATION
   10· ·BY MR. ZACHERL:
   11· · · · Q· · I am going to be real quick, Supervisor
   12· ·Latimer, to try to finish up.
   13· · · · · · ·The first thing I want to just follow up
   14· ·on is the questioning earlier about the delays with
   15· ·the U.S. Post Office.· Do you remember those
   16· ·questions?
   17· · · · A· · I think so.
   18· · · · Q· · Well, what I wanted -- I just want to
   19· ·drill down a little bit on your understanding of the
   20· ·new U.S. Post Office policies.· Is it your
   21· ·understanding that the U.S. Post Office recently
   22· ·came out and said there may be delays in some
   23· ·categories of mail going forward?
   24· · · · A· · I read the newspaper or read a newspaper
   25· ·article, and I remember bits and pieces of it, three


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   ·1· ·to five days; but it talked about if it's mailed
   ·2· ·within that same area, that it may get there sooner.
   ·3· ·So I would have to go back and refresh totally what
   ·4· ·was said.
   ·5· · · · Q· · Do you recall that the post office
   ·6· ·announced that if you had first-class mail traveling
   ·7· ·in the same local region, that it would still have a
   ·8· ·two-day delivery time?
   ·9· · · · A· · That's what I was referring to, in the
   10· ·same area.
   11· · · · Q· · Okay.· Okay.· It's really long-distance
   12· ·mail going across the country that's being impacted,
   13· ·correct?
   14· · · · A· · Because you are going by ground instead of
   15· ·air.
   16· · · · Q· · Yes, sir.· Yes, sir.· Then I am going to
   17· ·try something and this is going to be a big
   18· ·experiment, so if I screw this up, I apologize to
   19· ·everyone, but I am going to try to share my screen.
   20· ·And if I can do this and I figure out how to do
   21· ·it -- let's see if we can do this.
   22· · · · · · ·Hold on.· You know, I can't do it, I'm
   23· ·sorry.· I'm going to have to go into my preferences
   24· ·and fix this.
   25· · · · · · ·So I am just going to ask you questions.


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   ·1· ·One of the exhibits that you looked at earlier --
   ·2· ·and I don't know the exhibit number, I apologize,
   ·3· ·but it was the talking points for the 2021
   ·4· ·legislation.· Do you remember that?
   ·5· · · · A· · I think there was two of them, actually.
   ·6· · · · Q· · Yeah.· And the one I want to ask you
   ·7· ·about, I think you will remember it, it's just there
   ·8· ·was some language in there about the potential to
   ·9· ·create voter confusion and the potential for there
   10· ·to be an erosion of confidence in the process.· Do
   11· ·you recall that?
   12· · · · A· · I do.
   13· · · · Q· · And really my question is very simple,
   14· ·would you agree with me that, as we sit here today,
   15· ·those are only potentialities, it's speculation as
   16· ·to whether those two things that you mentioned will
   17· ·actually come to pass, is that accurate?
   18· · · · · · ·MR. CAVATARO:· Object to the form.
   19· · · · A· · I don't know.· I have seen some polling
   20· ·out there that's been done talking about erosion of
   21· ·confidence and whether elections are secure and
   22· ·stuff, so I don't know that I could totally agree
   23· ·with you.
   24· ·BY MR. ZACHERL:
   25· · · · Q· · When you say the polling about elections


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   ·1· ·being secure, can you elaborate on what you mean by
   ·2· ·that?
   ·3· · · · A· · Yeah, that, for instance, vote by mail is
   ·4· ·a secure process, especially in our state.· I don't
   ·5· ·probably need to sit here and give a history lesson
   ·6· ·of what we have gone through the last few months
   ·7· ·with the different attacks on the election system.
   ·8· · · · Q· · Well -- but what I was getting to, though,
   ·9· ·is, if anything, the changes to the -- and the
   10· ·changes in Senate Bill 90 would make the voting
   11· ·system more secure and more safe, wouldn't you
   12· ·agree?
   13· · · · A· · How so?
   14· · · · Q· · Well, that's what I am asking you.                I
   15· ·mean, there is more specific verification
   16· ·requirements, there is more immediate need to renew
   17· ·vote-by-mail registration.· Don't those things,
   18· ·although they may cost more money for the
   19· ·supervisors of elections, don't those things
   20· ·increase the security of the elections?
   21· · · · A· · Well, I don't know that I can agree with
   22· ·that.· As I stated previously, that to even get a
   23· ·vote-by-mail ballot, you have got to be a registered
   24· ·voter.· And then we are actually verifying that
   25· ·signature on the envelope against the signature we


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   ·1· ·have on file, which the voter can also track that
   ·2· ·ballot back to my office and see when it is approved
   ·3· ·and counted and it's accepted and counted.· There's
   ·4· ·a lot of provisions that are in place already to
   ·5· ·keep that safe and secure.
   ·6· · · · Q· · We may be saying the same thing.· Let me
   ·7· ·ask you differently.
   ·8· · · · · · ·Is it your testimony that Senate Bill 90
   ·9· ·in any way reduces the security of the voting
   10· ·process in Florida, in your mind?
   11· · · · A· · I don't think so.
   12· · · · Q· · Okay.· That's really what I was getting
   13· ·to.· Then just one more thing, sir, before I cut you
   14· ·loose at least for me for today.· I think you said
   15· ·this earlier, but then I got a little confused
   16· ·about -- you said something about -- it deals with
   17· ·line warming and it deals with giving out water and
   18· ·food.
   19· · · · · · ·I think you said it's hard to distinguish
   20· ·between who is doing what within 150 feet, so if
   21· ·they are going to give out water, they have to give
   22· ·out water beyond 150 feet.· Was that your testimony?
   23· · · · A· · Yes, it is.· If somebody is trying to get
   24· ·within 150 feet to do anything with a voter, unless
   25· ·I've got one of my workers right with them, we have


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   ·1· ·no idea what they are saying to that voter.· So we
   ·2· ·immediately ask them to move outside the 150.· We
   ·3· ·don't have a problem with that here, though, quite
   ·4· ·frankly.
   ·5· · · · Q· · I hear you.· And the reason I am asking
   ·6· ·the question is because, in these talking points,
   ·7· ·one of the things it says is, fortunately, one thing
   ·8· ·this bill does not do is prohibit giving food and
   ·9· ·water to voters in line to vote, it just prohibits
   10· ·campaigning in that area.· Would you agree with
   11· ·that?
   12· · · · A· · Yes.
   13· · · · · · ·MR. ZACHERL:· I don't have any further
   14· · · · questions, sir.· Thank you again for all your
   15· · · · time today.· I appreciate it.
   16· · · · · · ·MR. TODD:· Mr. Daines has some questions.
   17· · · · · · ·MR. DAINES:· Yes, thank you.
   18· · · · · · · · · · RECROSS EXAMINATION
   19· ·BY MR. DAINES:
   20· · · · Q· · Just this will be really quick.
   21· ·Supervisor Latimer, as I recall earlier you were
   22· ·asked about whether video surveillance was
   23· ·sufficient to secure a drop box and you responded
   24· ·that that depends on the drop box.· Do you remember
   25· ·that?


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   ·1· · · · A· · Yes.
   ·2· · · · Q· · And you gave the example of a 24-hour box
   ·3· ·that's located in a building, which I believe is
   ·4· ·consistent with the one 24-hour box that you have
   ·5· ·described previously, is that accurate?
   ·6· · · · A· · Correct.
   ·7· · · · Q· · As I recall, you said that that building
   ·8· ·location would prevent someone from doing tampering,
   ·9· ·do you recall that?
   10· · · · A· · I talked about how it was built into the
   11· ·wall and the slot was only as big as the -- a little
   12· ·bit larger than the envelope.· I don't recall saying
   13· ·it would prevent tampering.
   14· · · · Q· · Okay.· So is it safe to say then that --
   15· ·well, let me ask it a different way.· Would that
   16· ·prevent tampering then?· Would that prevent
   17· ·tampering?
   18· · · · A· · I am sure if somebody had intention to do
   19· ·that, they could tamper it in some way by pouring
   20· ·something into it or throwing a firecracker in it.
   21· · · · Q· · Right.· And so just to make sure I am
   22· ·clear on your perspective on this, even with the
   23· ·location within the building and with security
   24· ·cameras that were monitoring it 24 hours a day,
   25· ·seven days -- as many days as the box is available,


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   ·1· ·it would -- that the cameras and the location within
   ·2· ·the building would not prevent tampering with the
   ·3· ·ballots through, for example, pouring gasoline on
   ·4· ·the ballots into the slot?
   ·5· · · · A· · Using that same example, just because I
   ·6· ·had a law enforcement officer inside my office at
   ·7· ·2 o'clock in the morning, they wouldn't have had
   ·8· ·time to respond out to keep that from happening
   ·9· ·either.
   10· · · · Q· · Okay.· Would you agree that having a
   11· ·physical presence at the box would be more likely to
   12· ·prevent putting a foreign substance like
   13· ·firecrackers or gasoline in than the cameras by
   14· ·themselves?
   15· · · · A· · I think it's totally hypothetical.· Like I
   16· ·said, you could certainly have somebody within
   17· ·20 feet of the thing and not be able to stop
   18· ·whatever the person's intentions were.
   19· · · · Q· · Okay.
   20· · · · · · ·MR. DAINES:· That is all the questions I
   21· · · · have.· So thank you.
   22· · · · · · ·THE WITNESS:· Thank you.
   23· · · · · · ·MR. TODD:· Anyone else?· I just have some
   24· · · · brief follow up.
   25


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   ·1· · · · · · · · · · CROSS EXAMINATION
   ·2· ·BY MR. TODD:
   ·3· · · · Q· · Addressing this, Mr. Latimer, you've
   ·4· ·candidly expressed some of your views regarding
   ·5· ·Senate Bill 90 and its impact.· I would like to take
   ·6· ·a moment to talk about the issue of voter confidence
   ·7· ·in Hillsborough County, following up with
   ·8· ·Mr. Zacherl's questioning.· Okay?
   ·9· · · · A· · Yes.
   10· · · · Q· · I have a handful of questions.· If you run
   11· ·into a citizen in the grocery store today who's
   12· ·expressed to you that they don't know anything about
   13· ·Senate Bill 90 and they wondered what the impact
   14· ·would be on the voting process, how would you
   15· ·respond?
   16· · · · A· · I would tell them it's not going to impact
   17· ·the voting process, that we have a very safe and
   18· ·secure process, and I would reiterate, which I do
   19· ·often, talking about that we do the public logic and
   20· ·accuracy test before an election, we do the post
   21· ·audit after the election.· We also know how many
   22· ·check-ins we have at in-person voting, so we know
   23· ·how that balances up with how many voters we have
   24· ·that have cast ballots.
   25· · · · · · ·The same way with vote by mail, we know


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                                                                     Page 194
   ·1· ·what we've sent out and we know what we've gotten
   ·2· ·back.
   ·3· · · · Q· · Following up with that, do you have any
   ·4· ·concerns today that any part of Senate Bill 90 will
   ·5· ·prevent any qualified registered voter from voting
   ·6· ·in Hillsborough County?
   ·7· · · · A· · I don't.
   ·8· · · · Q· · Likewise, do you have any concerns today
   ·9· ·that any part of Senate Bill 90 will prevent any
   10· ·qualified voter from registering to vote in
   11· ·Hillsborough County?
   12· · · · A· · No.
   13· · · · Q· · And lastly, are you concerned today that
   14· ·any part of Senate Bill 90 will prevent any legally
   15· ·cast vote from being counted in Hillsborough County?
   16· · · · A· · Absolutely not.
   17· · · · Q· · Is it your belief that Hillsborough County
   18· ·voters have more options for the method they use to
   19· ·vote than at any time in Hillsborough County's
   20· ·history?
   21· · · · A· · Absolutely.
   22· · · · Q· · And lastly, should Hillsborough County
   23· ·voters have confidence in the protection of the
   24· ·secrecy of their ballot cast in future elections?
   25· · · · A· · Yes, they should.


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   ·1· · · · MR. TODD:· I don't have any further
   ·2· ·questions.· Thank you.
   ·3· · · · We'll read.· And I guess we are done.
   ·4· · · · MR. ZACHERL:· We'll waive.· This is Frank,
   ·5· ·I believe we'll be ordering.
   ·6· · · · MR. CAVATARO:· The NAACP plaintiffs will
   ·7· ·be ordering a copy of the transcript.
   ·8· · · · MS. MADDURI:· Same for the League of Women
   ·9· ·Voters, plaintiff.
   10· · · · (Proceedings concluded at 4:04 p.m.)
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   ·1· · · · · · · · · · ·CERTIFICATE OF OATH

   ·2

   ·3· ·STATE OF FLORIDA· · · · ·)

   ·4· ·COUNTY OF LEON· · · · · ·)

   ·5

   ·6

   ·7

   ·8· · · · · · ·I, the undersigned authority, certify that

   ·9· ·CRAIG LATIMER remotely appeared before me on October

   10· ·11, 2021 and was duly sworn.

   11

   12· · · · · · ·SIGNED AND SEALED this 12th day of

   13· ·October, 2021.

   14

   15

   16

   17

   18

   19·   ·   ·   ·   ·   ·   ·   ·   ·   ·SANDRA L. NARGIZ, RPR, RMR, CRR, CCR
   · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·snargiz@comcast.net
   20·   ·   ·   ·   ·   ·   ·   ·   ·   ·Commission #GG172788
   · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·EXPIRES: APRIL 18TH, 2022
   21

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   ·1· · · · · · · · · ·CERTIFICATE OF REPORTER

   ·2· ·STATE OF FLORIDA· · )

   ·3· ·COUNTY OF LEON· · · )

   ·4· · · · · · ·I, SANDRA L. NARGIZ, Registered

   ·5· ·Professional Reporter, certify that I was authorized

   ·6· ·to and did stenographically report the deposition of

   ·7· ·CRAIG LATIMER; that a review of the transcript was

   ·8· ·requested, and that the foregoing transcript, pages

   ·9· ·1 through 195, is a true record of my stenographic

   10· ·notes.

   11· · · · · · ·I further certify that I am not a

   12· ·relative, employee, attorney or counsel of any of

   13· ·the parties, nor am I a relative or employee of any

   14· ·of the parties' attorney or counsel connected with

   15· ·the action, nor am I financially interested in the

   16· ·action.

   17· · · · · · ·DATED this 12th day of October, 2021.

   18

   19

   20

   21· · · · · · · · · ·SANDRA L. NARGIZ, RPR, RMR, CRR, CRC
   · · · · · · · · · · ·Notary Public
   22· · · · · · · · · ·snargiz@comcast.net

   23

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                                                                     Page 198
   ·1
   · ·   ·October 12, 2021
   ·2
   · ·   ·CRAIG LATIMER
   ·3·   ·c/o· STEPHEN M. TODD, ESQUIRE
   · ·   · · · todds@hillsboroughcounty.org
   ·4

   ·5· ·RE:· League of Women Voters, et al.,
   · · · · · vs. Secretary Lee, et al.
   ·6· · · · Case No.· 4:21 cv 186-MW/MAF

   ·7· ·Dear Mr. Latimer:

   ·8· ·Please take notice that on October 11, 2021, you
   · · ·gave your deposition in the above cause.· At that
   ·9· ·time you did not waive your signature.

   10·   ·The above-addressed attorney has ordered a copy of
   · ·   ·the transcript and will make arrangements with you
   11·   ·to read their copy.· Please execute the Errata
   · ·   ·Sheet, which can be found at the back of the
   12·   ·transcript, and have it returned to us at
   · ·   ·production@phippsreporting.com for distribution to
   13·   ·all parties.

   14·   ·If you do not read and sign the transcript within
   · ·   ·thirty (30) days, the original, which has already
   15·   ·been forwarded to the ordering attorney, may be
   · ·   ·filed with the Clerk of the Court.
   16
   · ·   ·If you wish to waive your signature now, please sign
   17·   ·your name to the blank at the bottom of this letter
   · ·   ·and return to the address listed below.
   18
   · ·   ·Very truly yours,
   19

   20·   ·Sandra L. Nargiz, RPR, CMR, CRR
   · ·   ·Phipps Reporting, Inc.
   21·   ·1551 Forum Place, Suite 200-E
   · ·   ·West Palm Beach, Florida· 33401
   22
   · ·   ·I do hereby waive my signature.
   23
   · ·   ·_____________________________
   24·   ·CRAIG LATIMER
   · ·   ·Job No.· 211210
   25


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   ·1· · · · · · · · · · · · ERRATA SHEET

   ·2· · · ·DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE

   ·3·   ·In   Re:· League of Women Voters, et al., vs. Secretary
   · ·   · ·   · · · · · · · · · ·Lee, et al.
   ·4·   · ·   · · · · · Case No.: 4:21 cv 186-MW/MAF
   · ·   · ·   · · · · · · · · CRAIG LATIMER
   ·5·   · ·   · · · · · · · · · ·October 11, 2021

   ·6· ·PAGE· ·LINE· · · · CHANGE· · · · · · · · · REASON
   · · ·____________________________________________________
   ·7· ·____________________________________________________

   ·8· ·____________________________________________________

   ·9· ·____________________________________________________

   10· ·____________________________________________________

   11· ·____________________________________________________

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   13· ·____________________________________________________

   14· ·____________________________________________________

   15· ·____________________________________________________

   16· ·____________________________________________________

   17· ·____________________________________________________

   18· ·____________________________________________________

   19·   ·Under penalties of perjury, I declare that I have
   · ·   ·read the foregoing transcript of my deposition and I
   20·   ·hereby swear that my testimony therein was true at
   · ·   ·the time it was given and is now true and correct,
   21·   ·including any corrections and/or amendments listed
   · ·   ·above.
   22

   23· ·____· · · · · · · ______________________________

   24· ·Date· · · · · · · ·CRAIG LATIMER
   · · ·Job No.· 211210
   25


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3 Talking Points – 2021 legislation

Supervisors of Elections worked throughout the legislative session to make sure legislators
understood the impact their proposals would have on voters, and were successful in
preventing some of the most onerous proposals from making it into legislation – including
cancelling Vote By Mail requests that are currently on file and removing drop boxes
altogether.




Let’s not lose sight of the fact that we already had strong laws in that enabled us to run our
2020 election with accessibility and integrity. And our performance was lauded by
President Trump, Governor DeSantis, Secretary of State Laurel Lee, and all the legislators
who spoke for and against this new bill during this legislative session.




The legislation that passed makes it harder to request and return Vote By Mail ballots:
    - prohibits the use of secure 24-hour drop boxes with camera surveillance
    - requires voters to submit a new Vote By Mail request every election cycle, and
        those requests have to include their DL or SSN
    - places a two-ballot limit (with the exception of immediate family members) on how
        many mail-in ballots someone could gather and turn in on behalf of the elderly or
        sick and disabled voters




                                                           Exhibit            C. LATIMER

                                                           212
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                                                                                                                         GOVERNOR'S
  ~~            Craig Latimer                                                                                               ST ERUNG
\tJ~ Jt~ Supervisor of Elections                                                                                               AWARD
 ~            Our Vision : To be the best place in America to vote                                                         RECIPIENT

4/30/2021

Statement from Craig Latimer, Hillsborough County Supervisor of Elections and President
of the Florida Supervisors of Elections



As Supervisors of Elections, we are unwavering in our commitment to keeping our elections
both secure and accessible. We did that in 2020, to universal acclaim. Elections ran
smoothly, voters participated in record numbers, and election results were verified with
audits in every county in Florida, as provided for in our current election law. My colleagues
and I will continue to work every day to increase voter participation and maintain the
integrity of our elections, following any new requirements established by our lawmakers.

During this legislative session, Supervisors of Elections spent hours talking to legislators
about how proposed legislation would impact voters. For example, in 2020 our voters
overwhelmingly appreciated the peace of mind that came from dropping their mail ballot
off in a secure drop box, because they knew that by using the drop box instead of a
mailbox, their ballot would be received on time. We should be looking for cost-effective
ways to expand their use, including the use of secure 24-hour drop boxes with camera
surveillance. Instead, the new legislation prohibits that.

Fortunately, proposals that would have been the most disenfranchising, such as cancelling
Vote By Mail requests that voters currently have on file, were dropped from the final
version of the bill. However, this legislation still makes requesting Vote By Mail ballots and
returning those ballots harder.

After days of debate, our hope is that the initial and unnecessary call for election reform
will not detract from the confidence that was well-earned in 2020. Indeed, after the 2020
General Election, Governor DeSantis said that we had “finally vanquished the ghosts of
Bush vs. Gore,” praising our ability to count 11 million votes quickly and holding Florida up
as an example for other states to follow. Throughout this legislative process, legislators
who supported and opposed the bill commended our performance in 2020, over and over.
I look forward to continuing to earn the trust of my community as I work to preserve our
most precious right to participate in our democratic government.


                                                                                                    Exhibit


                                                                                                    213
                                                                                                 ________________          C. LATIMER
                                                                                               4:21-cv-186-MW/MAF


                                                                                                                          Exhibit 2
                                                                    *
                              VoteH ills borough.gov                        (813) 744- 5900
                                   Fred B. Karl County Center                Robert L. Gilder Elections Service Center      S. Nargiz 10/11/21
             601 E. Kennedy Blvd., 16t h Floor, Tam pa, FL 33602      I      2514 N. Falkenburg Rd., Tampa, FL 33619
                                                  See website for regional office locations.
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                                                                                    Al              'I
                                                                                          FF ClAL
                                                                                          BALLOT
                                                                                         DROP BOX




    A provision in the proposed Florida law would have required dropboxes like this one outside the Alachua
              County Supervisor of Elections office to be monitored. (Grace Banahan/WUFT News)
                                                                                                                     Exhibit                C. LATIMER
                                                                                                                                                                  
                                                                                                                     214
                                                                                                                  ________________
                                                                                                                                          Exhibit 3
                                                                                                                4:21-cv-186-MW/MAF           S. Nargiz 10/11/21


https://www.wuft.org/news/2021/04/21/supervisors-of-elections-oppose-voting-bill/                                                                                 1/6
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 Florida Supervisors of Elections Oppose Controversial Voting Bill
 ‘SB 90’
 By Grace Banahan
  April 21, 2021                Florida Votes, Government and politics

 A proposed bill in the Florida Legislature is calling for increased voting regulations, including limiting ballot

 drop-off box hours and requiring a wet signature on file. All 67 of Florida’s Supervisors of Elections oppose

 the bill.


 The election administration bill, SB 90, has currently passed through all three of its Senate committees, but
 was postponed on its second reading on Tuesday. Its comparable bill in the House, HB 7041, has passed

 through two of its three committees and resides in the House State Affairs Committee.


 The bill’s sponsor, Sen. Dennis Baxley, considers the regulations a way of taking a proactive approach to

 addressing potential election issues in the state.

 “I know that safeguarding and maintaining the integrity of our elections is important to all of us,” Baxley

 said during a committee hearing. “It wasn’t that long ago that we were the butt of every joke about
                                                                                                                                                      


https://www.wuft.org/news/2021/04/21/supervisors-of-elections-oppose-voting-bill/                                                                     2/6
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 elections.”

 The president of the Florida Supervisors of Elections and the Hillsborough County Supervisor of Elections

 Craig Latimer believes this bill would add obstacles to voters.


 “To me, this bill doesn’t make any sense,” he said. “Why would you try to make it harder on the voter?”


 The signature matching addition to the bill requires supervisors to compare a pen-on-paper signature with

 a voter’s current signature. Without a paper, or “wet,” signature on file, the ballot must be rejected.

 These measures are proposed in the name of combating voter fraud, which Latimer considers a non-issue.


 “I haven’t seen any fraud and I haven’t heard one of the legislators cite a specific incident of fraud as they

 debated the bill,” he said.


 Even if fraud was a prevalent issue in the state, Latimer said the signature regulations the bill calls for

 wouldn’t do anything to stop it.


 “If you go to a driver’s license bureau there’s actually an official in front of you that’s watching you sign,” he

 said. “If you go to vote in-person, there’s somebody watching you give us that signature. To me, this bill in                                        


https://www.wuft.org/news/2021/04/21/supervisors-of-elections-oppose-voting-bill/                                                                     3/6
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 no way, shape or form can do anything to curb any voter fraud that may be occurring.”


 A previous version of the bill called for completely banning drop boxes, but an amendment changed the

 language to allow for drop boxes during early voting hours. Latimer still sees administrative issues with the
 regulations of the boxes.


 “With the amendment, drop boxes are only available during early voting hours,” he said. “Well, what about

 before early voting starts and after early voting ends? How will you get your ballot back to me?”


 In Florida, ballots are mailed out during a 7-day window between 40 and 33 days before an election as

 required by state law. Latimer said this bill will affect the voters who immediately fill out their ballots and

 drop them off at a ballot box well before early voting begins.


 Currently, Hillsborough County has four drop boxes that are available outside of early voting, as well as

 boxes at all early voting sites. This bill would prohibit the operation of those drop boxes, a condition that
 Latimer said might result in their removal.


 “With the way this is written, I would have to remove drop boxes,” he said.
                                                                                                                                                      


https://www.wuft.org/news/2021/04/21/supervisors-of-elections-oppose-voting-bill/                                                                     4/6
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 Hillsborough County isn’t the only county that would have to change their drop box practices if the

 proposed bill becomes law. Bradford County Supervisor of Elections Amanda Seyfang said the requirements

 laid out in the bill would be impractical for the county.

 According to the bill text, ballot drop boxes must be monitored in-person by an employee. Since 2001, the

 Bradford County Supervisors of Elections Office typically runs an entire election with a three-person staff.


 For the rural county, designating an employee to watch the drop box is a waste of resources.

 “I could not give up one of my staff members to just sit at our drop box all day long, nor could I afford with

 my budget to hire another staff member just to do that,” Seyfang said.


 Bradford County’s ballot drop box has been located outside the courthouse in Starke ever since drop boxes

 were allowed. Seyfang says it was used significantly even before the pandemic.

 “If the bill passes with that current language, I would have to just pull my drop box,” Seyfang said. “There’s

 no way a county my size could afford it.”


                                                                                                                                                      


https://www.wuft.org/news/2021/04/21/supervisors-of-elections-oppose-voting-bill/                                                                     5/6
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 Bradford County’s drop box is under 24/7 video surveillance. In the 2020 general election, 1,073 of the

 3,844 returned vote-by-mail ballots were returned at the drop box location.


 Seyfang notes some minor favorable parts of the bill, including a stipulation that a grandchild would be

 considered an immediate family member. Currently, only a grandparent is considered an immediate family

 member and not a grandchild.

 Seyfang’s main worry is the voters who have no wet signature to be compared. The Florida Legislature

 passed a law in 2015 that allowed digital voter registration beginning in 2017.

 “If anybody has registered to vote for the first time since the law allowed it back in 2017, we would not have

 a wet signature on file for them,” Seyfang said. “That’s a lot of voters if you think about the increases in

 voter registration since 2017.”




                                                                                                                                                      


https://www.wuft.org/news/2021/04/21/supervisors-of-elections-oppose-voting-bill/                                                                     6/6
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                         FLORIDA SUPERVISORS OF ELECTIONS
                         PO Box 350   I   Tallahassee, FL 323021 I Telephone: (850) 599-9120




                        April 23, 2021
Executive Committee
2020- 2021
                        Florida Supervisors of Elections Statement
President
Craig Latimer
                        Florida Supervisors of Elections (FSE) does not support SB90 or HB7041
President-Elect         in their current form, but continues to share information with the
Wesley Wilcox
                        legislature.
Vice-President
Mark Earley
                                                                   ###
Secretary
Ron Turner
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Talking Points – 2021 legislation

Supervisors of Elections are unwavering in our commitment to keeping our elections both
secure and accessible. Let’s not lose sight of the fact that we already had strong laws in that
enabled us to run our 2020 election with accessibility and integrity. And our performance
was lauded by President Trump, Governor DeSantis, Secretary of State Laurel Lee, and all
the legislators who spoke for and against this new bill during this legislative session.

Do we look for ways to improve? Of course. But sweeping election reform was not needed
or requested by Supervisors of Elections. And making a lot of changes all at once has the
potential to create voter confusion, more cumbersome administration and bureaucracy,
and worst of all, an erosion of the confidence we’ve worked so hard to earn.

During this legislative session, Supervisors of Elections spent hours talking to legislators
about how proposed legislation would impact voters. Proposals that would have been
most disenfranchising were dropped from the final version of the bill, including:
   - Cancelling Vote By Mail requests that are currently on file
   - Removing drop boxes altogether
   - Restricting the signatures we could look at when verifying Vote By Mail ballots

The legislation that passed:
    - prohibits the use of secure 24-hour drop boxes with camera surveillance
    - requires voters to submit a new Vote By Mail request every election cycle, and
        those requests have to include their DL or SSN
    - means that voters will no longer be able to check a box on their Vote By Mail return
        envelope to renew their mail ballot request
    - places a two-ballot limit (with the exception of immediate family members) on how
        many mail-in ballots someone could gather and turn in on behalf of the elderly or
        sick and disabled voters

Encouraging Vote By Mail is one of the ways we avoid lines at in-person voting, so if fewer
voters vote by mail, that could affect wait times during in-person voting. Fortunately, one
thing this bill does not do is prohibit giving food and water to voters in line to vote – it just
prohibits campaigning in that area.

After days of debate, our hope is that the initial and unnecessary call for election reform
will not detract from the confidence that was well-earned in 2020. to participate in our
democratic government.


                                                                 Exhibit               C. LATIMER

                                                                 216
                                                              ________________       Exhibit 5
                                                            4:21-cv-186-MW/MAF
                                                                                        S. Nargiz 10/11/21
   Case 4:21-cv-00186-MW-MAF Document 549-3 Filed 02/05/22 Page 258 of 272




From:                Gerri Kramer
Sent:                Thursday, April 22, 2021 4:26 PM EDT
To:                  Craig Latimer; Craig Latimer
Subject:             Points of concern - legislation


We oppose SB90 or HB7041 in their current form but we continue to share information with
legislators.

Points of concern:

Limits Vote By Mail drop off to Early Voting days/hours — that’s a great disservice to voters,
especially those who like to drop off on Monday or Tuesday, when it’s too late to mail it. They
wouldn’t be able to do that the way this legislation is currently written.

There’s a part in the bill requiring ballots with any undervoted races to be reviewed and
duplicated if there are any markings. We had 650,000 undervoted races on Vote By Mail ballots
in the last election. So we would be pulling hundreds of thousands of ballots. Process already in
place - manual recount. Slow down the process.

In 2018, one of the races we physically looked at more than 15,000 undervotes and only a
handful had any markings in those races.

Limiting the possession of ballots — that has not been an issue in our county. It’s a solution
looking for a problem. What we heard today is that you could turn in two at a time, day after day,
so I’m not sure what their intention here is.



Gerri Kramer
Chief Communications Officer
Representing Craig Latimer, Hillsborough County Supervisor of Elections
Governor’s Sterling Award Recipient
Our Vision: To be the best place in America to vote!

Direct: (813) 367-8827       Cell: (813) 415-4337             Email: gkramer@hcsoe.org
VoteHillsborough.org

Be an informed voter!
Follow us: Newsletter Facebook                Twitter       Instagram     Vimeo




                                                                     Exhibit         C. LATIMER

                                                                     217
                                                                  ________________   Exhibit 6
                                                                4:21-cv-186-MW/MAF
                                                                                         S. Nargiz 10/11/21
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From:                   Craig Latimer
Sent:                   Thursday, March 11, 2021 2:22 PM EST
To:                     David Ramba; Alan Hays; Ron Labasky; Paul Lux; Lori Scott; Julie Marcus; Chris Chambless;
                        jennifer.edwards@colliercountyfl.gov; lafayettesoe@gmail.com; jadkins@votenassau.com;
                        vdavis@martinvotes.com; travis@lafayettevotes.com; Wendy Sartory Link; lswan@voteindianriver.com
Subject:                RE: FSE Drop Box Recs


Dave,
Ref “c”
Worded a little awkward

, that any such site (should this say drop box instead of site?) must be
physically monitored and staffed during the hours of the site (Does this
mean the hours the site is open or should it be consistent with the hours the
other actual early vote sites are open) that otherwise qualifies as an early
voting

I think it is good to put in electronic monitoring. We can negotiate that

Craig Latimer, CERA
Hillsborough County Supervisor of Elections
Governor’s Sterling Award Recipient
Our Vision: To be the best place in America to vote!

County Center, 601 E. Kennedy Blvd., 16th Floor, Tampa, FL 33602
Direct: (813) 276-2320 Fax: (813) 272-7043       Email: clatimer@hcsoe.org
VoteHillsborough.org

Be an informed voter!
Follow us: Newsletter   Facebook       Twitter    Instagram      YouTube




From: David Ramba <david@rambaconsulting.com>
Sent: Thursday, March 11, 2021 1:47 PM
To: Alan Hays <alan@lakevotes.com>; Ron Labasky <rlabasky@bplawfirm.net>; Paul Lux
<plux@co.okaloosa.fl.us>; Lori Scott <lscott@votebrevard.gov>; Julie Marcus
<jmarcus@votepinellas.com>; Craig Latimer <clatimer@hcsoe.org>; Chris Chambless
<cchambless@clayelections.com>; jennifer.edwards@colliercountyfl.gov; lafayettesoe@gmail.com;
jadkins@votenassau.com; vdavis@martinvotes.com; travis@lafayettevotes.com; Wendy Sartory Link
<wendylink@pbcelections.org>; lswan@voteindianriver.com
Subject: FSE Drop Box Recs


                                                                                    Exhibit                       C. LATIMER

                                                                                    218
                                                                                 ________________               Exhibit 7
                                                                              4:21-cv-186-MW/MAF                   S. Nargiz 10/11/21
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EXTERNAL EMAIL: Exercise Caution with
links or attachments.
The new language in paragraph 2 I believe reflects our conversation from this morning. I would
welcome your input on this for submittal to the Legislature.

David Ramba




Sent from my iPad
 Case 4:21-cv-00186-MW-MAF Document 549-3 Filed 02/05/22 Page 261 of 272




Draft Recommendations for Florida Legislature on Drop Box Restrictions
and Guidelines for 2021 - FSE Workgroup Recommendations


101.69 Voting in person; return of vote-by-mail ballot.—
(1) The provisions of this code shall not be construed to prohibit any
elector from voting in person at the elector’s precinct on the day of an
election or at an early voting site, notwithstanding that the elector has
requested a vote-by-mail ballot for that election. An elector who has
returned a voted vote-by-mail ballot to the supervisor, however, is deemed
to have cast his or her ballot and is not entitled to vote another ballot or to
have a provisional ballot counted by the county canvassing board. An elector
who has received a vote-by-mail ballot and has not returned the voted
ballot to the supervisor, but desires to vote in person, shall return the
ballot, whether voted or not, to the election board in the elector’s precinct
or to an early voting site. The returned ballot shall be marked “canceled” by
the board and placed with other canceled ballots. However, if the elector
does not return the ballot and the election official:
(a) Confirms that the supervisor has received the elector’s vote-by-mail
ballot, the elector shall not be allowed to vote in person. If the elector
maintains that he or she has not returned the vote-by-mail ballot or remains
eligible to vote, the elector shall be provided a provisional ballot as
provided in s. 101.048.
(b) Confirms that the supervisor has not received the elector’s vote-by-
mail ballot, the elector shall be allowed to vote in person as provided in this
code. The elector’s vote-by-mail ballot, if subsequently received, shall not
be counted and shall remain in the mailing envelope, and the envelope shall
be marked “Rejected as Illegal.”
(c) Cannot determine whether the supervisor has received the elector’s
vote-by-mail ballot, the elector may vote a provisional ballot as provided in
s. 101.048.

SUBSTANTIALLY REWRITTEN BELOW - NOT STRIKE AND UNDERLINED

(2) The supervisor shall allow an elector who has received a vote-by-mail
ballot to physically return a voted vote-by-mail ballot to the supervisor by


                                                          Exhibit
                                                                          C. LATIMER

                                                          219
                                                       ________________
                                                                          Exhibit 8
                                                     4:21-cv-186-MW/MAF
                                                                           S. Nargiz 10/11/21
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placing the envelope containing his or her marked ballot in a secure drop
box.
(a) Secure drop boxes shall be placed at the main office of the supervisor at
    each branch office of the supervisor. Secure drop boxes at a supervisor’s
    office may be available at any time for voters to place a voted vote-by-
    mail ballot if the secure drop box is monitored physically or
    electronically.
(b) Secure drop boxes shall be placed at all early voting sites, and shall be
    only available for use during the hours of the early voting site, and shall
    be physically monitored during any time that a voter can place a voted
    vote-by-mail ballot into the drop box by an election worker of the
    supervisors office, security officer or a sworn law enforcement officer.
(c) Secure drop boxes may also be placed at any other site that would
    otherwise qualify as an early voting site under s. 101.657(1); provided,
    however, that any such site must be physically monitored and staffed
    during the hours of the site that otherwise qualifies as an early voting
    site by an election worker of the supervisors office, security officer or a
    sworn law enforcement officer.
(d) All voted ballots shall be collected at the end of each day a drop box is
    available and returned to the supervisor’s office. No ballots may be left
    unattended or unmonitored in a drop box overnight.
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We are requesting the following amendments to CS/CS/CS/SB 90:



Replace lines 707 – 713:

ballot containing an overvoted race, if there is a clear indication on the ballot that the voter has made a
definite choice in the overvoted race or ballot measure. A duplicate shall include all valid votes as
determined by the canvassing board based on rules adopted by the division pursuant to s. 102.166(4). A


Replace line 811:
social security number. Vote-by-mail voters may also check a box on a vote-by-mail return envelope
certificate to renew their vote-by-mail request, and if their ballot is accepted no further information is
required for the request. However, an absent uniformed service

Replace line 969:
s.101.657 (1). Except for secure drop boxes at an office of the supervisor, a secure drop box may only be
used




                                                                       Exhibit                 C. LATIMER

                                                                       220
                                                                    ________________         Exhibit 9
                                                                 4:21-cv-186-MW/MAF
                                                                                                S. Nargiz 10/11/21
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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

LEAGUE OF WOMEN VOTERS OF
FLORIDA, INC., et al.,

        Plaintiffs,                                 CASE NO.: 4:21-cv-186-MW-MAF
v.

LAUREL M. LEE, in her official capacity
As Florida Secretary of State, et al.,

     Defendants.
___________________________________/

         AFFIDAVIT OF PEG REESE IN RESPONSE TO PLAINTIFFS’
              FIRST SET OF REQUESTS FOR PRODUCTION

STATE OF FLORIDA

COUNTY OF HILLSBOROUGH

        BEFORE ME, the undersigned authority, personally appeared Margaret

“Peg” Reese, who, having been first duly sworn, deposes and says:

        1.    I am over the age of eighteen and competent to make this declaration.

I am competent to testify to my direct knowledge regarding the matters and issues

addressed herein.

        2.    I am currently employed by Craig Latimer, Supervisor of Elections for

Hillsborough County as a Chief of Staff. I have been employed in this position since

February 2009.
                                                                   C. LATIMER
                           Exhibit
                                                                 Exhibit 10
                           221
                        ________________
                                           Page 1 of 7
                                                                   S. Nargiz 10/11/21
                      4:21-cv-186-MW/MAF
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      3.       With regard to Plaintiffs’ First Set of Requests for Production, I submit

the following responses:

REQUEST NO. 4:

   Drop boxes are continuously attended and checked. Boxes are emptied at least
   daily, more frequently if/as needed.

   Prior to Early Voting, an SOE staff member at County Center, the Northwest
   Regional office, and the Southeast Regional office submits a helpdesk ticket
   alerting the warehouse that either they are in receipt of VBM ballots that need to
   be retrieved or that they are in need of a replacement ballot box prior to
   closing. Warehouse staff retrieve ESC's box daily, at the end of the day,
   unless Voter Services staff notifies the warehouse that they need an empty box
   prior to closing.

   During Early Voting, unless warehouse staff are notified by an Early
   Voting site or one of our offices that they need an empty box prior to closing,
   boxes are retrieved daily at closing by Early Voting couriers at Early Voting sites
   and by Warehouse staff at SOE offices.

   On Election Day, we retrieve boxes at our offices at 10am, 2pm, 4pm, and
   7pm.

   Ballots cast via drop boxes are entered as received by our office on the day
   following casting/retrieval. These ballots are processed as are all Vote By Mail
   ballots, with a time stamp on the outer return envelope issued when the ballot is
   processed through the ReliaVote machine. Signature verification then proceeds
   as per normal processing of Vote By Mail ballots.


REQUEST NO. 34:

   Drop Boxes Planned for 2022 Elections:
   Apollo Beach Community Center             664 Golf and Sea Blvd., Apollo Beach, FL 33572
   Austin Davis Public Library               17808 Wayne Road, Odessa, FL 33556
   Bloomingdale Regional Public Library      1906 Bloomingdale Ave., Valrico, FL 33596
   Bruton Memorial Library                   302 W McLendon St., Plant City, FL 33563
   C. Blythe Andrews, Jr. Public Library     2607 E Dr. Martin Luther King Jr. Blvd., Tampa, FL 33610


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 Fred B. Karl County Center                    601 E Kennedy Blvd., Tampa, FL 33602
 Jan Kaminis Platt Regional Library            3910 S Manhattan Ave., Tampa, FL 33611
 Jimmie B. Keel Regional Public Library        2902 W Bearss Ave., Tampa, FL 33618
 Maureen B. Gauzza Public Library              11211 Countryway Blvd., Tampa, FL 33626
 New Tampa Regional Library                    10001 Cross Creek Blvd., Tampa, FL 33647
 North Tampa Branch Library                    8916 N Blvd., Tampa, FL 33604
 Northdale Recreation Center                   15550 Spring Pine Dr., Tampa, FL 33624
 Port Tampa Community Center                   4702 W McCoy St., Tampa, FL 33616
 Providence West Community Center              5405 Providence Rd., Riverview, FL 33578
 Riverview Branch Library                      10509 Riverview Dr., Riverview, FL 33578
 Robert L. Gilder Elections Service Center     2514 N Falkenburg Rd., Tampa, FL 33619
 SouthShore Regional Library                   15816 Beth Shields Way, Ruskin, FL 33573
 Northwest Elections Office                    4575 Gunn Highway, Tampa, FL 33624
 Southeast Elections Office                    10020 S US Hwy. 301, Riverview, FL 33578
 USF TECO Hall (David C. Anchin Center)        4110 USF Apple Drive, Tampa, FL 33620
 Temple Terrace Public Library                 202 Bullard Parkway, Temple Terrace, FL 33617
 Town 'N Country Regional Public Library       7606 Paula Drive, Tampa, FL 33615
 West Tampa Branch Library                     2312 W Union Street, Tampa, FL 33607
 University Area Community Center              14013 N 22nd Street, Tampa, FL 33613

 Hours of Operation:
 All Sites:
 Primary: All EV Maximum days, 10 AM to 6 PM
 General: All EV Maximum days, 7 AM to 7 PM

 SOE Offices:
 July 14 – August 23, business days and hours, with extended hours during Early
 Voting and Election Day
 September 29 -- November 8: business days and hours, with extended hours
 during Early Voting and Election Day

 Removal of previously used sites:
 Amalie Arena and Raymond James Stadium are unavailable as early voting sites
 and thus will not be used for drop boxes. Attempts are underway to secure
 alternative/replacement locations for early voting and drop box placement.

 The SOE 24 hour drop box at the Elections Service Center will be discontinued.




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REQUEST NO. 35:

Drop boxes are available in Hillsborough County during early voting hours, which
are from 10 AM to 6 PM for primary elections, and from 7 AM to 7 PM during
general elections. Early voting is offered for the maximum number of days allowed
by law.

Drop boxes are available at the permanent offices of the Supervisor of Elections
from the day that domestic civilian ballot are mailed out (7/14/2022 for the primary
and 9/29/2022 for the general) during business hours (8AM to 5 PM) on weekdays
until early voting begins, at which time drop boxes at these locations are available
until 6 PM (primary) or 7 PM (general) and on weekends (10AM to 6 PM for
primary and 7 AM to 7 PM for the general).

Drop boxes are available at the permanent offices of the Supervisor of Elections the
Monday before election day from 8 AM to 5 PM , and on election day from 7 AM
to 7 PM.

We intend to use the same Early Voting sites as we did in 2020, with the exception
of the Amalie Arena and Raymond James Stadium – both of which were available
during the pandemic but are not available post-pandemic. Additional or replacement
sites may be added, and if so will have drop boxes available.

REQUEST NO. 39:

See RFP 4:

Drop boxes are continuously attended and checked. Boxes are emptied at least daily,
more frequently if/as needed.

Prior to Early Voting, an SOE staff member at County Center, the Northwest
Regional office, and the Southeast Regional office submits a helpdesk ticket alerting
the warehouse that either they are in receipt of VBM ballots that need to be retrieved
or that they are in need of a replacement ballot drop box prior to closing. Warehouse
staff retrieve ESC's box daily, at the end of the day, unless Voter Services staff
notifies the warehouse that they need an empty box prior to closing.

During Early Voting, unless warehouse staff are notified by an Early Voting site or
one of our offices that they need an empty box prior to closing, boxes are retrieved


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daily at closing by Early Voting couriers at Early Voting sites and by Warehouse
staff at SOE offices.

On Election Day, we retrieve boxes at our offices at 10am, 2pm, 4pm, and 7pm.

Ballots cast via drop boxes are entered as received by our office on the day following
casting/retrieval. These ballots are processed as are all Vote By Mail ballots, with a
time stamp on the outer return envelope issued when the return envelope is processed
through the ReliaVote machine. Signature verification then proceeds as per normal
processing of Vote By Mail ballots.

After postal or hand delivered VBM ballots are received by our staff, the return
envelopes are scanned into the Reliavote machine, the voter’s return envelope is
associated with their record in our voter registration database, and trained staff
conduct signature verification. Each envelope has a time stamp when scanned by
the Reliavote machine. All ballots (received via drop boxes, USPS, etc.) are
processed the day after receipt, with the exception of ballots received on election
day when processing occurs continually throughout the day.

Ballots are not batched or coded according to method of receipt.

Ballots are not differentiated, coded or otherwise marked based on which drop box
they were deposited into.

VBM ballots, hand-delivered or dropped off at a drop box, that were sent out by
another county, but delivered to our county are delivered by our staff to the USPS
for delivery to the proper elections office. If such ballots are received by our office
within three days of an election, we send the ballots to the correct elections office
via FEDEX or personal delivery.

VBM requests received by mail or otherwise on paper are scanned into our database
by staff in the mailroom, associated with a voter’s record, and processed by Voter
Services staff. VBM requests received electronically via our website are associated
with a voter’s record and processed by Voter Services staff.

As to cost of processing Vote By Mail requests, the following table shows data from
the 2016, 2018 and 2020 election cycles. The cost is calculated at one request per
minute using the wages/costs for the lowest paid position which performs these
duties. Please note that some of these requests may be good for an entire election
cycle.
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                         Absentee
 Year    Election                   Processing Hours   Lowest Hr Rate          Cost
                         Requests

  2016   2016 PPP         149,761             2,496           $15.72     $39,237.38
         2016 Primary     175,443             2,924           $15.72     $45,966.07
         2016 General     251,250             4,188           $15.72     $65,827.50
            2016 Total    576,454             9,608           $15.72    $151,030.95
  2018   2018 Primary     215,345             3,589           $19.80     $71,063.85
         2018 General     270,096             4,502           $19.80     $89,131.68
            2018 Total    485,441             8,091           $19.80    $160,195.53
  2020   2016 PPP         178,551             2,976           $19.80     $58,921.83
         2016 Primary     336,394             5,607           $19.80    $111,010.02
         2016 General     434,962             7,249           $19.80    $143,537.46
            2020 Total    949,907            15,832           $19.80    $313,469.31




REQUEST NO. 40:

Main and permanent branch offices of the Supervisor of Elections are:

Fred B. Karl County Center
601 E. Kennedy Blvd., 16th Floor
Tampa, FL 33602

Robert L. Gilder Elections Service Center
2514 North Falkenburg Rd.
Tampa, FL 33619

Northwest Regional Office
4575 Gunn Hwy.
Tampa, FL 33624

Southeast Regional Office
10020 South U.S. Hwy. 301
Riverview, FL 33578




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         IN WITNESS WHEREOF, I have hereunto set my hand and seal this                                l ':>
 day of June 2021 .




 ST ATE OF FLORJDA
 COUNTY OF HILLSBOROUGH

 The foregoing instrument was acknowledged before me by means of i;il, physical
 presence or D online notarization, by Margaret "Peg" Reese as Chief of Staff for
 CRAIG LATIMER, SUPERVISOR OF ELECTIONS FOR HILLSBOROUGH
 COUNTY, who is Kl personally known to me or D produced identification in the
 form of      h,)              /A                           ,
                                    and who after being first du ly sworn, states that
 the foregoing Responses are true and correct to the best of her knowledge and belief.

 SWORN TO AND SUBSCRIBED before me this                                       2'6 day of j\,,\Y'f   , 2021.



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                                                                  Notary Pu ic, State of Florida
 My Commission Expires: 11-25-23
                                                                    ~ W't\_ \    1>,,c'<:8V1Cl(J
                                                                  Printed Name of Notary




                                                                Page 7 of 7
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 NAACP Latimer Dep.
     Exhibit G



                                                         C. LATIMER

                                                       Exhibit 11
                                                           S. Nargiz 10/11/21




                                                              Exhibit


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                        ~
                     3 People >

David Ramba

 At least we should be
 done in an hour

Alan Hays

 Yes

Hillsborough County SOE

 lngoglia just said our
 checkbox is no good

Alan Hays

 Another way to make
 VBM difficult




              iMessage

         tiPay
